       Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 1 of 89 Page ID #:200



         1     BARRY ROSEN                                                         t~~~„ ,l,;;~~o~~r .,.:,
        2      136 S. Clark Dr. #5                                                                ~~-~`--t
               Los Angeles, CA 90048
        3                                                                              NOV j 5 ~f~
               Tel:(323)653-2043
        4                                                                     CEiJT
                                                                              cY ~.L~Iv~:=1CT e~
                                                                                              .i w~.~i;~:
               In Pro Per                                                    ---
        ~~
        .r ~
                                     UNITED STATES DISTRICT COURT

         g                          CENTRAL DISTRICT OF CALIFORNIA
        9
                            BARRY ROSEN,                   Case No. 17-CV-07727-PSG-JEMx
       io      Individually and as a Private Attorney
       ii      General
                            Petitioner and Plaintiff,     (VERIFIED)FIRST AMENDED
       is                                                 PETITION FOR WRIT OF
       13                          vs.                     MANDATE AND COMPLAINT
                                                           FOR DECLARATORY AND
       14
               UNITED STATES GOVERNMENT,                  INJUNCTIVE RELIEF FOR
       15      FEDERAL AVIATION                            VIOLATIONS OF
               ADMINISTRATION, AND CITY OF                 ADMINSTRATIVE PROCEDURE
       16
               SANTA MONICA,                               ACT(APA), NATIONAL
       t~                  Respondents and                 ENVIROMENTAL POLICY ACT
       ig      Defendants.                                (NEPA), CALIFORNIA
                                                           ENVIROMENTAL QUALITY ACT
       19
     ,~,~,.                                               (CEQA),CALIFORNIA STATE
,    ~6                                                    AERONAUTICS ACT,ET AL.
    F 21

     ; ~ _;
    t 22

       23

       24            This action seeks in part to invalidate the 2017 Settlement Agreement/
       ~~~ Consent Decree ("Consent Decree") by and between the Federal Aviation
       26      Administration and City of Santa Monica related to Santa Monica Airport as
       27      invalid ab initio, due to the fact that the City improperly hired outside attorney's in
       28        FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                                INJUNCTIVE RELIEF
                                                        1
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 2 of 89 Page ID #:201




     violation of its own City Charter and related Municipal Code and then improperly
     filed the lawsuit(13-CV-08046-JFW-VBKx)against the wrong federal agency in
     the first instance and also because the Federal Aviation Administration fully lackey
     any authority to grant the actual quite title relief requested in that lawsuit in the
     second instance and thereby both overstepped its authority and/or violated the
     Administrative Procedure Act(APA)in entering into the Consent Decree. The
     correct party for the actual relief sought by the City would be the successor to War
     Assets Administration, namely the United States General Services Administration

io ("GSA")with whom the City of Santa Monica actually had a contract(1948
i t Instrument of Transfer). Moreover, even the GSA lacked the authority to fully
12   release the airport as such relief could only be granted by an act of congress, as
13   there is no provision in the US Code for the fully release of airport lands subject to
14   the contract pursuant to the previous act of congress(War Surplus Act). Plaintiff
l5   also seeks to invalidate the previous improper release of lands at Santa Monica
16   Airport by the Federal Aviation Administration pursuant a 1984 agreement with
i~   the City of Santa Monica due to the fact that the fact that Federal Aviation
tg   Administration lacked and/or otherwise overstepped its authority in releasing said
19   lands in part because it is not the successor to the Administrator/Agency listed in
Zo   the contract(1948 Instrument of Transfer).
21
           Even if this Court should happen to find that the City of Santa Monica's
22
     lawsuit was proper and that the Federal Aviation Administration had authority to
23
     approve the relief requested (which it did not have), the Federal Aviation
24
     Administration's actions were still illegal and in violation ofthe Administrative
25
     Procedure Act and the National Environmental Protection Act, as they acted
26
     arbitrarily, capriciously, contrary to law, abused their discretion, and failed to
2~
     follow the required procedures, including but not limited to failing to consider the
Zs     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                              2
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 3 of 89 Page ID #:202




      full effects oftheir actions and the rights of all interested and/or affected parties,
 2
      along with obtaining commentaries for those affected parties and the public in
 3
      general. Such parties include the United States Department of Defense and other
 4
      US Agencies that have certain rights under 1948 Instrument of Transfer, along
 s
      with other parties that have rights over Santa Monica Airport such as State of
 6
      California that has eminent domain under the California State Aeronautics Act
     (California Public Utilities Code § 21001 et seq.), the Plaintiff's in the Part 16
 s
 9 actions that were pending against the City of Santa Monica related to various
io violations of various Federal obligations and finally the general public and users of
~i    Santa Monica Airport. Moreover, the Federal Aviation Administration can neither
12 exempt itself, nor the City of Santa Monica from obligations under the National
13    Environmental Protection Act and required environmental impact studies
14    thereunder. The Federal Aviation Administration therefore could not grant the right
~s    to the allow the City of Santa Monica to almost immediately shorten the runway
16    without having first required Environmental Studies pursuant to NEPA. Moreover,
      under the consent decree, the City of Santa Monica is fully responsible for
is    complying with its state and federal environmental requirements related to its
19    planning and implementation of modifications at SMO,include the cost of
Zo    conducting any necessary environmental studies or other requirements under
21
      NEPA.Plaintiff is aware that Santa Monica has not abided by such obligations,
22
      nor has Federal Aviation Administration enforced those obligations.
23
            Plaintiff is aware that the Federal Aviation Administration has fully failed to
24
      ensure that the City of Santa Monica complies with all applicable regulations and
25
      obligations governing the operation and use Santa Monica Airport, as it has fully
26
     failed to do so. As such Plaintiff now seeks a Writ of Mandate on the Federal
2~
      Aviation Administration to ensure that the City of Santa Monica complies with the
Za      FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                       INJLTNCTNE RELIEF
                                               3
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 4 of 89 Page ID #:203




 1
     regulations and obligations that fall within the authority ofthe Federal Aviation
 2
     Administration.
 3
            Lastly, even if the Court should find Federal Aviation Administration did
 4
     not violate either the APA or NEPA,the City of Santa Monica has not met its
 s
     obligations to comply with all State and local regulations pursuant to the
6
     requirements ofthe consent decree and the terms of the 1984 Agreement with the
     Federal Aviation Administration, including but not limited to violation of the
 s
9
     California State Aeronautics Act and California Environmental Quality Act

io [CEQA](CA Pub. Res. Code, § 21050 et seq) and finally the regulations of the
ti City of Los Angeles, with whom Santa Monica shares cojurisdiction over the
12   airport as the eastern portion is located in the City of Los Angeles.
13         Petitioner and Plaintiff, BARRY ROSEN,alleges against Defendants
14   UNITED STATES GOVERNMENT,FEDERAL AVIATION
15   ADMINISTRATION AND CITY OF SANTA MONICA inclusive as follows:
16                                        PARTTF~

t~                                         Plaintiff
is   1.    Plaintiff BARRY ROSEN ("Plaintiff') is an individual who currently and at
19   all relevant times has resided within the County of Los Angeles, California.
20 BARRY ROSEN is a licensed pilot, a user of Santa Monica Airport("SMO")and
21
     owner of an aircraft based at SMO.Plaintiff is a both a beneficially interested party
22
     and brings this cause of action as a Private Attorney General under the Private
23
     Attorney General Doctrine in the public interest for the benefit of other persons
24
     similarly affected or situated.
Zs
                                         Defendants
26
     2.    Defendant UNITED STATES GOVERNMENT,FEDERAL AVIATION
2~
     ADMINISTRATION("FAA")is an agency of the United States government and
Zs     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                              4
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 5 of 89 Page ID #:204




 1
      bears responsibility, in whole or in part, for the acts complained of in this
2
     Complaint.
 3
     3.     Defendant CITY OF SANTA MONICA("CSM")was and now is a
4
      municipal corporation organized and existing under the laws of the State of
 5
     California and claims to be a Charter City, and operates Santa Monica Airport
6
     ("SMO").

 g                              JURISDICTION AND VENUE

9
     4.     Plaintiff incorporates by reference each allegation contained in the fore

io   paragraphs ofthis Complaint and all E~ibits as if fully set forth herein.

tt   5.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331
12   (action arising under the laws ofthe United States), 28 U.S.C. § 1346(United
13   States as defendant), 28 U.S.C. § 1361 (action to compel officer or agency to
14   perform duty owed to Plaintiffs), 5 U.S.C. §§ 701-706 (Administrative Procedure
15    Act) and 28 U.S.C. § 1367(Supplemental jurisdiction over additional claims
~6 substantially related to the original claim).
     6.     An actual controversy exists between the parties within the meaning of28
is   U.S.C. § 2201(a), and this Court may grant declaratory relief, injunctive relief, and
19   other relief pursuant to 28 U.S.C. §§ 2201-2202 and 5 U.S.C. §§ 705-706.
Zo   7.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(e) because this is
ai   the judicial district in which both Plaintiff and Defendant City of Santa Monica
22
     resides and this action seeks relief against a Federal Agency and/or because a
23
     substantial part ofthe events giving rise to the claims have occurred in this district
24
     due to decisions and actions by Defendants.
25
                                 FACTUAL ALLEGATIONS
26
     8.     Plaintiff incorporates by reference each allegation contained in the foregoi
2~
     paragraphs of this Complaint and all Exhibits as if fully set forth herein.
Zs      FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                       INJUNCTIVE RELIEF
                                               5
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 6 of 89 Page ID #:205




     9.      Plaintiff, Barry Rosen, is a Pilot and user of Santa Monica Airport("SMO"),
2
      and regularly performs Aircraft operations into and out of Santa Monica Airport
3
     ("SMO"),including those with his own Aircraft, which is based there. Plaintiff is
4
      therefor an affected party and is beneficially interested.
5
      10.    Plaintiff also brings this Action in the public interest as a Private Attorney
6
      General due to there being hundreds if not thousands of persons that are similarly
      affected or situated.
 s
9
      1 1.   SMO is one of the oldest and busiest single-runway general aviation airports

io    in the country. Over 80,000 aircraft operations occur at the Airport annually.

1~    12.    The City of Santa Monica lacks full sovereign jurisdiction of SMO as the

12    eastern most portion of SMO is located within the City of Los Angeles and is fully
13    subject to the jurisdiction ofthe City of Los Angeles. True and correct copies of
14    the City of Los Angeles Zoning Map and City of Santa Monica Zoning maps are
15    attached hereto as E~ibits 1 & 2.
l6    13.    The City of Santa Monica leased SMO to the federal government during
i~    World War II, during which the Federal Government purchased additional land
ig    and thereby enlarged and reconfigured the SMO into its current runway and
19    taxiway configuration. In 1948, the Federal Government transferred Airport land,
Zo    buildings, structures, improvements and equipment to the City for public airport
21    purposes via a Surplus Property Act Instrument of Transfer, a true and correct copy
22
      of which —together with the City's Resolution 183 adopting it — is attached hereto
23
      as E~ibit 3. That 1948 Instrument of Transfer demonstrates that the contract was
24
      with the War Assets Administration (the successor of which is the General
Zs
      Services Administration), as well as the burdens and covenants running with the
26
      land, binding the City and "its successor and assigns forever," requiring the Airport
2~
      to be used for `air park,' civil aviation, and airport purposes forever.
2g        FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                         INJUNCTIVE RELIEF
                                                 6
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 7 of 89 Page ID #:206




 1
     14.   That 1948 Instrument of Transfer demonstrates that the United States of
2
     America (Federal Government) has certain rights to utilize SMO and that in the
3
     event of a national emergency can take exclusive possession ofthe SMO (see 1948
4
     Instrument of Transfer paragraphs 2 and 3). It also gave the right to the War Assets
s
     Administration or successor thereto to take possession of the Airport should the
6
     City of Santa Monica fail to perform its obligations thereunder.
     15.   That 1948 Instrument of Transfer also demonstrates that portions ofthe
 a
9
     property may have restrictions released for non-aviation purposes only if those

io   purposes do not materially affect operation or maintenance of the Airport at which

it   such property is located and that in order to effect such release, a payment shall be

t2   made to the War Assets Administration or successor thereto for the removal of
13   such restrictions.
14   16.   In 1984, the City of Santa Monica and FAA entered into an agreement(for
15   reasons that are not fully apparent) that amongst other things, released land
16   restrictions on portions of Santa Monica Airport for non-aviation purposes.
i~   Although the agreement expired in July of 2015, the remnants of said agreement
is   remain, including the fact that CSM recently removed numerous acres of land from.
19   Aviation usage. A true and correct copy ofthe 1984 Agreement is attached hereto
Zo   as Exhibit 4.
Zt
     17.   That 1984 Agreement demonstrates that no consideration was ever given to
22
     the fact that a payment shall made to the War Assets Administration or successor
23
     thereto for the removal of such land use restrictions (see paragraph 6).
24
     18.   That 1984 Agreement also demonstrates that the City of Santa Monica had
25
     perform certain obligations under the agreement, including the development and
26
     implementation of an Airport Layout Plan (aka Airport Land Use Plan) and that
2~
     CSM must be in conformity with State and local planning law (see sections 5 & 6).
Zs     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                              7
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 8 of 89 Page ID #:207




     Such conformity would include environmental studies under the California
2
     Environmental Quality Act, approval ofthe Airport Land Use Plan by the Los
3
     Angeles County Airport Land Use Commission ("ALUC")(Public Utilities Act §
4
     21675.1), and all appropriate approvals by the City of Los Angeles(and its City
 5
     Council) pursuant to the Los Angeles City Charter and Municipal code.
6
      19.   In October 2013, the City of Santa Monica brought an action against the
     United States Federal Aviation Administration in City of Santa Monica v. United
 s
9
     States Government Federal Aviation Administration, et al., Case No. CV 13-8046-

io   JFW(VBKx)(C.D. Cal.)("District Court Action"). This lawsuit alleged five

ii   causes of action for: Quiet Title; Violations ofthe Fifth Amendment under theories

iz   of Taking, Regulatory Taking, and due process; and Violation of the Tenth

13   Amendment. The prayer for relief demanded: Declaratory judgments regarding the
14   title to the Airport Property and the City's contentions regarding violations of the
is   United States Constitution; that the court "enjoin the United States from taking any
16   action affecting Santa Monica's right, title, or interest in the Airport Property ...
     from demanding or asserting in any forum that Santa Monica must operate the
is    Airport Property as an airport in perpetuity"; and that the court "order that the
i9   United States shall cease and desist from taking any action to require Santa Monica
20   to operate the Airport Property as an airport after the 1984 Agreement expires in
21
     July of 2015."
22
     20.    In bringing the 2013 Action, the City Attorney improperly hired an outside
23
     law firm (Morrison & Foerster) to bring the lawsuit in violation of both § 608 of
24
     the City Charter and § 2.24.073 of the Municipal Code.
25
     21.    In January 2017, the City of Santa Monica and FAA entered into a
26
     Settlement Agreement/Consent Decree to settle Case No. CV 13-8046-JFW
2~
     (VBKx)(C.D. Cal.). As part of that agreement, the FAA consented to the full
Zs      FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                       INJUNCTIVE RELIEF
                                               8
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 9 of 89 Page ID #:208




     release of the land restrictions and the eventual closing of the airport, along with ar
 2
     almost immediate shortening of the runway at SMO to 3500 feet(with 30 days
 3
     , notice) and that "The City shall be responsible for complying with its state and
 4
     ~I, federal environmental requirements related to its planning and implementation of
 5
     ~' modifications at SMO. The City's responsibility shall include the cost of
 6
     conducting any necessary environmental studies or other requirements under the
     National Environmental Policy Act(NEPA). 42 U.S.C. § 4321 et seq." A true and
 s
 9   correct copy of the consent decree is attached hereto as E~ibit 5.

io   22.    This action now arises from the fact that the City of Santa Monica

ii   improperly filed the lawsuit(13-CV-08046-JFW-VBKx)against the wrong federal

~2   agency in the first instance and also because the Federal Aviation Administration
13   fully lacked any authority to grant the actual relief requested in that lawsuit and
14   thereby both overstepped its authority and/or violated the Administrative
15   Procedure Act(APA)in entering into the Consent Decree and by releasing lands
16   pursuant to the 1984 agreement and that the FAA has failed to do little if any
     oversight regarding regulatory compliance by the City Santa Monica, ET AL as
~s   outlined below:
i9                         Invalid Contract with Outside Counsel
Zo   23.   In the fall of 2013, the City Attorney hired an outside law firm (Morrison &
21
     Foerster) to bring a lawsuit against the Federal Aviation Administration on behalf
22
     ofthe City of Santa Monica. Pursuant to § 608 ofthe City Charter and § 2.24.073
23
     ofthe Municipal Code, the City Attorney had to meet certain obligations in order
24
     to hire outside counsel, including but not limited to conducting a competitive
zs
     search process via requests for proposals or by the express approval ofthe City
26
     Council.
2~

28     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                              9
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 10 of 89 Page ID #:209




      24.   In October 2017, Plaintiff sought to obtain records pursuant to the California
 2
      Public records Act(CA Government Code § 54950 et seq)to see if the City
 3
      Attorney had met the obligations for hiring outside counsel Pursuant to § 608 of
 4
      the City Charter and § 2.24.073 ofthe Municipal Code. No documents whatsoever
 s
      were produced to demonstrate that the City Attorney (and/or City Council) had
 6
      complied with all obligations required for hiring outside counsel.
      25.   Plaintiff is informed and believes that City Attorney neither conducted a
 s
 9
      competitive search nor sought the express approval of the City Council as required

io    by both the City Charter and Municipal Code and that the contract with Morrison

I]   & Foerster was invalid ab initio because of the failure to do so.

12    26.   Plaintiff is informed and believes that the contract with Morrison & Foerster
13    should now be struck down by the invalid ab initio, along with all work product
14    related thereto due the CSM's failure to comply with its own City Charter and
15    Municipal Code in contracting with outside counsel.
16                        Wrong Party Was Sued by Santa Monica
i~   27.    As discussed above, the 1948 Instrument of Transfer demonstrates that the
is    contract was between the City of Santa Monica and the War Assets Administration
19   (the successor of which is the General Services Administration) and not with the
Zo   FAA (as it is also not the successor to the Civil Aeronautics Administration
Zi    pursuant to the repeal of the War Surplus Act in 1949) and that the full relief
22
      sought under 13-CV-08046-JFW-VBKx could also not have been granted by the
23
      any ofthe successors as it would require an act of congress to fully release the
24
     entirety of an airport pursuant to a grant under the War Surplus Act of 1944. As
Zs
     such, it is clear that the wrong party was sued by the City of Santa Monica and thu;
26
     the lawsuit was actually invalid ab initio. CSM should have sued amongst others,
z~
     the General Services Administration and Congress and not the FAA.
Zs      FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                       INJUNCTIVE RELIEF
                                               10
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 11 of 89 Page ID #:210




     28.   Plaintiff is informed and believes that the lawsuit was filed by CSM because
 2
     of false assumptions it had made about the 1948 Instrument of Transfer, rather than
 3
     the terms and conditions actually contained within it. Plaintiff further believes that
 4
     numerous inappropriate actions taken by the FAA itself over time (including the
 s
     1984 agreement), have further promulgated these false assumptions by CSM.
 6
     29.   Plaintiff is informed and believes that had anyone taken the time to actually
     read and review the 1948 Instrument of Transfer, rather than make assumptions
 s
 9
     about what was in it, the lawsuit would either not have been improperly filed by

io   CSM in the first instance or the FAA would have noticed that it was the wrong

ii   party and would have asked the court for a dismissal on that basis., which Plaintiff

~2   has no doubt would have been granted given the fact that the FAA was in effect a
13   only caretaker who has granted certain oversight under the agreement, but is not an
14   actual party the agreement itself.
is   30.   Plaintiff is informed and believes that the lawsuit should now be struck
16   down by the invalid ab initio due the CSM's failure file an action against the
1~   correct party or parties.
is                FAA Overstepped its Authority in the 1984 Agreement
19   31.   As discussed above, in 1984, the City of Santa Monica and FAA entered i
Zo   an agreement that amongst other things, released land restrictions on portions of
ai   Santa Monica Airport for non-aviation purposes. While the FAA does have the
22
     ability under the 1948 Instrument of Transfer to recommend such a release of
23
     land(s), the actual release would need to come from successors of both the War
24
     Assets Administration (the successor of which is the General Services
25
     Administration) and statutory successor to the Administrator ofthe Civil
26
     aeronautics administration pursuant to various provisions ofthe United States
2~

28     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                             11
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 12 of 89 Page ID #:211




     Code as codified by acts of Congress and/or by the required payment for removal
 2
     of such land use restrictions (see paragraph 6, Instrument of Transfer).
 3
     32.   It is clear that the 1984 Agreement demonstrates that no consideration was
 4
     ever given to the fact that a payment shall made to the War Assets Administration
 5
     or successor thereto for the removal of such land use restrictions and thus the
 6
     release of any land restrictions on portions of Santa Monica Airport for non-
     aviation purposes was invalid ab initio.
 s
 9   33.   While the 1984 Agreement expired in July of 2015, the remnants of said

io   agreement remain, including the fact that CSM as recently as last year removed

it   numerous acres of land at SMO from Aviation usage and intends to remove even

i2   more. Plaintiff is informed and also believes that the acres of land removed from
13   aviation usage last year were in violation of the terms a federal grant assurance.
14   34.   Plaintiff is informed and believes that any releases of land restrictions on
is   portions of Santa Monica Airport for non-aviation purposes pursuant to the 1984
16   agreement should now be struck down as invalid.
i~         Consent Decree is Invalid because FAA Overstepped its Authority
is   35.   As discussed above, the 1948 Instrument of Transfer demonstrates that the
19   contract was between the City of Santa Monica and the War Assets Administration
Zo (the successor of which is the General Services Administration) and not with the
21
     FAA (which is not the successor to Civil Aeronautics Administration) and that the
22
     full relief sought under 13-CV-08046-JFW-VBKx could never has been granted
23
     the FAA as it would take an act of congress to fully release the airport from
24
     obligations under the 1948 instrument of transfer pursuant to the War Surplus Act
Zs
     of 1944. As such, it is clear that the wrong party was sued by the City of Santa
26
     Monica and thus the lawsuit was actually invalid ab initio. Again, as noted above,
2~
     CSM should at the very least have sued the General Services Administration and
2g     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                             12
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 13 of 89 Page ID #:212




     not the FAA for the relief sought as the FAA is not a party to the 1948 Instrument
 2
     of Transfer and as such had no authority whatsoever to fully release the City of
 3
     Santa Monica from all of its obligations under 1948 Instrument of Transfer.
 4
     36.   It is also clear that under the 1948 Instrument of Transfer, that even if the
 s
     FAA had authority (which it does not) such authority would only be limited
 6
     authority to essentially recommending the release of portions of the airport
     property from restrictions for non-aviation purposes, and only if those purposes do
 s
 9   not materially affect operation or maintenance ofthe Airport at which such

to   property is located. It does not have any authority to allow closure of an airport as

li   was improperly agreed to in the Consent Decree. Only the US Congress would

12   have such authority.
l3   37.    It is very clear that under 1948 Instrument of Transfer, in order to effect any
14   release of lands, a payment shall be made to the War Assets Administration or
is   successor thereto for the removal of such restrictions.
16   38.   It is clear that no such payments or any consideration thereof(or waiver
i~   thereof was included in either the 1984 agreement or Consent Decree and
is   therefore without such provisions for payment, etc. to the General Services
i9   Administration, the any release of lands is fully invalid.
Zo   39.   Plaintiff is informed and believes because FAA is not a party to the 1948
2~
     and because the FAA overstepped its authority in releasing the entire Airport and
22
     its lands from the 1948 Instrument of Transfer, when it clearly had no right to do
23
     so, the entire Consent Decree and certain provisions ofthe 1984 agreement should
24
     now be struck down as invalid.
25
                               Administrative Procedure Act
26
     40.   The Administrative Procedure Act(APA)provides a right to judicial review
a~
     to any "person suffering legal wrong because of agency action." 5 U.S.C. § 702.
as     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                             13
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 14 of 89 Page ID #:213




     The APA defines agency action to "include[] the whole or a part of an agency rule,
 2
     order, license, sanction, relief, or the equivalent or denial thereof, or failure to act."
 3
     5 U.S.C. §§ 551(13), 701(b)(2).
 4
     41.   The APA provides that a court shall compel an agency action that is
 5
     "unlawfully withheld or unreasonably delayed," and shall hold unlawful and set
 6
     aside agency actions found to be "arbitrary, capricious, an abuse of discretion, or
     otherwise not in accordance with law." 5 U.S.C. § 706(1)&(2)(A).
 a
 9 42. 5 U.S.C. § 706 provides that,"[t]he reviewing court shall ...hold unlawful
io and set aside agency action, findings, and conclusions found to be ... in excess of
it   statutory jurisdiction, authority, or limitations, or short of statutory right." 5 U.S.C.

iz   § 706(2)(C). The "arbitrary and capricious" standard forms a separate basis to set
13   aside agency action, 5 U.S.C. § 706(2)(A),
14   43.   Plaintiff is informed and aware that Federal agencies are also required to
is   consider the "reasonably foreseeable" effects of the proposed major Federal action,
i6   including effects that are direct, indirect, or cumulative. 40 C.F.R. §§ 1508.7,
i~   1508.8, 1508.25., which Plaintiff believes that the FAA has not done as outlined
is   below.
~9 44. Plaintiff alleges that FAA actions violated 5 U.S.C. sections 553, 705, and
Zo 706, and now seeks a declaratory judgment that Defendants acted arbitrarily,
zi   capriciously, contrary to law, abused their discretion, and failed to follow the
22
     required procedure in entering into and the Consent Decree and certain provisions
23
     ofthe 1984 agreement with the City of Santa Monica.
24
     45.   As discussed above, the FAA is not a party to the 1948 Instrument of
Zs
     Transfer and therefore could not actually remove any land use restrictions on
26
     portions of Santa Monica Airport for non-aviation purposes as it did in the 1984
2~
     agreement without both including General Services Administration and making
Zs     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                             14
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 15 of 89 Page ID #:214




     provisions for the mandatory payment for such release. As it neither included the
 2
     General Services Administration, nor made provisions for the mandatory payment,
 3
     It is clear that the FAA overstepped its authority and acted arbitrarily, capriciously,
 4
     contrary to law, abused their discretion, and failed to follow the required
 5
     procedures.
 6
     46.    Also as discussed above, since the FAA is not a party to the 1948 Instrument
     of Transfer (and was wrongfully sued by the City), the FAA had no authority
 s
 9
     whatsoever to fully release the City of Santa Monica from all of its land use

io   obligations under 1948 Instrument of Transfer and/or allow eventual closure as it

ii   did in the Consent Decree. Again, as it neither included the General Services

12   Administration, nor made provisions for the mandatory payment for release, it is
13   clear that the FAA overstepped its authority and acted arbitrarily, capriciously,
14   contrary to law, abused their discretion, and failed to follow the required
15   procedures.
16   47.   Even if the FAA had the right to enter into the Consent Decree (which it did
t~   not)FAA actions violated 5 U.S.C. sections 553 because it fully failed to consider
~s   the full effects of their actions in entering into the decree and the rights of all
19   interested and/or affected parties. In brief, the FAA was required to obtaining
Zo   public commentaries public in general and especially from affected parties. Such
21
     parties would include airport users such as Plaintiff, the United States Department
22
     ofDefense and other US Agencies that have certain rights under 1948 Instrument
23
     of Transfer, along with other parties that have rights over Santa Monica Airport.
24
     Such other parties include the State of California, which has eminent domain under
Zs
     the California State Aeronautics Act(California Public Utilities Code § 21001 et
26
     seq.), the City of Los Angeles, which shares cojurisdiction over the airport and/or
2~
     the County of Los Angeles.
Zs     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTNE RELIEF
                                             15
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 16 of 89 Page ID #:215




     48.   At the time of the Consent Decree, there were Part 16 actions pending with
 2
     the FAA against the City of Santa Monica related to various violations of various
 3
     Federal obligations that were purportedly also settled as part of the Consent Decree
 4
     Plaintiff is informed and believes that the FAA had specific obligations to discuss
 5
     possible resolution with the named Plaintiff's who filed those Part 16 actions.
 6
     49.   The FAA violated its obligations under the APA by granting the City of
     Santa Monica the right to shorten the runway (with 30 days notice) without having
 s
 9
     undertaken it obligations under NEPA to determine any possible detrimental

~o   effects that may occur to the National Airspace System.

li   50.   The FAA also violated its obligations under the APA by granting the City of

12   Santa Monica the right to shorten the runway (with 30 days notice) without having
13   considered the safety issues that would arise from pilots having outdated charts
14   reflecting the wrong runway length information. The main charts relied upon by
~s   pilots are only published twice a year and Plaintiff is aware that there is a long
16   lead-time to make any corrections or changes to those charts. As a result, if the
17   City were to shorten the runway close to the time that such charts would be
18   released, the changes will not be reflected until the next charts are released as
19   much as 6 or more months later. As a result, a pilot relying on such outdated charts
Zo   may put themselves into a very dangerous situation by flying into an airport where
Zt
     the runway is not long enough for either their arrival or departure.
a2
     51.   Plaintiff contends that the Court should order vacatur of the portions of the
23
     1984 agreement wherein the FAA illegally and improperly released lands because
24
     it is required under the APA,see 5 U.S.C. § 706(2), and is the "standard remedy"
25
     when a court concludes that an agency's conduct was illegal under the APA.
26
     52.   Plaintiff contends that the Court should order vacatur of the entire Consent
2~
     Decree since the FAA fully lacked authority to enter into the agreement because it
Zs     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                             16
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 17 of 89 Page ID #:216




     is required under the APA,see 5 U.S.C. § 706(2), and is the "standard remedy"
2
     when a court concludes that an agency's conduct was illegal under the APA.
3
     53.    Plaintiff contends that the Court should order vacatur of the entire Consent
4
     Decree since the failed to seek public and interested party input and otherwise
 5
     failed to fully realize the effects oftheir actions, because it is required under the
6
     APA,see 5 U.S.C. § 706(2), and is the "standard remedy" when a court concludes
     that an agency's conduct was illegal under the APA.
 s
9
                             National Environmental Policy Act

io   54.    The National Environmental Policy Act(NEPA),42 U.S.C. § 4321 et seq.

ti   Requires in part that a Federal agency consider the environmental impact of its

12    proposed action, and calls for detailed statement is called an environmental impact
13   statement or EIS pursuant to 42 U.S.C. § 4332(2)(C).
14   55.    Even if the consent decree were valid (which it is not), Plaintiff is informed
is   and believes that the FAA failed to do an EIS of its own to determine any possible
16   detrimental effects that may occur to the National Airspace System, ET AL in
t~   taking actions wherein it (improperly) entered into a Consent Decree with the City
is   of Santa Monica wherein it granted the ability to shorten the runway to 3500 feet
19   (on very short notice) and to eventually close the airport altogether. Such failure
Zo    also constitutes a violation ofthe APA as asserted above.
2i   56.    Even if the court consent decree were valid (which it is not)Plaintiff is
22
      aware that the City of Santa Monica has an obligation pursuant to Paragraph II(c)
23
      ofthe Consent Decree to perform Environmental Studies wherein the "City shall
24
      be responsible for complying with its state and federal environmental requirements
25
     related to its planning and implementation of modifications at SMO. The City's
26
     responsibility shall include the cost of conducting any necessary environmental
2~

28      FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                       INJUNCTIVE RELIEF
                                              17
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 18 of 89 Page ID #:217




     studies or other requirements under the National Environmental Policy Act
 2
     (NEPA). 42 U.S.C. § 4321 et seq."
 3
     57.   Plaintiff is informed and believes that the City of Santa Monica plans to
 4
     shorten the runway without complying with its Environmental Studies obligations
 5
     pursuant to Paragraph II(c)of the Consent Decree.
 6
     58.   Plaintiff is informed and believes that the FAA has violated its obligation
     under the Consent Decree, ET AL to ensue that the City of Santa Monica has
 s
 9   complied with all of its state and federal environmental requirements prior to

io   allowing any shortening to begin. Such failure also constitutes a violation of both

>>   NEPA and the APA.

i2   59.   Plaintiff is informed and believes that both the FAA and City of Santa
13   Monica should be now ordered to comply with Environmental Requirement
14   obligations pursuant to both state and federal law.
is   60.   Plaintiff is informed and believes that the FAA should be ordered not to
16   allow the shortening of the runway until such time as all Environmental
1~   Requirements are met by the City of Santa Monica.
is                  Violation of the State Aeronautics Act and CEOA
t9 61. The California State Aeronautics Act(California Public Utilities Code
Zo Section 21001 et seq.) governs various matters relative to aviation in this state.
a~   places a number of licensing and other requirements on public airport operators.
22
     62.   Public Utilities Code(PUC), Section 21675(a)requires preparation of an
23
     airport land use compatibility plan(ALUCP)for each public use airport in the statE
24
     63.   The ALUCP is designed to encourage compatible land uses in the vicinity
25
     surrounding an airport. It provides for the "orderly growth of each public airport
26
     and the area surrounding the airport" while safeguarding "the general welfare of
2~
     the inhabitants within the vicinity of the airport and the public in general(PUC
zs     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                             18
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 19 of 89 Page ID #:218




     Section 21675(a))." The ALUCP contains criteria for making consistency
 2
     determinations, including building standards and height and land use restrictions.
 3
     64.   An ALUCP must be formulated for "each public airport" (i.e., as in this case
 4
     an airport operated for the benefit of the general public) within the jurisdiction of
 5
     the Airport Land Use Commission(ALUC)(Section 21675(a)).
 6
     65.   Prior to the amendment of a general plan or specific plan, or the adoption of
     a zoning ordinance or building regulation within the ALUCP planning boundary,
 s
 9
     the ALUC shall review the plan, ordinance, or regulation for consistency with the

io   ALUCP(PUC Section 21676(b)).

~i   66.   The adoption or amendment of an ALUCP is a "project" under California

12   Environmental Quality Act(CEQA;Public. Resources Code(PRC), Section 21000
13   et seq.) and thus requires an Environmental Impact Report be done.
14   67.   Plaintiff is informed and believes that the City of Santa Monica has
is   consistently failed in its obligations under the State Aeronautics Act to prepare and
16   submit and airport land use compatibility plans(ALUCP)to the LA County
17   Airport Land Use Commission(ALUC)and that it so doing, it has also violated its
18   obligations under CEQA.
19   68.   Plaintiff has personally checked with the LA County Airport Land Use
Zo   Commission to see if the City of Santa Monica ever submitted ALUCP related to
21
     the 1984 agreement and found that it did not do so.
22
     69.   Plaintiff is informed and believes that the City of Santa Monica now intends
23
     to proceed with construction (i.e. shortening the runway) without first having
24
     submitted a new ALUCP for approval by the LA county ALUC and conducting
25
     required environmental studies related thereto.
26
     70.   Plaintiff is informed and believes that because the City entered into the
2~
     consent decree allowing it to both shorten the runway and to close the airport, the
Zs     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTNE RELIEF
                                             19
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 20 of 89 Page ID #:219




     City was required to notify the State of California pursuant to Section 21605 so
 2
     that it may determine if such activities will have impact on the entire state air
 3
     transportation system and so that it can take steps to protect entire state air
 4
     transportation system from any impact that such activities might create.
 s
     71.   Plaintiff believes that the State of California has eminent domain to take
 6
     steps to prevent the City of Santa Monica from making changes or closing the
     airport should it feel that such activities will have impact on the entire state air
 s
 9
     transportation system, including but not limited to taking possession ofthe airport.

~o   72.   Plaintiff is informed and believes that actions ofthe City of Santa Monica

ii   and the FAA will have a negative impact on the entire state air transportation

12   system.
13   73.   Plaintiff is informed and believes that the City of Santa Monica has failed in
14   its obligations under the California Public Utilities Code Section 21001 et seq,
is   CEQA and specifically Section 21605 and therefore should be enjoined from doin€
16   any work on the airport until such time as the city fully complies with its
i~   obligations and/or the State has been given the opportunity to take its own
~s   appropriate action and be ordered to comply with all state regulations under the
19   Aeronautics act.
Zo          Consent Decree is Invalid due to City Council Conflict of Interest.
Zi   74.   Plaintiff is informed and believes that certain Santa Monica City Council
Za
     members (including Santa Monica Councilman Tony Vazquez) who voted to
23
     approve the Consent Decree with the FAA were prohibited form voting for the
24
     decree as they are affected parties pursuant to the California Political Reform Act
Zs
     Gov. Code, § 87100 et seq. Plaintiff is further informed and believes that had they
26
     recused themselves as required by law for conflict of interest, the City Council
2~
     would have lacked enough votes to approve entry into the Consent Decree.
as     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                             20
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 21 of 89 Page ID #:220




     75.   Plaintiff is informed and believes that the votes of such conflicted city
 2
     council members should now be struck down for failure to recuse themselves from
 3
     voting, which would mean that the resolution to approve Consent Decree did not
4
     have enough votes to have been approved.
 s
                       Violation of the Local Regulations and CEQA
6
     76.   As discussed above the City of Santa Monica shares cojurisdiction over the
     Santa Monica Airport because the eastern portion is located in the City of Los
 s
 9
     Angeles. As a result of this co- jurisdiction, the City of Santa Monica would need

io   to seek all appropriate approvals by the City of Los Angeles(and its City Council)

ii   pursuant to the Los Angeles City Charter and Municipal code prior to any activities

i2   or construction that involves the Los Angeles portion of the Airport. This would
13   also include providing the City of Los Angeles with Environmental impact reports
14   to the City of Los Angeles as required under CEQA.
15   77.   Plaintiff is informed and believes that the City of Santa Monica has and
16   continues to completely ignore that fact that it lacks full sovereign jurisdiction of
i~   the Airport and thereby fails to seek appropriate approvals, construction permits
~s   etc. from the City of Los Angeles.
i9 78. Plaintiff is informed and believes that that City of Santa Monica previously
ao built parking lots that it rents out to Car Dealerships for the storage of cars, without
21
     first having sought appropriate approvals from the City of Los Angeles.
22
     79.   Plaintiff is informed and believes that that City of Santa Monica has
23
     approved a plan for the shortening of the runway that involves construction on/in
24
     the City of Los Angeles portion of the airport and that it has failed to take steps to
Zs
     seek appropriate approvals, construction permits etc. from the City of Los Angeles.
26
     80.   Plaintiff is also aware that Santa Monica Airport is essentially bounded on 3
2~
     sides by City of Los Angeles and that the City of Santa Monica plans on doing
Zs     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                             21
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 22 of 89 Page ID #:221




     construction work from 9pm to lam less than a few hundred feet from residences
 2
     located in the City of Los Angeles. Plaintiff is informed and believes that such
 3
     activities are a serious violation ofthe City of Los Angeles municipal code and
4
     also that neighbors ofthe airport will likely not be happy with such late night
 s
     activities.
6
     81.    Plaintiff is informed and believes that the City of Santa Monica should now
     be ordered to comply with all local regulations related to the City of Los Angeles
 s
 9
     portion ofthe airport.

to          Failure to Enforce Federal Regulations Governing Public Airports

ll   82.    Plaintiff is informed and believes that the FAA has consistently failed to

12   enforce its regulations related to Santa Monica Airport. Plaintiff is aware of

13   numerous violations of such regulations, including the fact that the City of Santa
14   Monica has been very discriminatory towards aviation in general and has engaged
is   in numerous activities to keep or otherwise exclude aviation interest from the
16   airport, including but not limited to setting up a business licensing system wherein
i~   it has routinely denied licenses for aviation related activities.
is   83.    Plaintiff is informed and aware that the City of Santa Monica has engaged in
19   numerous activities that involve revenue diversion, wherein the City has rented
Zo   buildings, spaces, etc. for non-aviation activities at below market rates and/or has
21
     used the airport facilities for its own purposes without payment for said usage to
a2
     name a few. The City has fully admitted to such revenue diversion to the FAA in
23
     response to a Part 16 filing that alleged such diversion, yet the FAA has never
24
     taken any action whatsoever.
25
     84.    Plaintiff is informed and aware that that numerous hangers(as many as '/4 or
26
     more of all the hangers) located at the airport are occupied by non-aviation
a~
     activities in violation of numerous FAA policies. Plaintiff is also aware that at lea
Zs     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTNE RELIEF
                                             22
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 23 of 89 Page ID #:222




     another'/4 ofthe hangers are currently unoccupied due to the fact that the City is
 2
     discriminating against aviation by trying to charge rental fees that are far higher
 3
     than any other airport in the region and that may be in violation of other city
 4
     regulations. Plaintiff is also on the hanger waiting list(which is very long) and has
 5
     been on it for a couple of years.
 6
     85.   Plaintiff is informed and believes that the City of Santa Monica also violated
     numerous FAA policies when it instituted the current landing fees at SMO,yet the
 s
 9
     FAA has never taken any action whatsoever to see if those fees are both legal and

io   warranted.

ll   86.   Plaintiff is also aware that the City of Santa Monica specifically violated it
12   federal grant obligations when it recently closed off a section of the airport to
13   aviation, when it had used federal grant money for improvement ofthe section of
14   the airport.
15   87.   Plaintiff is informed and believes that the FAA should now be ordered to
16   take steps to fully ensure that the City of Santa Monica complies with all of its
i~   regulations. Plaintiff also believes that the City of Santa Monica should be ordered
ig   to comply with all FAA regulations
19                   Equitable Estoppel Issue RE runway shortening
Zo   88.   Plaintiff is aware that the City of Santa Monica has an Equitable Estoppel
zi   issue/problem related to the shortening ofthe Runway, which likely precludes it
22
     from arguing for the shortening ofthe runway at this time. The City is currently
23
     involved in a lawsuit(LA Superior Court case BC603327, Justice Aviation et al, v.
24
     City of Santa Monica)over landing and fuel flow fees that have been
25
     imposed/charged at the airport by the City. In that case, the City has/is arguing that
26
     such fees are "Essential" for the operation of the Airport, yet by now trying to
2~
     make the case that it needs to shorten the runway, it is fully arguing against itself,
Zs     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                             23
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 24 of 89 Page ID #:223




 1
     because the largest payers percentage wise of both landing fees and fuel flow fees
 a
     are the Jets, which the City is now trying to preclude from the airport. Thus if such
 3
     fees are that essential for the operation of the airport, then the City should be
 4
     precluded from shortening the runway.
 s
     89.   Plaintiff is informed and believes that the City of Santa Monica should now
 6
     be enjoined from making its contradictory agreements pursuant to the Doctrine of
     Equitable Estoppel. The City now needs to make a choice whether it argue that it
 s
 9
     needs the fees or that it wants to shorten the runway, but it cannot do both.

10
     90.   Plaintiff is now entitled to a preliminary and permanent injunction-

it   restraining Defendants from engaging in further illegal acts and potentially causing
12   irreparable damage to Plaintiff and others similarly situation which Plaintiff has no
13   adequate remedy of law.
14
                                 FIRST CLAIM FOR RELIEF
15                                DECLARATORY RELIEF
16   91.   Plaintiff incorporates by reference each allegation contained in the foregoing
i~   paragraphs ofthis Complaint and Exhibits as if fully set forth herein.
is 92.     Plaintiff brings this cause of action as a Private Attorney General under the
19   Private Attorney General Doctrine in the public interest as of other person
Zo   similarly affected or situated.
Zi   93.   As discussed above, Plaintiff is informed and believes that because the Cit;
22
     failed to properly contract with outside counsel, the court should declare the
23
     contract and work product related thereto including lawsuit, 13-CV-08046-JFW
24
     VBKx invalid ab initio such failure.
zs
     94.   As discussed above, Plaintiff is informed and believes that because the Ci
26
     of Santa Monica improperly sued the FAA, when it should have at a minim
2~
     sued the General Services Administration, and because it is clear that the wrong
Zs     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                             24
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 25 of 89 Page ID #:224




 1
     party was sued by the City of Santa Monica, the court should declare the lawsuit,
 2
     13-CV-08046-JFW-VBKx invalid ab initio for failure file an action against the
 3
     correct party.
 4
     95.   Also as discussed above, Plaintiff is informed and believes that because
 5
     City sued the wrong entity and because FAA is not a party to the 1948 instrum
 6
     of transfer and because the FAA overstepped its authority entering into
     Consent Decree when it clearly had no right to do so, the court should declare t
 s
 9 the entire Consent Decree is invalid ab initio due to the fact that the FAA had
io actual authority to enter into such a Consent decree.
ii   96.   Plaintiff contends that the Court should order vacatur of the entire Cons
la   Decree since the FAA fully lacked authority to enter into the consent
13   because it is required under the APA, see 5 U.S.C. § 706(2), and is the "s
14   remedy" when a court concludes that an agency's conduct was illegal under
15   .•.

16   97.   Also as discussed above, Plaintiff is informed and believes that because
i~   FAA lacked authority to release land restrictions on portions of Santa Monic
is   Airport for non-aviation purposes without both approval and fees being paid to th
19   General Services Administration pursuant to the 1948 Instrument of TransfE
Zo   agreement the court should now declare that any such releases pursuant to the 198
21
     agreement were invalid ab initio.
22
     98.   Also as discussed above Plaintiff is informed and believes that the votes
23
     conflicted city council members should now be struck down for failure to
24
     themselves from voting.
25
     99.   Plaintiff contends that the Court should order vacatur of the portions of
26
     1984 agreement wherein the FAA illegally and improperly released lands beca
2~

28     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                             25
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 26 of 89 Page ID #:225




 1
     it is required under the APA, see 5 U.S.C. § 706(2), and is the "standard remedy
 2
     when a court concludes that an agency's conduct was illegal under the APA.
 3
     100. As discussed above, even if the court should somehow find that both
 4
     ( lawsuit and Consent Decree were valid, Plaintiff contends that the Court
 s
     ~, order vacatur of the entire Consent Decree since the FAA violated the APA
 6
     '~ failing comply with NEPA and to seek public and interested party input
     otherwise failed to fully realize the effects of their actions, because it is requi
 g
 9
     under the APA, see 5 U.S.C. § 706(2), and is the "standard remedy" when a cc

io   concludes that an agency's conduct was illegal under the APA.

ii   101. An actual controversy exists between the parties concerning the actions o

12   both the FAA and City of Santa Monica related to the lawsuit and related consen
13   decree resulting from that lawsuit.
14   102. A judicial determination resolving this actual controversy is necessary any
15   appropriate at this time.
16   103. This determination is necessary and proper because Respondents refuse
i~   conform to the requirements of both State and Federal law
is                            SECOND CLAIM FOR RELIEF
19                                WRIT OF MANDATE
Zo   104. Plaintiff incorporates by reference each allegation contained in the foregoi
21   paragraphs of this Complaint and all E~ibits as if fully set forth herein.
Za   105. Plaintiff brings this cause of action as a Private Attorney General under 1
23   Private Attorney General Doctrine in the public interest as of other persc
24   similarly affected or situated.
25   106. By the actions alleged above, Plaintiff believes that the Court should now
26   order the FAA take steps to fully ensure that it complies with the APA and NEPA.
2~

28     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTNE RELIEF
                                             26
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 27 of 89 Page ID #:226




 1
     107. By the actions alleged above, Plaintiff believes that the Court should now
 2
     order the FAA take steps to fully ensure that the City of Santa Monica complies
 3
     with all of its(FAA)regulations.
 4
     108. By the actions alleged above, Plaintiff believes that the Court should now
 s
     order the City of Santa Monica to comply with all of its environmental obligations,
 6
     including but not limited to compliance with both NEPA and CEQA.
     109. By the actions alleged above, Plaintiff believes that the Court should now
 s
 9
     order the City of Santa Monica comply with all FAA regulations.

io   110. By the actions alleged above, Plaintiff believes that the Court should nov

ii   order the City of Santa Monica should now be ordered to comply with all State anc

12   local regulations and specifically those related to the City of Los Angeles portiol
13   ofthe airport.
14   1 11. An actual controversy exists between the parties concerning the actions o
15   both the FAA and City of Santa Monica related to the lawsuit and related consen
16   decree resulting from that lawsuit.
i~   1 12. A judicial determination resolving this actual controversy is necessary an<
ig   appropriate at this time.
19   1 13. This determination is necessary and proper because Respondents refuse
ao   conform to the requirements of both State and Federal law
21
                                 THIRD CLAIM FOR RELIEF
22
                                    INJUNCTIVE RELIEF
23
     1 14. By Defendants continuing to engage in such actions as alleged above.
24
     Plaintiff(and those similarly situated) have been and will continue to be harmed by
25
     Defendants illegal actions related to the illegal and improper Consent
26
     entered into by the parties.
2~

28     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                             27
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 28 of 89 Page ID #:227




 1
     115. Defendants have continually and consistently demonstrated that they knov~
 2
     no legal bounds and that only by being enjoined by order of this Court, might the
 3
     illegal improper actions by Defendants cease.
 4
     1 16. In addition, if not enjoined by order ofthis Court, Defendant will continue tc
 5
     engage in such illegal in improper actions related to the invalid portions of both the
 6
     1984 Agreement and the Consent Decree.
     1 17. Plaintiff does not have a plain, speedy, and adequate remedy in the ordinary
 s
 9
     course oflaw.

10                                    PRAYER FOR RELIEF

ii          WHEREFORE,Plaintiff prays for judgment against Defendants as follows:

12   1 18. A declaration that the lawsuit, 13-CV-08046-JFW-VBKx was invalid ab
13   initio due to the failure ofthe City of Santa Monica to properly contract with
14   outside counsel.
15   1 19. A declaration that the lawsuit, 13-CV-08046-JFW-VBKx was invalid ab
16   initio due to the failure ofthe City of Santa Monica to properly file an action
i~   against the correct party.
is   120. A declaration that the Consent Decree in lawsuit, 13-CV-08046-JFW-VBKx
i9   was invalid ab initio due to fact that the FAA was named incorrectly and thereby
Zo   lacked authority to enter in the decree in the first instance.
zi   121. A declaration that the Consent Decree in lawsuit, 13-CV-08046-JFW-VBKx
22
     was invalid ab initio due to fact that the conflicted city council members voted
23
     approving the Consent Decree and without such votes, the required approval would
24
     not have ratified by City Council.
Zs
     122. A declaration that the Court orders vacatur of the Consent Decree in lawsuit,
26
     13-CV-08046-JFW-VBKx pursuant to 5 U.S.C. § 706(2), because the FAA
2~
     violated the APA.
Zs     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                             28
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 29 of 89 Page ID #:228




 1
     123. A declaration that the Court orders vacatur of the of the portions of the 198
 2
     agreement wherein the FAA illegally and improperly released lands pursuant to
 3
     U.S.C. § 706(2), because the FAA violated the APA and also lacked grope
 4
     authority to release such lands.
 s
     124. For a writ of mandate directing that the FAA take steps to fully ensure that it
 6
     complies with the APA and NEPA.
     125. For a writ of mandate directing that the FAA fully ensure that the City of
 s
 9
     Santa Monica complies with all of its(FAA)regulations.

io   126. For a writ of mandate directing that the City of Santa Monica to comply witl

ii   all of its environmental obligations, including but not limited to compliance with

tz   both NEPA and CEQA and with all FAA regulations.
13   127. For a writ of mandate directing that the City of Santa Monica should nog
14   comply with all State and local regulations and specifically those related to th
15   City of Los Angeles portion ofthe airport.
16   128. For a writ of mandate directing that will retain jurisdiction to ensure that th
17   continues to complies with all (FAA) regulations and that the FAA will need t
18   come to the court for further action in the event that the City is unwilling or unabl
19   to comply.
Zo   129. For a writ of mandate directing that if in the City is unwilling to continue
Zi   operate the airport in compliance with its obligations that the FAA is to either to
22
     possession of Santa Monica Airport or find a party to take over operation of t
23
     airport.
24
     130. For preliminary injunctive relief as necessary the City of Santa Monica
25
     should now be enjoined from making its contradictory agreements pursuant to the
26
     Doctrine of Equitable Estoppel and for a writ of mandate directing that City now
2~

28     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                             29
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 30 of 89 Page ID #:229




 l
     needs to make a choice whether it argue that it needs the fees or that it wants to
 2
     shorten the runway, but that it cannot do both.
 3
     131. For preliminary and permanent injunctive relief as necessary and appropriatf
 4
     to cease any actions or activities related to the Consent Decree, included but not
 5
     limited to shortening ofthe runway and construction work related thereto, release
 6
     of restrictions on Airport lands and/or closure ofthe airport in any way related to
     the Consent Decree until such time as a full hearing is held by the court.
 g
 9
     132. For such further orders or declarations, as appropriate, declaring that the

l0
     FAA and City of Santa Monica violated their ministerial obligations.

it   133. For fees and costs.

~2   134. For Attorneys fees (if applicable)
13   135. For Attorneys fees under Government Code 54960.5
14   136. For such other and further relief as this Court deems just and appropriate.
15

16   ~ Dated: November 14, 2017
17
                                                             ~-~
                                                         -- ~-~             .. ~r___ _
18                                                 BYE%i=
                                                   Barry Rosen, In Propria Persona
19

20

21

22

23

24

25

26

27

28     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                             30
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 31 of 89 Page ID #:230




 1                                        Verification
 2
     I,Barry Rosen, declare:
 3

 4   I am acting In Propria Persona with respect to this action. I have read the fore
i
~
     Complaint for Declaratory and Injunctive Relief and know its contents. I am
,
~
     informed and believe that the matters stated therein are true and on that ground

 s   allege that the matters stated therein are true.
 9
                  I declare under penalty of perjury under the laws of the State of
to
~i   California that the foregoing is true and correct.
12
     Dated: November 14, 2017
13

14                                                                        ~~

15

16                                                  J `~~   Barry Rosen
17

18

19

20

21

22

23

24

25

26

27

28     FIRST AMENDED PETITION OF WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                      INJUNCTIVE RELIEF
                                             31
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 32 of 89 Page ID #:231




                              Exhibit 1
ZIMAS   Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 33 of 89 Page ID #:232
                                                                                       10/22/17, 9:29 Ph



                                                                                                                                                                    Plib11C
                                                                                ~:

                                                                                                                       ~~~.
                                                                                                                                                    ~              4 1


                                                                                         ~yQp~
                                                                                            '  rs~
                                                                                                ~    ~~     A-'~   ~             ,hQV4
                                                                                                                               ~,~
                                                                                                                                 j   ~ ~           ~'`,~-P, ~ ~ ~`,,~- ~,




                                     _                                  ~ ~,z                                              v           ~,          ~ ,,                 'y.

                                                                           ~ ti.                                                               ,,. `,! ~                ~.' ~,!
              ~   ..                                                        ~ta                                    ;                       ~             `r t             /
                                     _                                               ~                                                         ~          '.-                       z


                                                                                             C ,: ~                                                ~~~7~4p¢-,
                                                                                                     r                             ~
                                                                                                                                                             ~7''
                                                                                                                                                                               ,.
                                                                                                                                                                               r




                                                                                                          .,.,,r~                              ~:~--               ~,
                                                          A                                                            "                            1               ~y
                                                                                                                           ~pt~~~'~L ~                               ~
                                                                                                                                                    ~tl
                                                                                                                                                                     f9~
                                                                                                                                                                                    ,,
                                         S~~
                                            fie$                                                            -                              ~~~~,~~ ~..



                                                              V,                                                                                        ~     `    ~
                                                                                                                                r~~                         r -r    Z
                                                                                                                                                        '
                                                                                                                                                        `           ,,,
                                                                                                                                                                      y
                                                                                                                                                        `_.
                                                                                                                                       ,~ ~~             ~~ ~ ~nl ]4_,~
                                                                                                                                                   '\ ,~            ~
                                                                                                                                                                        T~ / F
                                                                                                                                       t                           `.'
                                                                                                                                                                              ~f~
                                                                                                                                                                          d
                                                                                                                                       ~~4                                .r%

                                                                                                                                               ~t ~ rj", y          :
                                                                                                                                                               `~,i :,r
                                                                                                                                                      r ~l~ ~ ~'

                                                                                                                                                          -~, .x~
                                                                                                                                       k                ~~ ~      '-~



                                 ^'-----^--»•'-`_`---^---`--'•--- '--           ~        ^-----"--"--,_ TermsBConditions                ~; ~"- ::...




                                  ~~ ~y
                                      ! ~t                                                      v is



http://zimas.lacity.org/                                                                                                                                           Page 1 of
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 34 of 89 Page ID #:233




                              Exhibit 2
        Case
Geacortex Viewer2:17-cv-07727-PSG-JEM
                for HTML5                                   Document 28 Filed 11/15/17 Page 35 of 89 Page ID #:234
                                                                                                                 10/22/17, 9:31 Ph




   TOOTS

                                                                              --„                      ,,,,~
                                „~,              .~
   -~:~ma        Pan         Zoom in         Zoom Out          Initial View   Print               Export                 Identify



                                                                                                                                                      ti


                                                                                                               r               ~                           '\r
                                                                                                                                                            , ~^,s
                                                                                                                                                                J7`
                                                                                                                                                                 ~f.
   r. the Search field on the top right, enter an address                                                                                                        '  7
   (1685 Marn St) or place such as "Reed Park.. "F;re                                                                                                                ~.~

                  Station". or "City Hall"                                          r                                        ~,_;~ ;-                                   ~Y jl

                                    ~-~,                                                                           t_:.~~z                                                     a~`,
                                                                                                               '
                                                                                                               j.
                                    `,•.~                                                                ~~_
                                                                                                                                                                                       1
   Ther,zoom to the location by clicking on the results                                                        `                                                                        t
                                                                                                                ~                                                                     S 3

                                                                                              _ ~~.



  Change visible map layers with this button (bottom of
                                                                                                                                                                                                      t~4
                       window)
                                                                                                                                                                                                             t
                                                                                                                                                                                    ~;; .                     -ti
                                                                                                                                                                                                                 "~

     Return to phis screen with this button (bottom of
                         window)                                                                                                               _:.~IY~j•fi IV~L~Y




    Change Base Maps (Imagery and Streets) with this                                                                                                                                          .~
            bottom on the bottom the map
                          ~F                                                                                                                                                                                   f_
                                                                                                                                               _                                              -
                                                                                                                                           _                                                               ~.~.
 Jse the Identify Tool to get information (such as Parcel                                                                              -                                               ~               ,
                                                                                                                                                                                                    f-v
               Details) about visible layers                                                                                                                                                    y
                                                                                                                         ~
                                                                                                                         .-                                                                 ~,r'
                                                                                                                   ,v                                                                 J.
                                                                                                                ~~."                                                             ~

                                                                                                                                                                               y'
                                                                                                          ~~'
                                                                                                                                                                r '' r-
                                                                                                                                                                      '

                                                                                            ,..   _T..                                                     i~           ,. _
                                                                                                                                                    ,/
                                                                                        i_                                                         f
                                                                                    .      .
                                                                                    ;.,,~:                                                     ~ ~•
                              Disclaimer:                                                                                          .  ~
                                                                                                               `r` ~               ~-
         This map of the City of Santa Monica has been provided                                                              y ,.,,-
        for illustration purposes only Every reasonable effoR has                                                  ~'~
                                                                                                  ~.
        been made to ensure the accuracy of the maps provided,
       however, some information may nct be accurate. The City                          ,
        of C~nt~ lldnn%rte /"(`ifii"1 nrn!ii~cc Chic mon nn ~n "dC JC"
                                                                                        ~'
                                                                                Streets B...



h ttp:/(csmgisweb.smgov.net~Html5Viewer/Index.html?configBase=http:~/cs...viewers/LACO_base_test_html5/virtualdirectory/ResourcesJConfig~Default                                                       Page 1 of
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 36 of 89 Page ID #:235




                              Exhibit 3
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 37 of 89 Page ID #:236

                                   Ss                           ~•~ '~ L ~S
     ~Olf ALL 1~1 BY THS68 PRTSENT
                                                                 acting by cad ~c'ou(,h
                     TKat, the UfilTF.D 3TAT~S OF A~ICj.
                                                     pursuant ~o asor~►ai~stion
      the Yl~g 11.SSgTS ADIdIDtISTRdTIOH under and
                                                 the powers u~d authority ooa-
      Plan Owe o! 1847 (12 F.a. 4b34). and           Ptopetty dot of 1WL4~ as
      tained in the provisions of the Surplus
                                                   ions, ~~ ord~rr. P11RtY 0~
      aesndsd, a►d ~►pplica~ls tales, regulat
                                                     ~eswaption by Lhe CITY OF
      TJ~ FIHBT PI~RT~ is oon~idsratlon at the
                                                          wider the burs of the
      SAlITL lIc~1ICA, ~ bo~jr oorporats and politic
                                          ~$  SSCO~lD  PJlBt,  of all the obli6a-
      state of Cslit'ornia, YJ►RTY Ole
       tions snd its taking     aub~eat  to cer~stn   re~ervs  tiona, restrictioaa,
                                                                a,gre~a~snt to cettais►
       snd conditions and its oov~naat to abide by esid
                                                              as,  sll as set out
       other reservations, restrictions. snd ooaditio
                                                     Forster   quitclai med, and Dy ~beee
       hereine►Pter, hue remiaed~ r~l~ued ar►d                            said City of
                                                          quitcla  i,n to
       presents does remise, release. sad forever
                                             •4eiEns   , uad~r   end  ~ub3act  ~o the
       Santa Yonioa~ its suoa•seore end                                                 tior
                                        end ooaditia   ns, exceptio   ns, and  rsserva
       raeecv~tione~ reatriotioas,                                                 sad alaiw
                                                                                t,
        of ruts hereinafter yet oat, ell ito rigfit, title, tr~terea
                                                                              property
       in and to tt►e following d~~cribed r~al~ persouul, or mixed
                                                                 C*liforn  ia. to rrit~
        ~ituat~d is the County oP Loa ~tg~lse, State of

                      (1) 1~act ~1 - J tes~porary easement created by aayuoad
                                                                     to the
       S. lfri6ht and Lula ~~e►oy Y~rter 1lrighi:, hu~bsad and wife
                                                                         1842,
       Uuit~d Sta'ties of America, by easeatsnt deed de►tad 21 Oc~ob~r
       Yor ri6htrot-any to loaat,~, relooai;e, oanetTuat,   teaon~  ttuot, 1~nia-
                                                             rapl~o~  , inor~ss e
       t~in repair, operate, renhr~ ~nlargs, re~ov~ end
       •ad~or ch~uge the nu~ar aud~or •is• of aonduit     e, pipes,   pipe lines,
       sooeasoris• cad appurtensnose for the oonviy~►no~ cad diepoa~l of
       •ewag~ and~or eftluen~ uud~r. o~sr, ~lor~ and upon that certain land
        ~itust~d in the County of Lo• ~ngoles, Stets of Celitornie, d~aorib~d
        ~s follo~a~

                        A strip of laud 10 ~e~t in R1dth, situate in. the Cit~r off'
        Loe Ang~lee,    Coua~y of Los ~ng~l~~, Staff o! ~ Californian being under
        ■ad across a    portion of Lot e+S, Tract No. 12450, sa per cep recorded
        ia. Hoot 2Sb,   Ps6es 20 and 2Z o! Yaps, R~aor~a of ice ~gele~ Contity~
        lying b test    oa esah aids of the follvriag described cen~sr liar.

                     8~giaaiag at the iat~reeotion of the Santhe~sterly line oP
        e~id Lot 94 Frith the oen~sr lice of 1fRestch Avenue, (60 feet 1a width),
        esid point b~iag lTarth 32° 34~ 40" Mast, a distat►cs 1E8.81 ~s~t lSroe►
        the intersection of the center line of lraeatch A~eaus et~d the center
        line oP I~ood6re~n 8tir~~t (60 feet in ~idtb.) j tbsnca ~lorth 32° 34~ 40"
        Wept alon6 the liorth~set~rly prolo~o6ation of the osater 11~a~ of
        Kas~tc2► An~u~ • di~t~nos o!' X4.00 test to •point in the 1(ortra►esterly
        liar or ~~id Lot 9!, aaataining 444 ~gn~re test, more or less.

                       ( 2) Tract ~Z - J t~apotaty eas~r►ent ~r~ted by the 8outh~rn
         Celiforni~ 1Pwter Ccmpa~y, w oorQor~tion or6aniLsd aid existing under
         cad by virtu• of the la~r~ of the State of Callfot'Ai,a, to the United
         B.t~tes of ~wriaw, by saaemeat dee8 dated 22 October 1942, =or riblst-
         of-w~q to loae►bs, reZocaw, oa~attuot, r~ooaatruot, naintaia, repass,
         operate, resew, val~r6e, re:o» cad repl~o~~ inare~~a andfor ohaa~
         ~ a~bsr sad~or ~is~ oP conduits, pipe, pipe liu~s, acostsorie•
         uid appyrte~►o~a for the oonvsyaaos and dispoa~l of s~wa6~ wad~or
         effiu~at under, onr, wloag and upon ghat osrtaSn lend ~ftua~cl in
         ode Cou:►ty oP Lae ~►geles, 8tat~ of Celitorais, ds.ori~sa a~ lollawse

                       A strip oP land 10 fs~t la width, sifuat~ in the City of
         Loy ang~le~ , County or Loy ~n~•~.s, State oP Cul.iforaia bs~ag radar
         ~d •oro~s a Dortioa of tth~ Snbdi~i~ioa of the y~nds oP Samuel Cripo
         1u ~ Saacho 2.~ Halloa~ u per leap revord~d is Book 1, Pais 64,
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 38 of 89 Page ID #:237
       Liaenesd 8arveyor..~apa, R.soor~s of said Coun~r lyiab feed on ~aoh
       •ids of the following dasaribed wntsr llnei Seginnin6 at the iater-
       eeotiou oP the flort~s►estsrly ling of Lot 94, Traot Ho. 12450, ss per
       tisp recorded is Book Z36~ Page 20 e►:►d 21 oP Ilape~ Hecorde o! Lo•
       ~elea Countjr, with the Aostt~weaterly prolongat3.vn ofthe neater
        line of lfaesteh A7vnus, (b0 3'est in ~rid~h) said point being N 32°
        34' 40" 1Pest, a diatsaae o! 182.81 feet Troy the intersection of the
        enter line of Yfneatoh bvenue end tha osnt~r lute of Aoodg~'s~n
        Strout, (60 feet in width~j thonae north S2~ 34' ~!A~ lfest Tong
        the Northwesterly prolongwtion of the oenter line of lrsestoh ~rsnns,
        a distenoa of 16 feet to the Bori►luresterly line oP raid Subdi~i6ion
        of the Lu►de of Samuel Cripe is the Rur~oho l.s Bsllona. oonteiaiug
        180 square t~et, more or less.

                      (S) Trsot ~3 - A tsmporary esaemen~ granted by i~b~ flank
         of wm~rioa ~lation~l 1Yuet ~ 8svin6a Jseoaiation, a nationsl banking
         sasooistion. oxners~ and Gor• ~ro~. Ino., ~ oorporetion org~issd
         end ~zisting wades and bq drtus at the lain of tltis Sti►t• of C~li-
         foraia, V~nd~e, u~ttd~r a land puroha~• aontr~at, to tha limited Sta~ss
         of M►erios, by ese~asat deed dated 21 Oct,~ber 1942, for right-or-we~q
         to locate, relocate, construct, reconstrnot, msint~►iu, repair
         operot~, r~now~ enlarge, remoT~ and replace, inors~ee ~ad~or change
         the nusb~r and~or piss of conduits, piped, pips lines, acoes~ori~s
         wd appur~snaac~e for ~~ oonv~yanvo sad di~possl of ssssge snd~or
         effluent under, over, •long and apon that a~rtaia land aitust~d in
         the County of Las ~u~elee, Stets o~ Ce~liPoenia, described ss tollewat

                       1 strip of land IO taet in ~ridtt► si~st~ in the C1~► oP
         Los Aagels~~ County o! Los ~ele~, Stwts of Csliforaia, bsin6 under
         and soro~e a portion of the 10.70 lorss o! Fr~►otional Jass Ds La Lus
         Dltcbado 61.97334 Aare in the Aanoho La Bsllona~ (Diatr3at Caurt
         Cans Nuw~ber 2722) ss per map reocrded fa Book S, Pa~e~ 204 t~ Z09
         inalu~iv~v, Yi~osllaneous Heoords of Los ~~les County, lying 5 feed
         on esoh aide oP the folla~ri~g d~~ori6~d osat~r liner 8~ginaiag .t
         the 1Aterseation of the Southe~st~rly ling of es3d Fractional Joas
         Ds Lu: 1[sohada 61.97534 ~ar~• with t3~e Nortbr~st~rly prolaa~atior~ of
         the oent~r liar of lra~atoh ~wnue (1~sastoh Av~aus shown on Trsot Flo.
         12450, as per map r~vorded in Boole 2~6, pages 21 and 20 0~ Ynps,
         Records oP ssid County) said point being ]forth 3Z° 34' 40" lfsat Tong
         the Yorfhweatsrlq prolong~tioa of the oeat~r liar of Wustoh A~emie,
         ~ distaaoe of 198.81 Pest t'ron the iaterseotioa o! the esntsr lime
         of 11'aaatoh ~~enue (Su Peet in width) a►d ~s o~at~r ling o~ lloodgr~~a
         Stre~~ (60 Peet in width)] theno~ forth $2° S4~ 40p Mast 11.19 le~tf
         theaos Borth 6b° 08~ 43" Ke~~ 44Z.]5 l et to a point in the ~torth-
         ~netssly line oY •sid Fraotioaal Joea D~ Lus llaahe~do 81.97534 Jorea,
          ooat~iaing 463   ~quar• fist, more or less.

                      (4) 2raot ~4 - A tn►Qorary easement ~ruit~d by Gore Broa.
         Ind., a oorporatioa or6aaiwd gad exi~tiag imd~r and by vfr'~u~ of
         the laws at the St~t~ of California, to t!►e United S~atea oP A~arioa,
          by ea~s~asnt deed dstsd ZO October 1942, 1'or ri6ht-ot-wsq to locate,
          r slooat~, oonetruat, reaoastruot, m~int~.in repair, oper~b~, rsaer,
          ~nlar6~, raao~~ and r~pino~, inarsa~• ~dfiar ohsA~e the nuisber gad/or
          size of conduits, pipes, pipe lines, •ooeaeori~s sad apputtanaaae~
          for the oonv~ysno~ end disposal o! ~~wags aad~or sPflueat under,
          our, alon6 and upon that o~rtain land eita~ted in this County of Los
          ~a~eles, Stets of California, described ae Po12an~

                         L strip of land 10 t•.~ in width, sitgate is the City'o!'
           Loy Angsl~s, County of Loa Iln~~ls~, Stars of Ca 3torni*. beia6 under
           and soross •portion of FrsotioAal Jots De I~ Lu= IQsohsdo 61.9T3~4
           ~a~rea in the R~noho 7,a Be11on~ (Dit~riot Court Case 80. 2722) as per
        -1 sup r~aordsd is Bodlt 8, Pages 20l. to 209 inolusi~, 1Li~asllaasou~
           $eoord~ oP Loy ~agel~~ Couaty~ lyia~ b ~s~t oa each aids or the
           follaRing de ~oribed o~nter linsi Comm~aoiug ~t tl» iatsrseotion of
Case 2:17-cv-07727-PSG-JEM Document    28 Filed 11/15/17 Pagenooa~r
                                                              39 of sen
                                                                    89 Page ID #:238
       the  o~nter lino of catch Jvenue (60 test in MidthJ ~
                                           on 'h~act Ho. 12460, ae per map
      Strut (60 fe~~ i=► width), ~ha~►
                                     20 aad 21 of lG~ps, R~aords of Loe
      saoorded is Book 23b, Psges
                                           34' 40" ~fsat along the oent~r
      Jugelee Countyj tb~nee !forth E2°
                                      o~n~r liar of said l~asatah Atenue,
      line wad prolongation of t~s
                                            ~iorth 66° 08~ 48" lisst142.16
      a distauo~ o! Z10.0~ te~t~ t~enoe
                                         N3AG. Themo• Yortl~ 65~ 08~ 4Sp
       f eet to tha ZRUS POST OF BSaI1~
      Weet 425.10 fest~ thsnoe North     as° 33' b6"~llset 2b.68 P~ to
                                                 ~►aterly line of l~oodbia~
       the point of t~rn►iaetioii in the S.oath~
                                                No. 12587 a• par mop moor•
       Jwnw (27 feet grids) sham oa Traot          a of Los ~geles Cooatyi
       did in Book 24~~ Page 13 of W►ps, Itswrd
                                                          60*' $act Z6.b0 feet
       said poil+t of tsrs►inatloYt b~iug north 6?° 11~
                                                  Tre~ct No. 12367.
       Prom the most Southerly corner oS paid
                                                                           aoastrno-         '
                     (6) Ttaot ~5 - ~ ~mporaty► r1~tt-oP-~w~y !'or               liar
                                                               l of  a ~eRer
       tion, operation, maintenances. rau~~ral. ewd r~ow               pt'ope    rty,
                                                                  bed
       aloa~, aaroee, beneath and over the rollosi.ag descri
       ~o witt
                                                                                    12367,
                     The 8ontbweaterly tea (l0~ test o! Lot 62 oP 'h~aot               r-
                                                                 Si~►t~  at    Calito
       in the City of Loa ~a~lss, Coattty of Loy else,                   Yaps,     re-
                                                         1Z wd ].S   oP
       nip, ae per map rsoordsd iu Book 249, Page•
        oords in th+ Offia~  of the  County x~oord  er  of  said County ana Stake,
                                                                        oP America
        granted by a lanes entered into by and bet*s~n tbs Hat~lc
                                                    a  ~htfo~ al Rankin   g Lssooia-
        Aationa~ Trnet ~►d 3aving~ Jssooiatio:►~                                ~~
                                                    an  1  S~g~m  ber  1842,
        tion, and th. Unft.d States of ~rioa,                                 1944,
                                                 ~1,   dvi:ed 10  Jo►r~ua ry
        aodSti~d bye Suppl~risnt~l ~e~sentri                                        SO
        ~Z, dated 31 July 1844, #3, dated 4 august 1846, sad ~4, dated
                        whioh wan  duly facans rerred  end  assign ed  to    the
        D~aenber 1918,
         Capital Cwapany, 4 Calirorr►iA Cosporo~iou~ on 7 3eptember~ 1946.
                      (6) Tfu~t certpin sewer pip• line oonetruated pursuant
                                                                              ar
        to and all ri6ht~ Aoquired by, that o~trtaia He~olutlon of 9 Ootob
        2842, in the l[iautes of t~  Board of Publio  Mloslc~ . City of Loy
                                                                     tl~ Feder►1
        ~a~~lea, Pace 205, Book ~~ 526, grantipg germiseion to
        aovarmYent to i~netall • aanitaty sewer in Ste+rart ~Tsi►ue b~tw~ea
        Roe• Ivsnue and lfoodbin~ S~reete.

                      (7) i'hoee osrtsia ch~tt~le ~nwoerst~d is ScAedule "S"
         attached hereto and mode a part hereof a~ though hilly eat forth
         her~st.

                           BXCSPTII~a, gf~EYTR, t~'on th3~ ooaveyano• all rift, title,
                                                                                     erit~
          atsd luter~~t 1n and to all property in the nature aP •qufpn
          furnishing, snd other pereo       n~l prope  rty  locate  d on the   land   lanced
                             of &eta  lioa ioa as hersin   aP~r    eat out,  which     cats bs
          from ~In~ City
                            the land *i.t out  mate rial   it~ury   to the  land    or  staua-
        • removed frame
                                                                                rated  in
          ture• looat~d ther~oA, other th~ww tlwee ahattela emame
          6ch~dule `>" ~'~taolsed hereto end ~oad~ a part hersoF as though fl~lly
                                                                                           for
           y et Forth herest, and rsesrv3tig ~o tt►~ PARTY, OF ~ FIBST PART
                                                             t,~~s, e6~nt s,  and   sssi    ~
          ite~lf and ate l~es~ee, lio~nas~~, per~+i
           the ri~,t to use tb~ property e~cc~p       tsd  hereby   is  suoh  a  ~~r       a•
           wrill not oat.rially end aav~ereely arreot ti►.e a•v.iogmeat, iaoprow-              I
           ment~ opsrttion or ~aiat~nanoo oS the airport oad the right o!                  rs-
           maval Pram add preaisse of suet► propartjr, all within a resaoae~bl~
           period of tlms aPt~s the date hereof, which shall not be coastrn~d
            to Masan ~txpr period more then one {1) y~~r meter the dst~ oS this in-
            strvs~snt, to~thsr witb ~ rift at ingress to sad egress !rte said
            premisse for ■uoh purpoesa.

                        F1irtt►~r, the FORTY OF Tt3E FIST PI►flT~ for the ooaaid~r4tion
          h.rsinabw» ezpr~esed, does lureby surrender, snb~~ot to the term4
          and ooaditione oP tbi• iaetrtim~at, to the P/IATY OF T~ SSCOND PAR2,
          ohs tor~r~• le~~ehold i~o►t~reat in sad to the premi~~s lmaaa a~
          "Clam Fisld~ 6ueta Yonioa Yunioipal Jlirporb"~ sit forth and d~~~
          orib~d in I,~aa• No. 1I-04-193~u6-4894, dat~fl 8 D~asaber, 1641, as
Case 2:17-cv-07727-PSG-JEM Document 28 Filed      11/15/17 Page 40 of 89 Page ID #:239
         modified ~y Suppl~~'~ntal agrsementac ~1, dated July ~~. 1845, aad ~l,
         dated July 16, 194    wd in Lease No. R-3480-~ng-549, ~►ts~ Deae~aber 1,
         1941, as ~aoditied by Suppl~~ntal  dgresm+mtsi ~l, dated Decrmber 20.
         194 , and ~2, dated  July 15, 1946, both troy tote City of Saata 3(oaioa
         to the Qnited States  oP ~merioa, aad iaoludinb 168.87 aorsa, m4r• or
                                                                        Culifortifa.
         l~sa o! land •itusbed in the County of Loe 4~~1~a, Stats of

                      THE PARTY OF Tli~ SECOND PART dose b~reby r~l~sss the PAk'PY
         pg Tgg gIRST pART t om any s,nd all olni~ whioh exist or me~y arias
         under the provisions at ohs afor~swia leeae~ exo~pt olaima ,~t,icn say
         be ~ubmittsd under Seotioa 17 of the Federal Aixport Jcst.

                       Said property transfvrrsd lt~reby wws duly deolsr~d sur-
         plus ~t:d wse sesigped to the lfa~r leeets id~ninlstration Per disposal,
         noting pursuant to tl~s provisionr of the abo~n-mentioned Act, ae
         amended, a~orgwnizstioa Platt One oP 1847 end spplioable rules,
         regulations sad orders.

                       THAT Tci$ PARTY OF THE FIRST PART bas r~lessed and qui~-
          al~i~d, and Dy thi• inetru~ent does relesas sad quitolaia~ to bhe
          PA&TY OF 9S8 SECOND P11R2 wll ofthe etruoturss at~d impro~sm~nte
          on the leased land, iroluding underground uid o~~rhesd utility
          ey~tema, ~hioh w~r~ ~daed thereto by PbR?Y OF TS& FIRST PART.

                         The►t by the aacaptiauce of this inetranient or any rifts
          bsreund~r, the acid PIIxTY OF TFiE SfsCOND PdR3, for itsslt, its
          euoo~eeors, and assi~ae~ ~grse~ that the ~forssaid surrender o~
          lsasshold int~r~et, trewsPer oP etruatvree, ~mprovemeats 4nd
          oh~ttel~, end usig~snt, shall be subset to the fo3loRing r~-
          s~riotions, sit forth in subparagrwphr (1) gad (2) o! this para-
          6raph~ whioh shs'1 run with tt►e land, imposed pnr~uaat to the
          aut~horitj► of jrLiole 4, Ssotior~ 3. Claus• Z of the Conetitvtion
          of the IInited Stwtea oP 14~er1cs, t~►e S~rplua Property >et or 1944,
          •s amended, R~organisstinn Plan Ong at 1949 sad 4pplioable sule~,
          regulations and orders

                        (1) That, szospt as provided in subparagraph (6) of the neat
          ~uooesdiag uanunbsred paragr~pb, the lend, bni33ainge, etruatures,
          i,aprovemsnte iu►d equipment is which this inatrussat tronefere say
          iater~et shall ba uevd For public airport purpoe~s for the ue• and
          benefit of the publio, oa resaoue►ble terms uid without un~uet dfe-
          oriuinatioa sad ~ri~hout g-ant or exeroiea of say ~~lueive ri6ht
          f or use oP the airport within the meaning of the terns "ezol~tsi~+s
          rf~ht" •s used in aabparagrpph (4) or t~ nsxt ~ucwsding paragar~pb.
          ~e ~~sd iz~ thit iaatru=seat~ the term "airport" shall be deoaed to
          iaolude ~t least all such loud, builaia~e, ~trnaturoa, improvsraento
           and ~quipmsnt.

                        ( 2) That, exoept as provided is ~ubpar~~sph (6)'ot the ne:t
          ~uooseding paragraph, the entire luiding nr~a, ~s dat'ineQ iA 1rM
          R~~lstion 16, dated June 26, 1946, and all etruatur~o, impro~~-
          ~nte, laailiti~a and equipment in xhioh this instrussat transfers
          any interest shall bs s~inte~ined for the use and benefit oP the
          publio at all ti~aee is good at~d sesTioeebl~ ooadition, provided
          ho~vsr, that auoh maintan~ao~ ■hell'b~ r~gqir~d .s to struoture~,
          iaprovso~ents, fsailitie, and equipment only duriAg the re~►iad~r of
          their estiaeted li~~, as determined by the Ci~i~.l Jlsroaautioe A~in~
          istrator or hie eunoeeaor. In the ~veat materials arm requic~d to
          reh~b111tsbs or repair asrtsin oP the arorem~ntio~sd etruotnt~~~
          impro~►smsnt~, Paoilitiss or equipn~at, they any bs prooured by ds~olition o!'
           other •traoturse~ improv~msnts, Psoilltiea or equipment traasPerr~d
          hereby sad looated oa the above desoribed prnnie~s whioh have outlived
          tl~ir ups ae airport property in the opinion of the Civil A~ronautiot
          administrator ar hi■ suoo~asor.
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 41 of 89 Page ID #:240
                       Zhat ~ the ac~ept~noe of t~11~ instru~ra , or aay rights
         hersund~r, the PARTY OF THE SECSD YABT, for itselF~ its ~uao~e~ors
         and •sails, ~lao ~ssuaee the obligstioaa c!, covenants to abide bq
         u►d a~rreee to, a~ad this surrender. traasi'er~ snd aseign~snt is mwde
         •ub~eot to, tine tollawit~.g reservations and reetriatlons set ford► in
         euDp~ra6taphs (1) to ~7) of this parograph, whiot► shell ran Frith tie
         l~aa, imposed purauaa~ to the authority of ~rtiole 4, 5eotion 3,
         Cl~nas Z oY the Cone~itution of the United States of ~a~riop, the
         Surplus Proporty pct of 1944 we mended, $eorgwnisatioa Plan Oas
         oP 1947 end applicable rules, regulations and ordure.

            (1)       That insofar as it ie ~rithin its poarers, the PARTY OF T~iS
         3ECaND PjRT ~hwll sd~quat~ly ols~r and psotsot tho oer~al sgproaabei
         to the airport by removiag~ lo~erin~. r~looating, merkittg or 11~stiag
         or othenries sitigati.ng a=isting airport haaatda end by pseventiing
       1 the eetabliehmenti or oreation of future ~irgort luzsrde.

             (2)       Thnt the United St~tee of dmesica (hersivaftwr ~ometimea
         referred  to se the "(~ov~rnmsnt") through say oP its employes or
         agents shall e►t all times have the right to mnks noa~esolusi~re ues
         of the l~ndi,ng area oP the airport a~ whioh any of the property
         tranet~rsod by this inatrwneat is located or used, without ch~urge:
         Provided, howe~vr, tbst ~uoh ua~ m4y b• liuit~d sa msy b• de~e~'miaed
         at wy time by the Civil ~eronautiaa Admiai~trator or h1s suoceasor
         to bs neceaasary to present undue intelfereaw with use by other
         ~uthori~ed wirerattt Provided, further, .that t2►s Go~nrnsront eha).1
         be obligated to pay for da~s~es owsed by ~uoh use, cr it its use
          of the landing axes ie sub■taatisl, to contributes o rassonwble 4hare
          or the acet of mai~tainiag sad operwting the landing area, ooaaen-
          surats with the uas made by it.

              (3)        That during wy ~u►tional e~aerg~noy dsolsr.d by tau Presi-
          dn►t of t!u United Stag• oP llmesla~ or the Congress thereof, flu
          (~ov~rnssnt shall have the right to malc~ exaluai~e or nane~colwivr
          us• nad have ~xclusivs or nonexclu~ivs oontrol and posseaelon~ with-
           out oharg~, of thv airport at which 'rqr of the propert3r tranef~rred
          by tJ~id laatruooent ie located or ueed~ or of suoh portioa thereof
           as it may desir~~ provided, bowever~ that the Govsr~ent shwll b•
          r a~ponei~le for t,~►e sittire cost oP aulatainiu6 such part o! the
           airport e~ it mny use exo2usi4ely, or over which it may have sa-
           clusive po~seseion or aoatral, during the period oP ~uah use,
           poeavasioa, or oontrol, and shall be obligated to ooatribute w
           rsseone~Dle ~har~, oamomeasurate ti►ith the use made by it, of the cost
           of maintsaanc~ of aLch property ae it a~ag use uonsxolusively or
           over ~rhioh it may hs4e noasxolueive ooatrol and poes~aeioa~ ProQided,
           r►u~th~r, the►t the Govsramsnt ~ha~l pay a fair rental Por its use,
           oon~rol, or poe~easian, excluoi~aly or poa~zoluaivsly ot say is-
           proren►ente to the ~lrport mode without Qaitsd St~tee sid.

              ( 4)       Thai no exoluaive ri~~ Per t~s use oP ~e airport at
           whioh the property transferred by this instrument ie located shall
           be•vsted (direotly or indireotly) in may p~reoa or peraoas to the
           •x~lusioa or others iu the same olase, the term "exolusivs ri~tr
           beiag defi~►ed to ms'n

                        (1) any exoluaive right to use the airport for aon-
                        duating any pertioular aeronautia4l nativity requir-
                        in~ operation of airoratt;

                         (2) any saolueive right to sngag~ in the s~l~ or wp-
                         plying of airoratt, airer~lt sacessories, equip~eent,
                         or aupplie• (exoluding the sale or gasoline sad oil),
                         or wircrat't eerviove necessary for the oQer4tion of
                         aircrsSt (iaoludiag the maiat~naaos and repair of
                         airarstt, aisoraft eagineo, propellvre, and appli-
                         anoes~.                   '
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 42 of 89 Page ID #:241
           (6)        Thi►t  xaspt ae proTided in subparsgr►F "6) oP this psrw-
        grsph, the property tr~aeSerr~d herby may 'b~~ suoc~s~~lrs]y tranaPorrod
        only Frith the proviso the►t any such eubsequeat traaaferse aasums• a21
        the obligations imposed Upon the PARTY OF TSS SSCt~D PERT by the pro-
        visioas o~ tLi~ iaotrwaent.

           (6)        That ~ property transferred by this Saetru~►eat ■hall b•
       used, leased, sold, sal~~ged, or di•posaa oP by the PAitTY OF TtiE
       SLCC1~iD PART for other ttu~n airport purposes without the *titten oon-
       •ent of the Civil Aeronw tine ldainistrAtor, xhioh shall be granted
       only i! said Ada►inistrator d~t~tmi~es that the property oats be gasd,
       l  ased, sold, a~]vsged or di~poesd of for other than drport purposes
       xithout au►tsrially and Adversely aff~atin~ the devslop~t►t, improvs-
       a~snt, operatioa or maiutenanos oP the airport at whioh aucb property
       i• looated= provided, that no atrnct~ured disposed oP h~rsuader shill
       bs used •s an ia~duetrial plant, fsatory, or similar faoility rrith~n
       t1►~ weaning oP Ssotion 2S of the Surplus Properly Aot o~ 1944, a•
       a~a~nded, ualees the P~RfiY OF CIE SECdiD PAflT shall pay to the ~nibed
       States euoh su n ae the 1Par Assets A~d~ainistr~tor or his sucesssor 1n
       tLaation shall determine to be e. fair ooneideratioa for the renovsl
        of the restriotion i=poses by phi• provfeo.

             (7)        the PARTY OF TIi~ SSC~1D PART dog• hereby r~lvaas the
        Gor~rn~snt, and will take what~v~ar •otioa mwy t» required by the
        Mar Asaet~ ~dwuinistrator to 4osure the oonplste releaas oP the
        Goterpment frao gay a~ad all liability t~ Gov~rn~at may be under
        for restoration or other dua~e• under axiy le~s~ or other R~r~ement
         oonriag the ua• by the Go~~t'~mst~t of the y,tpQrt, or pert thereof,
         owned, coatrolled or op~ra~ed by the PARY'Y OF 78E SFsCC~iD PART, upon
        tirt►ioh, adJao~nt do wrhioh, or in oona~ation Frith whioh, arty property
         transferred by th1~ instrum~at was loc~t~d or usedf Prv~ided, thwt
        no such r~leae• ■hall be oonstarusd ae depriving the p~IRTY OF 18E
         SECOND PART of s~}r right i~ may othetwi'~e h~►ve to reoeiT~ reimburse-
        a~sat uad~r S~atioa 17 of the F~der~l Airport 11ct for the a~os~sury
        rehabilitwtion or rep4lr of pub]io airpor~~ heretofore or hareatter
         ~ubstRntially damaged by suy Federel agsaoy.

                      By aoo~ptancs of this iastru~►ent, or any right hereunder,
         the PARTY OF T~ SEC~D PAftT ltirther a~ees ~ri~ the PARTY OF 18E
         FIRST PORT sa follows:

                       (1) That in the •vent that ~►ny of the ntoseoaid terms,
         oonditione, reeervatioaa or restrictions is not met, observed, or
         oomplied xith by the PARTY OF ~ SECOl+iiD PART or any subsequent
         traa~ferse, wkuther soused by the ls~l ia~bility of e~►id P~,tTY OF
         Z~ SBCOIiD PART or ~ub~equ~nt traaaP~r~s to pertor~ ~►ny o~ the
         ob116atioas horein sat out s or otherwla~, tbs title, riSht of poe-
         esssion sad all at]~r ri6}►t~ tran~P~rr~d by thin iastruasn~ to the
         PAfl17 OF THE S~C~1D PAitT, or any portico i~heraof, shall at t}~
         optioa oi' the P1►ttTl CF THB FIRS= YAAT r•~ert to the PARTY OP' ~
         FIRST Y~RT sixty (64) days follo+►ing the dot• upon ~hiab d~mw.c1 to
         this erfeet ie swd~ Sa writiag by tie Civil jsro~utlos ~dminl~-
         trator or hi,~ suao~ssor is Punotion, unl~~• withia s4id sixty (60)
         d.ya such defoult or tiioletion •hall have bs~u our~d ar►d all euob
         t~rm~, oeaditions, r~ser~ations and reatriotioas shall hwvs bees
         met, observed or co~rsplied with, in whioh •vent ~~id re~~reion shall
         nit ooaur and t1t1~, rigbt of poes~~eiou, and all other right•
         traneP~rr~d bsr~by~ except suoh~ it any, ae ■1~►11 love pr~viou~ly
         r ewrt~d, shall resin vested in the PgRTY OF T~ SECOND PAB.T, its
         trmsf~r~~~, n~oo~e~ore and aa■i~as.

                       ( 2) TZ►st it the ovast~vation as ooveaanl;e oP any oP the
         f oregoing r~a~rtstion~ wd r~etriotioY►s r~oit~d her~ir► ae ooveaaato
         or the ~pFliaation cf the acme ge oov~eaant. is any pe~rtlou],ar in-
         aLanos i~ held i~alid, the partiouler r~s~r~atioas ar reatriotions
         is qu~~tioa shall be construed instead merely ae oonditione upon
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 43 of 89 Page ID #:242
                                                                o~,_ion to a~►uee
         the bresoh of ~rhfoh tha Goveru~eat may exoroise its
                                                                tranalerred to
         tha title, right of posaessio~a end sll other rights
                                                                ~ to revort to
         the PARTY OF THE SECC~(D PdRT, or eny pori:ion theseof
                                                                    tiona as
         it, st►d the spplicetioa of such rosarvatioaa or rsatrio
                                                           otion  of  the remain-
         oovsaer►b~ in any other instaaoe and the aonetru                  not
                                              tions  ae oovai~s ats  shell
         der of auoh reoervatioas wed res~rio
         be a~tectsd thereby.

                        TO HAVE AND TQ HULb the property transferred hereby, under
           and subject to the sYoreeaid reservnt3ona, resttiction~ and ooaditiona,
           unto the said PJIATY OF 7~ SECOND pBRT, its ouooeseora atul soaigna
           Porever.

                          IN Ii1PIT1QSS5 illJERSOF, tt►e U'IITEp 3T11E3 OF FICA, satiag
           by and through ~e IRar, Asaats Adn►iaistra~foa, has osueed these pre-
           sents to bs eseooted in its naa►e sad on its bshalt Dy W.J. Aovsr,
           Dietriat Mreotor. Wsr Aeaets ~ninieti~atioa~ astd the CITY OF SAlVTl
           DtaBICI, aotia~ by sad through 1~s City Couaoil, hay a►u~ed these presenl:a
           to be sxeout~a in 1te naa►o and on its behelt' by           ~~ ~l. p0$~ON City Ma~eger
           and efts sted by                                             te       erk, s:►d
           i ts  eesl ~c bs     reunto     atYixed , s   as   of        10th         daq o2'
                   ~t ~
                Augus           , 1948.
           ~

                                                                    UBITSD S2AT&S OF 11ff~IC~A
                                                                    ♦ctiag by and 'through
                                                                    ~fAR ASSETS             IOA
                W,L~IESSTSa
                                                                    Hy
                                                                        attic ire
                                                                      Los ~ele   i~~       of 0 tics




                AI~lESSSSi

                                       ~
                                       4~     -      --


                                ~ ~               t I/    t




                                                                     ci~r of swx~► ~ic~►
                                                                     sT~za aF cu,iFot~~,          ~..



                                                                     By
      :ti p:;      -p~~,2p.1.~;~a.:' .
                          I~   'j~~'C, '1 ~   7 y




                   • ,~        .,r.. .




                                                              ~'~
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 44 of 89 Page ID #:243
                                  SCIiBDULS "Aw                    ~'



        SRPA NO.P-L                      ITFJI        ~            II2RTS       gU~TI_~
                                                                                  AN

        2861b68-1.1        Ic• Cheet                                ea.           4
                1-2         °   "                                   eo.           1
         ' 1-3             Ias Hax                                  •a•     ~     1
        2681686-1-1        Bteel Drums                              ea.            2'
           ~    l~Z           w    w                                ea.            Z
           •    1-3          "     "                                ea.            I
           N    1_4           ~    ~                                el.            1'
           d    ~~6           s    w                                09..           3.
                   1-6       "     "                                ea. ~          7
                   1-7      "      ~                                sa.            3
             "     1-8      "     "                                  ea.           1
         2661567-1-1       Firs Extinguisher                         oa.           4
                   1-2       ~    "                                  ea.          10
                   1-3      "      "                                 es.           4
             ~     1-4       M     4                                 ea.          ~2
         2661589-1-1'      hire Camvutisge                           ea.          10
         2861670-1-1       Hose Fibrs Firo w~aostle                  ea.            2'
              ~    1_Z       a     e           w                     •a.            4
             *      1-3      w     w           ■                     es.            2
         2661566-1-1       Oak Barrel       ~                        ea.            1'
         2661571-1-1       Ping Po~g ?able                           os.            1
         8009-5711
           WM-21 #6         Truak Sirs, pumper
         26b7337-3-9
           1~A11-21 ~6      Traotor, Iaternat3obal, 1[od.T~ 18 Bul2doser
          2667337-4-4
           WAd-21 ~i        Traotor~ FordsoA
          2667842-S-S
           flM-21 ~4        Grader, Yotoritea, J.D. ~da~ Yod. ZO1
          2667342-2-1
            W~A-Z1 X10      Crass, 17~otor, Hughes-Heenan, Yodel lIC?.S
          8009-11125-1-1
            RP-1            Truck, File do Bassos, In~era~tional
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 45 of 89 Page ID #:244

                 ST:,'~ 0~' Ci.LIF'ORt1Ti.
                                                     SS
                 COUi~FtY OF LOS ;,tdGEL1?S      )




                                   On this~d~y ~f                               , 19G$, beYorC
                                                                                                                                     :~'"
                 me     ~iD... ~~a~D~~ ~ ~ Notary F~tblic in and
                                                                      pErsonally
                 for tha County of Los +►ngeles, Stntc of California,

                  sppe~red 4~J~lter i.. Rover, known to mo to he the D~.stt'iot
                                                                                 stra—
                  Director, I~os :~n~;e~,Es District Office, ~~~r l,ssets :dtnini
                                                                        the wS.thin
                  ti~r~~ Arid known to me to be the persan who executed

                 instrument on behalS of the 1'lar i.ssete :.dmin3.etratian which

                  executed said instrument on b~tialf of the United Stites of
                                                                             said
                  ;,merica and ackno~+led~ed to me that he subscribed to the

                  instrument the ~~uttc of the' United States of i.merie~ and the

                   name of the L1~r ;,ssei:s ;,dministr~tiAn ~n beh~~lf of tho Ut~.ted

                   3t~ tes ~f ~.meric~, ~nd further that the United St~tcs of I.merica
                                                                                                           ~~        ~ ~        ~~                ~.1~:t
             '     excauted said i.nstrument~
                                                                                       ~      ~,.''~%~'`~~,~;.~,~,~j~:, •~                   .t t .
                                    ,.FITNESS my hand and oFficial se~J..
                                                                                                ~,J                        ,~                        • k
                                                                                                            ~j► ~ ~              y                   •+'

                                                                                             ti►                     '  J    j
                                                                                           . LLB~ ~`E "~~           w„~ ~' d 5.                      .r~




                                                          T~~t,ry Public in •a             far        ~ ~*`~~~''~~`'~ ~~''
                                                          CouCity 2nd State                  , -~a,~~~~~~~~.~;~,~.;.,,• .r ':~
                                                                                                        I11h1H1~ ,~'                                '•,'•]

                                                                                                      ~~    I                                ~f       ~~
                                                                                                                                         '
                                                                                                                                     1

                                                           Aiy Comrni.saion expires;';                          ~                            .,

                                             .              MY Commission Expi;e: Apr. 23,194 ,                        ~                              ~.




                            ~•.•




                                                                           ':                                                        .
                                                                  .                                                         .                      ..
                                                                      ~,   A
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 46 of 89 Page ID #:245
                                     C E R TI R Y C A T S                                                     ,~


                      I, the ~mt1e~81~ed         I.. S. ~d~tIG1iT~ Secrel;ary

            The Genex~l Board                   ,}fir ~~ets Adtainist~atlon~ in ~qyr
                                              5~cretary                                             ~
          official odpso3ty as such             ,~.,...~. _..~r.~.....~~

           and duly sythoriyed in the DEI,LCATION OF At/'THORYTY ~ATCIDENT Y'a T~ CARE
                                                             19
           ~1~UT~LIPIG At~tD CONIlEYATlCIP1G dated ~~pr.~ 9~~48~~ , to m~lce tfie ~ollo~ris~

           oertifioation~ do hereby eertit~r:

                      . The►t
                      1            ~J~1ter~A. Rover                                             is the

            District Director, T.o3.              ~ricb Of€ice
                                    ~'~ngeles Disfi
                                                 ~_..
                                   .
                                                                                                      i
                                                                                                 . . ~ ~   '
           ~'{ar Assets pdminia~ration, duly e►ppoirited~ suthoriLed acid ~otin~ i~ suoh

           onpaoity at the time of the exsoution of the uttaahed iristrwlent~

                       2. Thst the attaaAed D~L~GATION OF AtTTfDRITY T27CIDENT TO Tii~

            C/1RE~ HAND~,I]'?G ~D CONV$Y~DiCING i~ o true and oorraot oogy of the o~iginak
                                                                    Apr. 9~ 191~g           ~
            of saki DELEG.LTId1d OF NJT~D*tITY~ &ated

                       Cri~en undelr rtgt hapd this            ~~            day at'                    19~;
                                                                                       .,




                                                               S       tar

                                                                    e General Board            .."~'~''                 -:
                                                         . .. . ,              pf''tce ,. .. .
                                                                    il~ar llsse~e ~fnfe~rntio~

                                                                                                                         ~~




                                                                                                                   ~~
                                                                                                   <<~~/ `+
Case 2:17-cv-07727-PSG-JEM Document ~71VT1~
                                     28 Filed
                                            %b j 11/15/17 Page 47 of 89 Page ID #:246


                                   DBi.Ef~lTYO~ 4!` 1ilSD~$I'1'i ~0•    L~7
                                                                                  ~T~CIlia Ole'
                                               TO TQ Ci~E, S~RDLI~{~, BBD l:Wl'P
        D$L~Q►TICII Ole ~ITTHORI'!t IliCID~11T   PROPEBTT 1BSIf~IED F4fl DISPO SAL T~IIlH
        BURPIJJB RBAt. YROP~?i ~llD PSB90~lL

                                                            Ptop~sty Di~po~~l, aad wob V~001•
              T!u D~pyt~ ~inirtrator, Ottia~ o~ RN1 srtf Disge~al~ lfi►e~ ~s~~ta ~dai~•
                                                      Prop
       ata Deputy L~aiai~tr~ter, 0!lia~ of H,N1 R~61oaa1 Dir~etor for Beal Prop~r't~
                                     tor,  the  Deput y
       tratioa~ t~ 8~6i~1 Dir~e
                             iate Dsput ~ Re6io n~al Dlr~o tor !or SN►]. Prop~rt~ Di~po~l, and
       Diaposul, the Lswo
                                                   ro: a.~]. ProPu'~7r ns.posal, ii► ..oh .~a
       th. ~..i.tsut D.~uty as6loal Dir~otor
                                                  oal Ofi`ia~) t~ Dirtri~ Dir~otor aad D~pt~
       e7eay 1fRs ~s~et~ ~iai~tsation 8s~io~
                                                       ~ali in ~noh and enrY liar ,s~st~ ~d-
       Distriot Dir~oter for Howl Property Di~po
                                                         a or psrro~ de~lEpat~d to mot, an8
       aiairtrstion Di~triat 0lYios, and aRy p~r~o
                                                        , are b~r~loy antburised~ iadi~daall~
        aotin6a in s~q o! tbs foregoing oaganitie~
                                                          dNd~ l~u~, p~r~it, oontt~ot,
        (1) to ~~seuts, ao~owledge and dslinr ~q
                                                              ws1t3n6 is ooaaeotion with +,~
        ree~ipt, bill of eal~, or ot1~r ia~tr+aoren#~ is        rb~• er g~r~onal property aa-
        asre, handliu6 and di~po~a2 et ~vrpina reR,l prop~
                                                               ~d  withia tip Uhit~d 3tat.~~,
        ■i~~d for di~po~itioa with real property, loost,                  , bo~ds~ acrt~w60~,
                                                  to  ave~p ~ w~   note
       its territories gad po~~~~~lon~~ (~)                        a~  oo~~id  ~r~►tiau is ~hol~
         a~~ds o! tsu~t or other •~enrity i~trtt~    snt.~  talaa
                                                                        p~rwaai prop~rty~ gad
         or is pert for tlm di~pQ~ltioa of suoh sarpins real or
                                                                  di,aa6ar6~ ~ ~uah in~tr~nt
         to do all sots asos~~asy or proper to r~l~a~~ aad
                                                                     er~at~d, ima (3) to do or
         or aRy lien or~~ted by rnoti inslrt~snct or ~t.~erRi~e
                                                                         o! title to a~ sneb
         perform aqy ot.~r sot n~oes~ary to e~t~ot the traa~l~r
                                                                   provid   ~d3 all pur~unat to
         surplus r~~1 or psr~onal propszty loe~t~d as abon                      isd, {68 b`tat. 766j
                                                                     wa  a~sff
         the prori~ioa~ of the 9urplu~ Prop~rtij► lot of I9~4,                         635 60 II.B.C.
                                                           78th  Got►b.  (69   Stat.
          60 II.S.C• gyp• 8upp• 1811)t Pttblla T~►~ 1B1e                                     P~blia
                                                              1 0!  1947   (lt   F.S.4 6S4)t
          App. Sapp. 181la, 161~b)~ R~or6anttstioa Plea                                 Aege ilatioa
                                                  aad it   ~~~t  ~  ~fiain i~trati aY►
         Iawr 289, 60th Cong. (61 8tat. 878 )s                                     .
          No. 1 (12 F. a. 6861). as ~aendsQ.
                                                                         i~tratton 8~63oaal
              Tha Regiansl Dirsotos ~ia ~~oh aad ersy liar L~rat~ ~aia
                                                                  n or  p~sso eir u lay may
         Ottio• 1~ bersby av►thoris~d ~o rsd~lsast~ to sne~ psr~o
                                                                      t.
         desipnat~ the authority del~~►tad to hia by thts 1aNr~sn
                                                                                l~hi~tet, Lao-
               L. 8. lfrighb, the 8~aretary o! Tit General Board ~a~i Soberb
                                                           er~ Di~po   a~l, lfa~r Vset~ ~driais-
         ois~e Deputy ldmini~trator, OlYio~ of 8ee►1 Yrop                          ~ or t6i~
                                                         to oastit~ ► true   oopie
         tratian, ors hsr~b~ ~uthorissd~ inditidn~.tl~t,                              to
                                                             u   arq  be  ~a~~    aty
         Dsle6st lon and pro~ids •uah f+u-~her oertifioatioa                          ~uri~-
                                                            for  reeor  dina   3n uQ
         ~~leotuat~ the int,~at of this Del~~atioa in fora
         tilotion, se muy bs required.
                                                                               s~~ oa
                This Dslegatioon s]~li b~ e~teotiw ~~ of tL~ ~p~nia6 0! bnaia
          April 9                     1948.
                      .r.., ~ ~~
                                                                                  owly ~raat~~
                This authorl~jr 1• in add~tioa to delegstiop~ of anthozi~jr pr~d       18~8~
                                                                             ber  16,
          ~mdar date■ of Iwy 19, 1948: Yay 29, 19~Mj July S0, 1846 S~~a
                                                                        8,  18~T=  end
          October Sl, 1948 No~eaber 22, 1946 J+~.nuast 13, 1847 Jtm~
                                                                                      said
          Ds~e~ber 1, 1947 but dull not in e►t~y maffisr supe~d~ pro~l~leal 0i
                                                               o! this Dsls~  ation .
           delega~ioa~ a~ do not oontliat with the proTisig~



                                                                       JBS8 ?i&~90N
                                                                       ~dsiaistr~tor



          ~~a~          qf'R 9          , ia~a.
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 48 of 89 Page ID #:247
                     A 1. ~OLUTI~N OF Tliti OITY a(xJNOIL !' TKO
                     CYTY OF SANTA ~IONIt~A JIaC~PTINa AN INSTRU-
                     M~NT OF TTtAN'I+'~ FROM THB UNITED BTATE9
                                                     of u~xioa.                                                                      ~,
                          THE DITY C~UI~IOIL OF Ti~C OITY OF DANTA lIaNZCA DOtig K~BULYE A8                                          i
                          Fo~~Lows:                                                                                              ~
                                                     BI:CTI01i 1.        That thati pertain instru~aent of transfer fro.         j

                          tha t7nited t~tate~ of l~erioa, sating by end through the ~lar AReet~                             •~

                          Adninlstrntion, whereby Raid United States ot.Ameria~ aoe4 surrender ~,.
                          to the Oity of 8eu►ta Honia• the ~ormsr~• lease-hold intereati in                                      ~';
                           and to tl~s preaise~ known as Olovertl~ld Banta Monioa uunioipel Air-
                           port ena oertaln eseemen~g and tataporary rights of wey appurtenant
                           thereto, be and Lhs sata~ hereby la toceptod.
                                                     SECTION 2.          Thet the Oity Manager hereby is rtuthorized
                           t o execute esia in~tt~ument of trR.netar an bshsl! of the dity and
                           the eity Clerk elru~ll attert his eignat~sre thereto.
                                                     S~COTION ~.         That the City► Clark ahal~, oertity to the adop-                 b




                            tio~^-oi~••thia reaolutian and thenaelorth sn$ thereafter the ea.me                                           e
                         • ~ 41~p~;~'~be in ttill iorae and~ elfeat.
                                                                                                                                     ~~
                     •' ~;;; ~,~f:~~~;~~f ~~"Jl~OI?TED and A~'PROV~D tih~e 10th day of                 AuRus    1A~8

                                                                                                                                      .~


                                                                                                                                 . ;


                '~,;~%,~,'''':~~r~ ^~~K~`;`''~'        .      ~eby oertit~ that the loregoing resolution waa duly
                  °~~ ~~:ra~~~c~~~y ~t~,e Oity Counoi~ of the Qit~ of Santa 1[onioe. wt t
                   e~,~,~~~, ~~,~ting thereof held on tt►e 10th" day of ~lu~u t
       r'
          .;: '~ ~~                                           following vote of Lha Oou~oil;
           a~~~~~~:
         ~Y.~ ~•;,
                .,y
          ,,     ~., ~.~~v:'r ~ .'~       '~t • ~.    ~r.~;            Counollmenz Bsrn~rd, au~rcio, Mark~orth, Neileoa,
        a:          t
n    ~ ~•
    ,, f.0.~ .,              •        ~      I~:      y~ •.~:                            Talmage ~ Schimmer
                                                        3 ~
                                                            ••         DounoiLiaen~ None
                                                                                                                            MI

                                                     ~Pi~$.s,F:1~Pr:   ootlrio~l~.n; aat..
                'i:~. ' ..•'tL~ ,. . _,.yam-y,B~+~
                                               ■


                                                                                              ~,~/
                       +r~i ,.+ ~                       ~ .
                         r, ~Dp p~,rid, ;J~.~; .t0 ?orm l~hiE
                           ,lQ:..':~~~ ~r~~a~_. 1948.

                            - ~ _ RQY~. Y. sOREllss~l
             .~ . , . ,1Roya1;•~It 8oren~en, 01 y /lttorn'
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 49 of 89 Page ID #:248




                               Exhibit 4
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 50 of 89 Page ID #:249

                                                                   ~'t'R~Ct ~. ~Oo9(CCS)


                               SANTA MONICA AIRPORT AGREEMENT




                Section 1.           Purpose.
                                                 of~disputes involving
                This Agreemenr resolves a series
                                                "tt►e Airport").                      These
          the Santa Monica Airport (Hereinafter

                                  taken    various    forms,    including        extensive
          disputes have

                      2itiga*ion.         In addi*ion to expressing             the mutual
          c omplex
                                                                               Santa Monica
          c onsent of the parties, including the Ci*y of

          ( hereinafter           "the    City" )    and   the Federal           Aviation

          Administration hereinafter                 ("the FAA."),       this    Agreement

          r esponds       to the concerns of         local anc~ national aviation

          interests - and residents of neighborhoods affected by noise

          from the Airport.

                   The     various    Airport disputes have           occurred over       an

          e xtended period of             time    and have     involved        a number   of

          specific        issues.     In these      disputes     there have been -two

          common factors:

                      a.    The     impact    on     the   comm~:~nity    surrounding the

           Al=~O~ ~ _{ n~~ise frc:; air~raf ~ operating into and out of the

           Airport.

                      b.     Various      restrictions and limitations imposed by

           the Ci*y on the users             of    the Airport,     and    the effec*      of

           these     restrictions         on air     traffic     in      the    Los   Angeles

           Metropolitan Region.

                     By    *his     Agreement       the    parties       indicate       their

           willingness        to     approach      the ;nany    varied     Airport     issues

           s ystematically and cooperatively.                  This Agreement describes
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 51 of 89 Page ID #:250


                                                                par* ies and
                                        agreement between the
         tY►e specific points of
                                                               in the future
                    a   for ma t wit hin  which issues arising
         provides
                                                                        se of
                                 and  resolved.    A fund amen*al purpo
         can be   add  res  sed
                                                               communication,
                Agr eem  ent  is  to  exp and and improve the
         this
                                                             of the various
            oope rat ion  ,  and  mu  tual understanding
          c
                                                                 gnizi ng and
            ers pe cti ve  s  of   the   parties, while reco
          p
                                       ctive legal rights.
          preserving their respe


                 Section 2.      Basis for Agreement.
                                                 only      after   and is   tY~e
                 This      Agreement was reached
                                                            the many different
            es  ult of exten siv e stu dy and analysis of
          r
                                                             have had Numerous
                                    Airport. The parties
          issues involving the
                                                                   cerning the
                                           tailed discussions con
          meetings and extensive de
                                                                     There has
                                            s of this Agreement.
          points which form the term
                                                                     neighbors,
                                             of Airport users and
          been extensive involvemen*
                                                                    ipa*ion of
                                          hearings and the partic
          including several public
                                                                        s of a
                                           composed of representative
           an Airport Working Group
                                              and perspectives.
           b road spectrum of interes*s
                                                       inciples.
                       a. Recognition of Legal Pr
                                                                              al
                                                     a recognition of the leg
                    This Agreement is ~based on
                                                                            sts,
                                                  s, a balancing of intere
            r ights and duties of the partie
                                                                              of
                                                indicating a resolution
            and an awareness of facts

            conflict is practicable.
                                                   es are the basis            for
                   Three underlying legal principl

             *his' Agreement:
                                 Airport   is to be open   ar~d available to and
                    ( i)   The
                                                                        ,
                                              fair and reasonable terms
             f or public use as an airport on



                                                2
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 52 of 89 Page ID #:251


                                                                                              any
                                                 na  ti  on ,   an  d   without granting
                                  discri     mi
        without unjust
                                                             law.
                               ts prohibited by
        e xclusive righ
                                                                                         1958, as
                                                  th e   Fe de ra l   Aviation Act of
                                            to
                  (ii) Pursuant
                                                                                       A for the
                                          au  th or  i* y   is    vested in the FA
                           clusive
         a mended, ex
                                                                                          ment and
                                            pe ct  s  of    ai r  sa  fety, the manage
                           of all as
         regulation
                                                                                        navigable
                                     sa  fe    an  d   ef  fi  ci ent use of the
                                e
         control of th
                                                                                  that airspace.
                              d   mo  ve  me n*    of    aircraft through
         a irspace,        an
                                                                                         bstantial
                                         of    th  at   Ac  t  th e   FAA also has su
                                      1
          U nder Section 61
                                                                          rcraft noise.
                   ns ib il it y  ,f  or   tt~ e zeductian of ai
          res   po
                                                                                  ty to manage the
                                Th  e    Ci  ty   ha s   th e responsibili
                    (iii)
                                                                                 asonable action
                             cl  ud in  g   th  e   ab  il ity to take re
           Airport, in
                                                                                e from aircraft
                       d   to     ab  at  e    th  e   impact of nois
           d esigne
                                                                                          ance wi*h
                                        rr ou  nd in  g   co  mm un ities, in accord
           operations on su
                                                                                       ion. v. City
                                      of    Sa  nt a   Mo ni  ca   Airport Associat
            she principles
                                                                                       ); affirmed.
                                         47 9   F. Su  pp  .  92 7   (C.D. Cad•. 1979
           .of Santa Monica          ,
                                                                                   Airways Boar-d v.~
                            i0 0   (9  th   Ci  r.    19  80 ); and British
            659 f.2d'
                                                                               {2d Cir. 1977).
                  t Au  th or it  y   o~   Ne  w York, 558 F.2d 75
             Por
                                                                 ors.
                           b. Balancing of Fac*
                                                                                    ent involves the
                               fu  nd  am en  ta l   ba si  s  for this Agreem
                       The
                                                                       se   fac+^-s.     Studies and
                                             mb  er    flf   6i ;~  er
              balancing of a nu
                                                                               reed tYiat:
                                                   ated and it is ag
              analysis have demonstr
                                                                                            le in the
                                    e    Ai  rp  or *    se  rv es     an important ro
                       (i3      Th
                                                                                               and air
                                                ~i    sy st  em   of    ai r .transportation
               regional ar.~ na* ^r.
                                                                                              function
                                       ha s   a   vi ra  l   an d   cr itical. role in its
               commerce.         It
                                                                                        f airports iz
                             ra  l    au to  *i on    re  li ev  er for the primar
               as a gene
                                                                                       t attracts and
                            .     As    a   re  li ev  er   fa  cility the Airpor
                the area
                                                                                       eby diverting
                      ~=y es   sz  -r v? ce     to    ee  ne  ral aviation ther
                Yr~==


                                                         ~7
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 53 of 89 Page ID #:252


                                                                      other
                                            cazzier airports and
        aircraft away from the air
                                                     Greater Los Angeles
           avi ly use d air por ts located in the
        he
                                                       this congestion and
                                 lysis have confirmed
        Area. Study and ana
                                                                ports in the
                                      l aviation reliever air
        that other similar genera
                                                           e the ability to
                                 vily used and do not hav
         a rea are already hea
                                                                  ta Mo nic a
                                     service provided by San
         accept or absorb the
                                                              .
         Airport.
                                                                          sely
                                                d on three sides by den
                (ii) The Airport is bounde
                                                                    departing
                                       as.    Noise from aircraft
         populated residential are
                                                                        rating
                                           por+, including those ope
         fzom and landing at the Air
                                                                   act on the
                                            *ern, can have -an imp
         within the Airport flight pat
                                                                      Angeles.
                                           of Santa Monica and Los
          quality of life ,of citizens
                                                                     d to the
                                            as have long complaine
         •Many residents in these are
                                                                      that the
                                          craft noise and demanded
          City over the impact of air
                                                                          se.
                                              h respect to aircraft noi
           City take effective action wit
                                                       .
                    c.   Factors F.eading to Agreement
                                                    achievement of
                 Three factors were critical to the

           this Ag"zeement:
                                            of the par*ies     to approach ttze
                 (i)   The    willingness
                                                   _ 3 t•~ cc.nsr~er i~aair:~tive
           Airporr issues ::i _tx ~n cps:: ..._.._
                                                     ative concepts, with
           a nd previously untried altern
                                                            *y of the interests
           recognition of the legitimacy and ualidi

           and concerns of other parties.           This good faith effort to

                                                       ent alternatives was
           e xplore and consider many differ
                                      compromises designed     to balance the
           critical in achieving

            many factors involved.




                                              4
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 54 of 89 Page ID #:253


                                                  that    the   Airport   is   poorly
                 (ii)     The      recog ni~ion
                                                                      tha< the
                                            Consequently it is agreed
           designed and ozganized.
                                                                           t
                                   ed         so as to maintain the curren
           A irport can be redesign
                                                      services provided        by    the
           l evel , quantity, and          type of

                                            l" land which could be made
           Airpor* and to provide "residua
                                                 compatible with Airpor*
           a vailable to the City for o*her uses

           operations.

                  (iii)      The    recognition that any        noise problem at the

                                              noise mi*igation program
           Airport can be addressed through a
                                                reduce noise levels of
           focused on a cooperative effort to
                                                ful design of Airport
           aircraft using the Airport, by care
                                                 sensitive placement a€
           facilities and ground buffers, and by

            flight paths. *o achieve          noise abatement consistent with

            safety.


                   Section 3.        Scope and Duration.
                                                           plans for the
                  This ASreement states the principles and
                                                      ements between tY►e
            operation, of the Airpor*. All prior agre
                                              Aizport,     and all actions          of    the
            parties concerning          the

            parties during the duration of                this . Agreement, _ sY►all be

                                                    with this     Agreement.             This
            in~p~nreted consistently
                                                        of its execu*ion
             Agreement shall be effective from the date

             until July 1, 2015.


                    Sec*ion 4.        5ettlernen* of Leaal Dispu+es.

                                                     to   resolve all existing           legal
                    'Ifiis   Agree~ne:~t   serves

             disputes among *he parties.             In this context it consti*~*es
                                                               litigation
             a settlement Agreement applicable to all existing
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 55 of 89 Page ID #:254

                                                                       the
                                        la in ts   pe nding Y~erween
                        s~ra~ive comp
        and/or admini                                               by the
                                      ce p~ an ce  an d execu*ion
                                   ae
                   Following its
        parties.                                                   urt or
                                         fi  le  d  with any Co
                                    be
                     a copy may
         p arties,                                              mplaint is
                                   e  an y  li ti gation or co
                     ive body wher
         administrat                                          lement agreed
                                 th e  re so lu tion and sett
                     evidence of
         pencing as
                      rties.
         to by the pa

                                                             Plan.
                 Section 5.      Airport Layout
                                                                              ty approved an
                                s    ar e   aw   ar e   that the Ci
                  The partie                                                              ort at
                                                  ga  ti  on    Pr  og ram for the Airp
                          and Noise Miti
          Airpor* Plan
                                                                              83.
                              l Me  et  in g   of   November IS, 19
          the Ciry Coun    ci
                                                                                      ~m~~~ by
                                       go'ut     Pl a  ~     ubmitte~:ii to an
                   The Airport                                                                 is
                                    JqN 31 ~~                                          G~ i
                                                                  (City Map No .S~
           the FAA on                                                                           ll
                                                         to      th is    Ag reement a'fic s za
                            by reference in
           incorporated                                                                 t for the
                                                  im  pr  ov  em   en t  of the Airpor
                             lvpmen~ and
           g uide the deve                                                            Plan may be
                                             en  t.    .' i' hi s  Ai rpor* Layout
                              is Agreem
            d uration of th
                                                                           ut Plar.."
                     d to  he re in    as  th   e "Airport Layo
            referre                                                                          rtion
                                                   Pl an      sh  if ts   a substantial po
                    The Airpor* Layout
                                                                                            on the
                                                  fr  om    th   ei r   present loca*ion
                                  services
             of aeronautical                                                           de.    Some
                                            Ai  rp   or  t     to    the north si
                                   the
             s outh side of
                                                                                   the scu;h side
                                     ic es   wi   ll    be     maintain~;~ on
             aeronautical serv                                                                makes
                                                   al  ly  ,   th  e  Ai  rport Layout Plan
                                        dition
              of the Rirport. Ad
                                                                                           d in t:~e
                                              l   po  rt   io  n   of   the area locate
                                       ntia
              a vailable a substa
                                                                                         ong Bundy
                                        of     th  e   Ai   rp   or  t, generally al
              sou*beast• section
                                                                                    over Park, for
                                     ~  Av en   ue ,   an   d    ad~ace~t *o Cl
               Drive and Ai~por
                                                                                       woula provide
                                    wi  th   Ai  rp  or t    op   erations. This
               uses comps*ible                                                              creased
                                                nt    an   d    re  ve  nu e base and in
                                           me
               a n expanded employ
                                                                                        the Airport
                                 _.. w  C~  __ •.     T? ^~     pa  rties believe
               Pa:~~a =~~ ~~::

                                                        6
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 56 of 89 Page ID #:255


                                                            ibed              in    this
        Layout Plan and       ncise aba*ement program descr

                                        redesign of the Airport which
         Agreement provide a reasonable

                                     and community concerns.
         balances aeronautical needs


                 Section 6.     Consent to Use of Land.

                       FAA,   as the   successor to the        Civil    Aeronautics
                 The
                                              of *he Airport as shown
         Administrator, approves the boundary
                                                                the     use    of    land
         i n the   Airport Layout Map, consents to

                                        and residual land       therein for other
         d esignated as parkland
                                                          releases     the    City    and
         than    airport and aviation purposes,

                                              any and all conditions,
         +his parkland and residual land from
                                                          by   the    Instru~ent of
          covenants, and      restric*ions imposed

                                                No. 4 (CCS), and agrees
          Transfer dated. August 10, 1948, Deed
                                                  and residual land in
          that the City may develop such parkland

                                                  of   this    Agreement,          and   in
          accordance      with the      terms

                          with State     and   local    planning       law    and . noise
          conformity

          compatibility standards.            However, such     development shall

                                                          full-service
          not occur prior to the execution of leases with
                                                      ion 14 of this
          fixed base operators in accordance wi*h Sect

          Agreement.


                   Section 7.    Material Terms of Agreement.

                   T he                agree      that certain          points        were
                          parties
                                                              terms of
           specifically bargained for and constitu*e material

                                 These      terms shall    n.~t be     altered      wi*hout
           *his Agreement.

                 mutual    consent     of   the   parties,     which     shall      not     be
           the

           unreasonably withheld.           The material terms of this Agreement

           i nclude:



                                                   7
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 57 of 89 Page ID #:256

                                                                           t for
                                             to         opera~e the Airpor
                a.   The   City's obli5ation
                                                         8}•
                  ti on  of  *h is Agreement (Section
         the dura
                                                       ation as      shown on the
                     Ti e   runw ay /t axiway canfigur
               b.
                                                 9 and 14).
                       ut Plan (Sections
          Airport Layo
                                                                 e {Section I3).
                       rc ra ft  pa rk in g  an d tie-down spac
                 c. Ai
                                                           ection 14).
                                       erator space (S
                 d. Fixed base op
                                                                               vel
                                       Si ng le    Ev en t Noise Exposure Le
                 e. The 95 d8
                                                     -
                          limit (Section 16).
           maximum noise                                                    ~system
                                  lo pm en t   of    a tiered noise leveZ
                  f. The de   ve
                                                                     ular aircraft
                          pe rf or ma nc e   ca pa bility of partic
           based on the
                          d 18).
          (Sections 17 an
                                                              the City's Noise
                          e pr oc es s fo r implementation of
                  g.   Th
                                m (Section 19).
           Mitigation Progra                                                      e
                                                    of    the   existing departur
                              ma in }e na nc e
                   h. The
                                                                      ssib3e future
                               ti on   22 },   th e   existing and po
           restriction (Sec
                                                                            and the
                             he li co pt er   op er  ations (Section 24?,
            limitation on
                                                                       t*ern flying
                               ssib le    fu tu re   limitation an pa
            e xistin g an d po

            (Section 25).
                                                                            e parties will
                                 co gn iz ed   an d  ag  reed .to that th
                    It is    re
                                                                         analyze issues as
                     a~ a wi~ ?~: ea  ch   ot he r   and rationally
              _c_ er
                                                                                    may ~e
                                              an y    te rm   of   this Agreement
                                     th  at
             they arise, and
                                                                                     n the
                                           s  of    an y  fu tu re  agreements betwee
             modified by the         te rm
                                                                                 y indicate
                                id ed   su ch   fu tu re   agreements expressl
             parties, prov
                                        this Agreement-
             an inters*ion to modify
                                                                          bet.~een
                                                      re grant agreements
                    It is agreed that any futu
                                                                               *he
                                e  FA A whi c?~  ar e  designed to ,implemen*
             the City and th
                                                                        as those
                        co ve re d  by  th is   Agreement, defined
             programs


                                                    8
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 58 of 89 Page ID #:257


                                                          of    programs    or
        agreements for         tt~e federal funding
                                                                 cuted
                                   further tY~is Agreement exe
         i mprovements intended to
                                                            with phis
                                5, stall be consistent
         prior to July 1, 199
                                                            igation of
                                   extend or alter the obl
         Agreement and shall not
                                                             t., except
                                  Airport under this Agreemen
         the City to operate the
                                       statute.
         as may be required by federal

                                                          port.
                  Section S.     Commi*~ent'to Operate Air
                                                  ntain     the   Airport as a
                  The   City will operate and mai
                                            hout derogation of its role
          viable functioning facility wit
                                           er airport as described in
          as a general aviation reliev
                                        eement or its capacity i~ terms
          Section 2(b)(i) of .tYiis Agr
                                            taxiway' system, and runway
          of runway length and width.
                                            July 1, 2015.   The Airport
          weight bearing strength until
                                                  mostkinds of general
          will be capable of accommodating
                                               tent with Group IZ Design
          a via*ion aircraft, generally consis
                                                  Circular 150/5300.48
          Standards se* forth in FAA Advisory

          dated February 24, 1983.
                                                      port physical layout
                   The Ci*y agrees to improve the Air

                                              n and maintain the Airport
           as shown in the Airpor+ Layout Pla
                                                       =.
           and the facilities located on t'r,e c,irp~r


                  . Sec+ion 9.    Runway/Taxiwa     Configuration.

                                                        Monica    Airport has one
                   At the present *ime the Santa
                                           5,000 feet long and 150 fs~~
           runway designated 3/21 which is
                                                     maintained in good
           wide.  This runway will be continuously

           opezating     con~i*ion   by   the City.     All presently installed

                                              and     Airport   lighting   systems
           a ir   navigation     facilities



                                               9
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 59 of 89 Page ID #:258

                                                          runway lights,
          i.e., Air  Tra ffi c Con trol Tower, vOR, VASE,
        t
                                                      location.    It is
            .)    wil l rem  ain  in their present
        etc
                                                       relocated if the
                                 VAST lights may be
        r ecognized that the
                                                        Section 12.
                                 displaced pursuant to
         landing threshold is
                                               prevents or precludes the
                Nothing in this Agreement
                                                    present facilities    and
                                ing      of *he
         r eplacement or upgrad
                                                      roved      equipment,
         s ystems with new     or technologically imp
                                                            te.  At some
          aci lities or sys tem s as necessary or appropria
         f
                                                                  rowave
                                      y equipment such as a mic
         f uture date new technolog
                                                               y will be
                                       be installed; the Cit
         landing system (MLS) may
                                                            ipment as it
           iven priority for   the  installation of MLS equ
         g
                                   available.
          is developed and becomes


                 Sec*ion 10.    Runway Exit System.
                                               be redesigned so as to
                The runway/taxiway system will
                                                               , also
                                        exits from the runway
          es*ablish designated angled
                                                                      .
                                           lieu of the present system
          known as high speed exi}s, in
                                          d area adjacent to *he runway
          In addition, a centzally locate
                                                  maintained to permit
          will be established, designated, and
                                                                      d
                                           wi*hout using a designate
          a ircraft to exit the runway
                                                    apron and aircraft
          taxiway.   Additional taxiway, Airp~r'~
                                             ed        i.n accordance with the
           parking facilities will be provid

           Airport Layout Plan.


                  Section 11.      Airspace Protec*ion Critezia.

                                               protecTion    cri*eria   will be
                  Standard   FAA    airspace
                                                       s of the runway as
            applied to maintain clear zones at the end

            shown in the Airport Layout Plan.   No coastruc*ion will be



                                               10
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 60 of 89 Page ID #:259


                                           er line of the runway for
         permitted laterally from the cent
                                      er. side of the runway for a
         the full length and on eith
                                                                  the
         d istance of 150 feet.   That constitutes the edge of
                                                          safety area
         s a:ety area.    From Lhe edge of the runway

                                        runway, structures wi 11 be
          e xtending outward from the
                                            standard FAA 7 to 1 ratio
          permi*ted provided they meet the
                                              laterally there can be 1
         (i.e. for every 7 feet 'of distance
                                               -
          foot of height added).


                Section Z2.    Displaced Landing Threshold.
                                                        fy the existing
                The City has indicated a desire to modi
                                             by 500 feet for airplanes
          runway by displacing the Lhreshold
                                                                         g
          landing at the Airport.     There is some uncertainty regardin

                                              areas:        (1) whether this
          the effect of such an ac*ion in two
                                                e; (2) what effect, if
          ac*ion would increase or decrease nois
                                              and the ability of the
          any, there would be on air safety
                                                  of service described
          Airport to provide the level and type

           in Sections 2(b){i) and 8.

                 In order to analyze the           potential effects of

                                                   feet, the            parties
           displacing the landing threshold by 500
                                     trial   program   nor a ~e~iod      not t~
           agree to establish a
                                                        of displacing
           exceed one (1) year during which the effects
                                                              ated.
           the landing threshold by 500 feet will be investig
                                                                    e if
                 A .re!irr.a~y test will be conducted to determin

           threshold displace*ren* is likely       to increase or decrease
                                                                        e
           community noise impact.        If it is determined that nois

           impact is likely to increase, no fur+her testing              will be

           p~r£~z-r^e~ ar.-? th= Zzn-Ding threshold will not be displaced.


                                             11
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 61 of 89 Page ID #:260


                                                         likely to
                                ned that noise impact is
         Zf it is noc de!ers,i
                                                      placed for a
                                 threshold will be dis
         i ncrease, *he landing
                                                           ects of
                                    r, and the various eff
         period of up to one yea
                                      be examineda
          threshold displacement will
                                               ning       this question of
                A final determina*ion concer
                                              e by         the City     after
          r unway    displacemen* will be mad
                                                                     dy
                                      at *he conclusion of this stu
          consulta*ion with the FAA
                                                                   tion
                                       study. This final determina
          based on the results of the
                                                                      d
                                          time within the designate
          can be made at any point in
                                                           ate in the
          one-year period.   The parties agree to cooper
                                                                   ning
                                          }s and to consult concer
          design and conduct of tY~e tes
                                                               00 feet
          the data ob*ained.    The full runway length of 5.0
                                             for takeoff and wi11 be
           will be available at all times
                                               planes in an emergency
           available for use by landing air

           situation.

                                                                  l Service.
                    Section 13.    Aircraft Parking Space and Fue
                                                  in sufficient space to
                  The Ci*y will provide and mainta
                                               of at least 550 based
            permit the parking or tie-down
                                            ft. T2~ese aircraft tie-down
            aircraft and 40 transient aircra
                                                 craft wi11 ~ be allocated
            or parking. facilitses for based air
                                                reasonable terms to all
            and made available by the City on
                                                   rators located on the
            Airport users including fixed base ope
                                                      se tie-down space
             Airport and individuals who wish to lea
                                                                          o be
            °ron the Ci*y.        Pa:kina for *ransient aircraft will als

            available on reasonable terms.          In allocating this aircraft
                                                         t    ce to park
            parking space the City will provide sufficien spa

             aiY=raft of different ty;~~s having        different wine swans,


                                               12
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 62 of 89 Page ID #:261


                                                              .   The mix of
               en~  len gth  s,  and  di:ferent paver plants
       dif~er
                                                            rport snail be
              af t  co    be  ac  co mm odated at the Ri
       a ircr
                                                          ft now based at tl~e
             ist ent  wi* h  the   pre sen+ mix of aircra
       cons
                                                           ture as shown in
                  and   the    mix  forecast for the fu
        Airport
                                                            dy dated October,
                  III   of  the   Air por* Master Plan Stu
        Chapter
                                                       bE available at the
          983.     Ai rc ra ft  fuel service will
        1

         Airport.         _

                                                    .
                Sec*ion 14.    Fixed Base Operators
                                                                    ace for the
                                               ide sufficient sp
                  The City will prov
                                                                 vice fixed base
                                          of three (3) full ser
         loca*ion and operation
                                                                         l service
                        (F8 0). ~   The  Cit  y wil l lease to each ful
         operators
                                                                  of aeronautical
               suf  fic ien  t spa ce  to   provide a full range
         FBO
                                                               craft and avionics
               ice  s inc lud  ing   but  not limited.to: air
         serv
                                                               service and repair
           ale s;   air cra  ft  and  avi onics maintenance,
          s
                                                                vice; and charter
                                         ool and training ser
          facilities; light sch
                                                                  at the needs of
                                             It is recognized th
          and air taxi service.
                                                                  space or acreage
                  FBO  may   be   dif fer ent in terms of total
          each
                                                                                   of
                                                        sistent with the terms
           r equired.     FBO leases will be con
                                                                       h the City's
                                               gent on compliance wit
           this Agreement and contin
                                                  and regulations.    The City will
           non-d   isc rimina  tor y  pol ici  es
                                                                          le rental
                                                  nt space at reasonab
           provide access to sufficie
                                                                           business.
                                                  to conduce. a viable
            rates to enable each FBO
                                                                             aining
                 lu di ng    sp ac e   fo r  an  of fice structure, *r
            i nc
                                                   amobile parking and an
                                                                             31=~.2'd=
            facilities, aircraft and aur

            maintenance hangar.
                                                  vide sufficien = spaces
                  In addition. the City wii 1 pro
                                                                   lized
                                            of limited or specia
            for the location and opera*ion

                                               13
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 63 of 89 Page ID #:262


                                                                   s do
         fixed base operators.      It is zecocnized that thase FBO
                                                                     ce they
              req uiz e  as  muc h  spac e as a full serWice FBO sin
         not
                                                               vice (e•g.,
           eneral  ly   pro vid e  limited aeronautical ser
         g
                                                                       plane
           vio nic s  mai nte nan  ce,   repair or installation; air
         a
                                        nance or installation).
         propeller repair, mainte
                                                     whether full service or
                 In order to permit all FBOs,
                                                                          uct
                                            onautical activity, to c ond
          engaged in specialized aer
                                              reasonable basis, the City will
          *heir business activity on a
                                                consistent witYi the approved
          lease sufficient .space to them
                                                     reasonable   terms   on   a
                                  fair         and
          A irport Layout Plan on

                                 able to those        used   at other similar
          financial basis compar
                                                                     to
                                        a sufficient term of years
          airports in the region for
                                         costs and have the opportunity
          e nable them to amortize their

          to make a profit.
                                                   that it is appropriate
                 The parties recognize and agree
                                                 etary authority to ad op*
           for the City t~o exercise- its propri
                                                     to lessees and users
           ordinances and regulations applicable
                                                  ms of this Agreement.
           of the Airport consistent with the ter


                  Section 15.     Noise Abatemen+ Principles.

                                                and   acknowledge     Lhat     ~h~
                  The   parties    recognize

                                               craft noise to the extent
           achievement of the abatement of air
                                                  ant with air safety is
           technologically practicable and conson
                                                     service provided by
           consistent wit: the func}ion, role, and_
                                                                     ate and
            the Airpor+.    Ta t*~is end the parties agree *o cooper
                                                           the following
            work toward the abatement of aircraft noise by

            described me*hods.




                                              14
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 64 of 89 Page ID #:263



                                            tY~e City has adopted a
               The parties are aware that
                                        integral part of its Airport
        Noise Mitigation Program as an
                                  Mitigation Program is intended to
        P lan. . The City's Noise
                                          extent technologically
        a bate aircraft noise to the
                                         sir safe+y, and to meet a
        practicable and consonanJt with
                                         nt to an approximate 4 dB
         noise reduction goal equivale
                                            Equivalence Leve 1 (CNEL)
         r eduction in the Community Noise
                                           to aircraft noise. Within
         from the 1982 levels attributable
                                                the material terms of
         the framework of and consistent with
                                              meet this noise goal by
         this Agreement, the City expects to
                                         terms and concepts set out
         the application of the material
                                         agree that progress toward
         in this Agreement. The parties
                                           through implementation of
          achieving noise reduction goals
                                             be carefully studied and
          the Noise Mitigation Program will
                                                     noise consistent
          analyzed.   Alternative measures to abate
            _---
                                             evaluated for their
          with this Agreement will be
                                         noise, effect on air safety         and
          effectiveness in re3ucing
                                              ity of the Airport:
          air traffic, and effect on the util


                 Section 16.    Maxi:*u^~ SENEI~ Limit
                                                        of 100 dB as
                 The current SENEL aircraft noise limit
                                                           established
           measured at the existing noise monitoring sites
                                                  and   maintained   at 95 d 3.
           by the City will be established
                                                             currently
           The parties believe that substantially all of the
                                                           Air~crc in
           based or transient aircraf= which have used the

                                                  safely   using     safe   noise
           r ecent years can     be operated

           abatement operating    procedures and meet this reduced          SE:IEL

           limitation.


                                             15
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 65 of 89 Page ID #:264

                                                 Noise Limit.
                Section 17.    Perfozmance Based
                                                                 aircraft usi:~g
                        par tie s  bel iev e  that many of tY~e
                 The
                                                               using safe noise
                    por t  can   be  ope rat ed mo re quietly
         the Air
                                                              Consequently the
               eme nt   fli  ght  ope rating procedures.
         abat
                                                             pment of a program
                      agr ee  to  coo per ate in the develo
         parties
                                                                   for different
                gne d  to   est abl ish   tie red noise levels
          desi
                                                                single specified
             pes  or   kin ds  of   air craf* (rather than a
          ty
                                                                    all aircraft
                                         limit) to- encourage
          m aximum noise level
                                                               rating procedures
                                       e noise abatement ope
          operators to use saf
                                                                     aircraft use.
               ord er  to  min imi ze.  the  noise impact of their
          in
                                                                       sed noise
                                                  this performance-ba
                   The parties believe
                                                                 ing in reduced
                                           capable of result
           reduction progFam is
                                                                  an the operation
                                          lence Level (CyEL~ fr
           Community Noise Equiva
                                                                  ing such noise
                air  cra ft.      The   exp ectation of achiev
           of
                                                                       ual measured
                 cti  on  is  bas ed on   the  City's analysis of act
           r edu
                                                                                  be
                                              Airport.   The actual results to
            aircraft flights at the
                                                                      -based noise
                                                 on of a performance
            obtained from implementati
                                                                          the degree
                                                ious factors, including
            program will depend on var
                                                                             tities
                                                ers and governmental en
            to which all Airport us
                                                                         cedures and
                                                 and complying wi*h pro
             ccopQrate in implementing
                                                   nt to this Agreement.
             practices established pursua

                                                          Noise Pro4ram.
                   Section 18.    Experimental Nature of
                                                   nowledge that the concep*
                     The parties rQcognize and ack
                                                                        noise
                                             based on the demonstrated
             of tiered noise 1eve1 limits
                                                                       n~s o.
                                             dir:erent types and ~ci
             performance capabilities of
                                                             cept has, to the
             aircraft is unique.     Application of this con
                                                                          this
                                                been attempted prior ro
              -•.~-"~a~~~ ~` 'he parties, never

                                               16
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 66 of 89 Page ID #:265


                                        ire the difficult task of
         time anywheze; i= will requ
                                   reliable data base far analysis and
         e stablishing a valid and
                                                            creating         a
          classification.     Its application also requires
                                                                        d
                                      h identifies the performance base
          c lassification system whic
                                        range of diverse aircraft types
          .noise levels for the wide
                                       well as the process of placing
          operating at this Airport as
                                         ft in a particular noise
          particular individual aircra
                                           -port.
          performance ca*egory for this Air
                                                                     concept
                 While the      parties believe this tiered
                                                    acknowledge that it
          reasonably applied can work, they also

          is experimental in nature.       Ttie parties agree to wor'x

                                                    To this end the City
          cooperatively to, develop this program.
                                                data developed by and
          agrees to provide to the FAA the
                                                                        l
           during this procram.      The FAA agrees to provide technica
                                                not limited to review
           assistance to the City including but
                                                    analysis ootained
           of the data provided, review of any data
                                                              lable to
           by the City, and the FAA may conduct and make avai
                                                      ected.            The FAA
           the City its own analysis of the data coll

           will make its Integrated        Noise Model Computer Program

           ~v~ilable to tha City.


                  Section 19.    Implementation of

           Noise Abateme:~t Progzam.
                  The parties agree that the process of implementing the

            noise .abatement program      should procee3 in stages, Frith

            r egular meassring     and analysis, full communication and

            cooperation, and    adjustment as analysis progresses.           This




                                             17
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 67 of 89 Page ID #:266


                                                      phases, to be
                        nera ll y comp ri se four (4)
        pzocess will ge
                             follows:
        implemen*ed as
                                     nt of Program.
                a. Commenceme
                                                                              City will
                                      n   o£     th  is    Agreement, the
                 Upon executio
                                                                             ogram. The
                                    ti  on   of   th e  no ise abatement pr
                              enta
         commence implem
                                                                               option of
                                   on    ph as  e   wi ll   include: the ad
         first implementati
                                                                           program; the
                              st it ut in g   th  e   noise abatement
         regulations in
                                                                         unications and
                         nt   of   a   sy st  em    to promote comm
         e stablishme
                                                                                  rms of
                                   an  ce ;   th  e   de  fi nition of the te
          voluntary compli
                                                                            rformed; the
                                ys es   an d    ex pe  ri ments to be pe
          scientific anal
                                                                         noise monitoring
                             da ta  us  in g  th  e  City's existing
          gathering of
                                                                          installa*ion of
                             d  th e   de si gn  ,  procurement, and
          equipment;      an
                                                                      the~full program.
                     e  eq  ui pm en t  ne ce  ssary to conduct
           new nois
                                              Test Period.
                   b. Experimental
                                                                                   pment is
                                       fr om    th e  da  te the new noise equi
                    Commencing
                                                                                od wherein
                                  er e   wi ll    be   a   one-year test peri
           operational, th
                                                                            gorical noise
                      ia te    op er at  in g    pr  ocedures and cate
            a ppropr
                                                                        e effect of other
                     ar e   de ve lo pe d   an  d analyzed, and th
            limits
                                                                                      At the
                                     me  as ur  es   an d  fa ct ors is evaluated.
            noise mitigation
                                                                           the regulations
                    si or . of    th is    ex pe ~i :rer.tal period,
            conclu
                                                                         e results of *he
                     be   ad ju st ed    in    ac cordance with th
             would

            study.
                                              od.
                     c.   Evalua*ion Test Peri
                                                         been made *o     the program in
                     After   adjustments       have
                                                                    Period, there
                  t of th e re su lt s of  *h e  Experimental Test
             ligh
                                                                            ement
                                       pe riod   in   wh ich the noise abat
             will be a one-year
                                                                            rmine
                                st ed   is   ev al ua te d in order to dete
             procracn as adju


                                                    18
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 68 of 89 Page ID #:267



         proSress toward achievement of the City's Noise Goal.             There

          will also be a periodic evaluation of the program               by   all

          parties in terms of its relationship to and measurement of

          progress toward achievement of noise abatement generally and

          a viation noise as a specific contributor to community noise.

          Included in this review will be an analysis of the extent to

          which the ability of the City to achieve its noise reduction

          goals    is affected      by    noise sources other      than aircraft

          noise.

                  d.     Adjustment of Program.

                   The    results   of    the    Evaluation Test   Peziod will be

          analyzed by the; parties. -           If the City°s noise goal is not

          met and analysis indicates that aircraft noise exceeds noise

          from other sources in the communi*y, the City will analyze

          alternative noise mitiga*ion measures designed to assist in

          the achievement of the City's aircraft noise reduction goal,

          i ncluding possible regula*ions intended             to reduce aircraft

          noise     attributable to the volume of pattern flying.              That

          analysis will consider the              effect of    these alternative

          measures in terms of both noise abatement results expected

          and the role, function, and service provided by the Airport.

          Before the Ci*y implements any such alternative measures, it

          will consult with the FAA and             other interested parties, it

           being explici*ly agreed, however, that no material terms of

           this    Agreement can         be amended    or   modified   without the

           a greement of the parties to this Agreement.




                                                  19
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 69 of 89 Page ID #:268


                  Section 20.    Enforcement Durinv Imfllementation.

                                              will emphasize                     pilot
                  The noise abatemen= pzogram
                                           individual pilots regarding
          education and communication with
                                           ent operating procedures.
          effective and safe noise abatem
                                        pilots, FBOs, and interested
          The cooperation and advice of
                                            neighborhood        communities     will   be
          members of aviation and

          sought.
                                                          enforced by the
                  The 95. d8 maximum SEDJEL limit will be

                                   sanctions              varying   according   to     the
          City    using   civil

                                                    frequency of violations.         wi*h
          willfulness, severity, and
                                            operate                    an aircraft      in
          r espect to pilots who repeatedly
                                                            igation to
          viola*ion of this limit the City may after invest
                                                                        to extraneous
           a ssure that a violation was not related
                                                      loss of power,
           factors beyond the pilot's control such as

           a ction to avoid       o*her aircraft, or                 unusual weather

                                                                   }ion
           conditions, take actions such as formal warning, imposi
                                                                     ion
           of civil penaltiPs,~ or, after informing the FP.A, exclus

           from the Airport.

                   The parties recognize that certain types of aircra~~

           a te= - est_-ate~3 t~ ~e   L'_^.z}`~ B   tQ meet the 95 dB maximum limit

           under    any   condition or         procedure.           Operators of       such

           aircraft, upon       violation of          maximum noise     limits,   may    be

           requested not to return to the AirporC.                   If such aircraft do

           re*urn and violate the noise limits after such request, they

           m ay   be   excluded       from          the    Airport    through     formal

            administrative ac*ion.            It is recognized        than disobedience




                                                      20
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 70 of 89 Page ID #:269


                                            action is subjEct to
         of a   formal City admi::istra~ive

         addi*_ional sans*ions.
                                       lementation phase described in
                During the initial imp
                                                           mance-based
                                 will establish two perfor
         Sec~ion 19(a), the City
                                                            tial noise
                                 and 90 dB, base3 on ini
         noise limits at 95 dB
                                                          ond phase of
                                analysis. During the sec
         measurements and da*a
                                                                 19(b),
                                     m described in Section
         the noise abatement progra
                                                                     it
                                      into particular noise lim
         a ircraft will be placed
                                                                     ce
                                     demonstrated noise performan
          c ategories based on the
                                                                     by
                                        advice provided to the City
          history of that aircraft and
                                          users of the Airport. . It is
          its consultants, the FAA, and
                                                                      ed
                                          will be initially establish
          expec*ed that ngise categories
                                       consistent with the, measurements
          a* 95 dB, 90 dB, and 87 dB,
                                         conjunction wit]z the noise
           a nd analysis performed in

           abatement program.
                                                 that there is a need
                 The parties expressly recognize
                                               additional data on all
           to collect a substantial amount of
                                           at the Airport.  When that
           types of aircraft which operate
                                              recognize that additional
           data base is developed the parties
                                                  ated as well as the
           cr aifferent cateco-izs .may be cre
                                                ious specific aircraft
           idenr_ification and placement of var
                                                adjustment of the noise
           into a particular category, or the

            level categories.
                                                           bed in Section
                  During the phases of this program descri
                                                  the City and any other
            19, the FAA will, in coopera+ion with
                                                    sonable effor*s to
            interested person or persons, make rea
                                                  pilots in terms of how        to
            educate, inform, and      counsel



                                             21
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 71 of 89 Page ID #:270


                                                             ssary noise
                                  so as to eliminate unnece
        operate theiz aircra~t
                                                         t.   Similarly,
            the com mun iti es adjacent to the Airpor
        i n
                                                     s program describ ed
                             entation phases of thi
        d uzing the implem
                                                    City will not take
                               (b), and (c), the
         in Sections 19(a~,
                                                         ots who operate
                                ve action against pil
         formal administrati
                                                                    w2~ich
                                     m *he Airport in a manner
         their aircraft to or fro
                                                                     s not
                                      or 87 dB SE:IEL, limit but doe
         exceeds either the 90 dB
                                  SENEL limit.
         exceed the maximum 95 db

                                                        nt.
                Section 21.     Cooperation in Enforceme
                                                              and    agree   that
                 The City _and    the FP,A acknowledge

                                           them is responsible for the
          vis-a-vis third. parties each of
                                                                     t
                                        pective regulations and tha
          enforcement of theiz own res
                                                                   to
                                      ponsibility for or authority
          nei*her of them has any zes
                                         ished by the other. However,
          enforce any regulations establ
                                                                   ir
                                      recognize .hat it is in the
          both the City and the FAA
                                              and exchange relevant
          m utual interest to cooperate
                                             cessful implementa*ion             of
           i nformation necessary to the suc

           *his Agreement.


                  Seit z- 22.    Niahc. Departure Restriction
                                                      has established a
                 The parties recognize that the Ci}y
                                                port between 11:00 p.m.
           prohibition on takeoffs from the Air
                                                  Friday, and between         11:00
           a nd 7:00 a.m. on     Monday through

                                                    day.        This prohibi*ion
           p.m. and. 8:00 a.:n. on Saturday and Sun
                                                    s.              TYiis regulation
           is not applica~le in emergency situation

                                                  of   this    Agreement and        is
           is included as a      material term

            expected to remain in effect.      It is agreed that it will not



                                             22
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 72 of 89 Page ID #:271

                                                         agreement of the
                            ed wi*tiou~ the prior
        be amended or modifi

        parties.


               Section 23.    Golf Course Turn.
                                                                          ish a
                                                measure FAA will establ
                As a noise abatement
                                                                         l route
                     dep art ure  pro  ced  ure  for runway 2i which wil
        standard
                                                                    the present
              raf  t  app rox ima  tel  y   10 degrees south of
        airc
                                                                   ffic over the
               y  ali gnm ent   rou tin g   so as to route air tra
        runwa
                                                                  ll study the
        g olf course area.             Additionally, FAA wi
                                                                        roach to
                                                an offset localizer app
        possibility of establishing
                                                                  led the offset
                                           by the City and instal
         runway 21. If approved
                                                                     a microwave
           oca liz er  wou ld   be  an    interim measure until
         l
                                                                  port.    Before
                                          installed at the Air
         landing system can be
                                                                    ch. FA.A will
                                             fset localizes approa
         establishing such an 'of
                                                                           , that
                 ze  and   adv ise   the    Cir y  of what effect, if any
          analy
                                                                      some noise
            aci lit y  wou  ld   hav e   in   terms of providing
          f

          abatement.
                                               Turn on aircraft noise
                The effect of the Golf Course
                                                              s will be
                                     Los Angeles neighborhood
          impact in Santa Monica and
                                                            abatement
                                      entation of the noise
          analyzed duffing the implem

           program.


                   Section 24.   Helicopters.
                                                se from helicopters can
                 The parties recognize tha* noi
                                                                nd the
                                        ial communities arou
           h ave an impact on resident
                                            tha* are not significantly
           Airport, including neighborhoods
                                               aircra~t.    The parties
           affec+ed by noise from fixed-wing
                                                                       r
                                              a designated helicopte
           agree to develop and implemen*


                                             23
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 73 of 89 Page ID #:272

                                                                 , and a
                          pre fer red   he li copter flighr path
         landing area, a
                                                                 m noise
                          h*  al ti *u de  th at provides maximu
         h elicopter flig
                              ten+ with safety.
         abatement consis
                                                                   ers are an
                        pa rt ie s  re co gn  ize that helicopt
                T he
                                                                   and are used
                       pa r. of   the   gen era l aviation fleet,
         imQortant
                                                                  oses, and will
                 li ta ry , la w en fo rc em ent and medical purp
          for mi
                                                            istent with noise
              pe rm it te d  to   us e the Airport cons
          be

          r egulations.
                                                                              copter
                                                    the current ban on heli
                   The parties agree that
                                           ain in effect.
          pattern flying will rem
                                                                    rport i s not
                                                 ize that the Ai
                   T he parties recogn
                                                                    s, training or
                 ent ly  use d  as   a  bas e for helicopter sale
          c urr
                                                                      er noise will
                                              s agree that helicopt
           maintenance. The partie
                                                                       ogram study.
                    lua ted   as  pa rt   of   th e noise abatement pr
           be eva
                                                                    City may, after
                en de nt  on  *h e  re su lt s  of that study the
           Dep
                                                                      the Airport to
                  ult ati on  wi th  th e  par  ties, deny access to
           cons
                                                                   tivity involves
                                             portion of whose ac
            a n FBo, a substantial
                                                                         that s*udy,
                                               During the pendency of
            helicopter operations.
                                                                            a rt to an
                     ty  is  no t  req uir ed   to  lease space on the Airp
            the   Ci
                                                                   tivity involves
                                              rtion of whose ac
            F80~ a substantial po

            helicopter operations.
                                                          ctions
                   Section Z5.      Pattern Flying Restri
                                                                         a
                                              the City has- established
                  The parties recognize that
                                                                    at the
                                        or stop-and-go cFe:a=ions
            prohibition on touch-and-go
                                                                     rauah
                                          re 7:00 a.m. on Monday th
            Airport after sunset and befo
                                                                     legal
                                        on Saturday, Sunday, a nd
            Friday as well as all day

             holidays.


                                                24
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 74 of 89 Page ID #:273

                                       expected to remain in effect
                This restriction is
                                                                    bed
                                       noise abatement study descri
         pending the results of the
                                                        pa tern flying
                                parties agree that the
         i n Section 19. The
                                                             the City,
                                    ve may be modified by
         r estriction described abo
                                                                   tion
                                   the FAA, following the comple
         a fter consu?tation with
                                       the noise abatement study.
          and base3 on the results of
                                               Abasement.
                 Section 26. Design for Noise
                                             includes several design
                 The Airport Layout Plan
                                                              ft noise.
                                       e mitigation of aircra
          features intended to pzovid
                                       engine run-up areas and noise
          These include designated
                                         noise, designated helicopter
          buffers to mitigate ground
                                      establishment of a touch a nd- go
          operation areas, and the
                                          under the Airport Plan will be
           line. Structures constructed
                                          g noise impacts.
          designed to assist in mitigatin

                                                             ves.
                 Sec*ion 27.    Analysis of Future Alternati
                                            acknowledge that there may
                The parties recognize and
                                           ic actions possible but not
          be other feasible noise abatemer
                                             grams to acquire homes and
          described in this Agreement. Pro
                                             to provide insulation of
          resell them with easements or
                                                ns to achieve t?~e City's
          buildings may provide additional mea
                                        New or improved     flight operating
           noise aba*ement goals..
                                                   technology may be
           techniques or aircraft modification
                                               p each other informed of
           developed. The parties agree to kee
                                                              logy and
           progress in the     area of noise abatement techno
                                                means of reducing the
           techniques which become available as

           impact of aircraft noise on the commuxiity.



                                             25
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 75 of 89 Page ID #:274
     t
 r

                Section 28.     Federal Funding.
                                                        acknowledge       that the
                                  gnize          and
                T he parties reco
                                                                         this Agreement,
                             t   of   th e   pro  gra  m described in
         accomplishmen
                                                                  gn of the Airport and
                    ng  bu  t  no t  lim  ited to the redesi
         i ncludi
                                                              abatement program will
                im  pl em en  ta ti  on   of the •noise
         the
                                          ure of funds.        The FAA agrees that it
                ire   th e   ex pe  nd it
          r equ
                                                                 t and its nationwide
                                         th this Agreemen
          will, consistent wi
                                                                        e City far tY►ose
               gr am ,  pro  vid  e  fi na  nc ial assistance to th
          pro
                                                                      tance pursuant to
                                             ible for such assis
          Airport projects elig
                                                                                and o then
                        or t  and    Air  wa  y   Im  provement Act of 1982
           the Airp
                                                                             high priority
                       so urc   es ,  an  d   w   ill  accord the City a
           f undin  g
                                                                                      made
                                       l   as  sis tance.    These funds will be
           f or suc   h  fin  an  cia
                                                                       including Airport
                ila b~ e   for    ma  ny   di  fferent purposes
           a va
                                                                      ort noise abatement
             lan  nin g,   Ai  rp or t   im provement, and Airp
           p
                                                                          Agreement.
                                                th the terms of this
            projects consistent wi

                                                           Cooperation.
                   Section 29.     Commi*ment to Future
                                                                        e in the
                                                that from time to tim
                  The parties anticipate
                                                                   r modified in
                                         y be supplemented and/o
            future this Agreement ma
                                         purposes.     The parties agree to work
            order to accomplish its
                                                                  e~ anc oth=r
                 pe ra tiv ely  an d  co nsult with each otn
            c oo
                                                                  s between them
                                        resolve any difference
            interested persons to
                                                                     lar *o work
                                               ure and in particu
            which may arise in the fut
                                                                         spect to
                                              with each other with re
             cooperatively and consult
                                                                       t based on
                     en tat ion of  the  tie red noise level concep
            implem
                                                                           ion as
                                                 performance classificat
             demonstrated aircraft noise
                                                                               ise
                                                    designed to effect no
             w e21 as any other proposal

             abatement at ti:e ~,i~r~~~.

                                                   2E
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 76 of 89 Page ID #:275
    r                                                                      thi s
                                                   s       ~e caused
                            WHEREOF ~   the partie
                ZN wITyESS                                            .
                                                         3anuary. 19$4
                                   this       ~ ~ day of
         gr ee ment to be executed
        A

                                                 A MONICA,
                                     CITY OF SANT rpara*ion
                                                 co
                                     a municipal




                                                            r   ~
                                                           ,;~``
                                       ~ s*y *sa^ale.

                      TO FORM:
          APPROVED AS



           r~..;-~-z.,.-t~ 1---z..
                             'x'RS
          R ~v'BL:c'i' M. M~
          City Attorney
                                                    TION~ADM    INISTRATZON
                                       FEDERAL AVIA


                                                   .,~'`
                                                      =iNE~.._._
                                          MICHAEL .,,       rator
                                          Deputy Administ


                                                                           ~`,~
                                        Sy       ~%'~ ~'
                                             HOMER C. Mc
                                                          C~~~RE
                                                    or , We stern Region
                                             Direct




                                                   27
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 77 of 89 Page ID #:276




                             Exhibit 5
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 78 of 89 Page ID #:277
  Case 2:13-cv-t78t~?ck~F~,i~r    ~~; C;o~.i~~e~,i ~2 ~~(ed ~1i3(71Z7             ~e 6 of 72 Page ID #:950




         SETTLEMEItiT AGREEy1ENT/CONSENT DECREE BETWEEN THE FEDERAL
             AVIA~'~ON :~DMINISTRATIOlV' AND THE CITY OF SANTA 1VIONICA


     The United States at America, acting through the Federal Aviation Administration(FAA) and
     the City of Santa ivlonica, CA (City)(collectively, the Parties) enter into this Settlement
     Agreement(Agreement), by and through their undersigned representatives, to resolve the
     disputes outlined beio~~ ara pertaining to the operation of the Santa Monica Municipal Airport
    (Airport or SNIO~. `lhis Agreement, once signed by the FAA and the City, shall be presented to
     the U.S. Districi Court for the Central District Court of California (~T.S. District Court)for entry
     as a Consent Decree.

                                                  Background

     Airpor~ Pro~er~ ~: R~n1~~N~

     SMO is gencrai.y c`~rn~e~e4 t~~ ivyo parcels of propert}~.

            First Parcel. The first parcel corsists of approximately one hundred and seventy acres
            That the City of Santa Ivtonica (City; leased to the U.S. government during World War II.
             This parcel is efened to herein as the First Parcel and is more fully described as the
            premises reterrea to ~5 "Mover Field, Santa Monica Municipal Airport" in ~`he leases, as
            modified, than a-e referred tc in that certain Instrument of Transfer, dated as of August
            10, 1948, betva-een the United States of America and the City that was recorded at Book
            28055, Pales ~ J ti~ou~h 222, inclusive, in the Official Records of Los Angeles County,
            California (the IOT).}



        2. Second i'a~~cel. "Z'n~ se:;ond ,~arce~ consists of approximately eighteen acres with respect
           to which the Unified States of America duly executed a Quitclaim Deed dated April 8,
           199,and recorded at Boolc 30037, Pages 364 though 370, inclusive, in the Official
           Records of Los Angeles County, Califor~~ia (the Quitclaim Deed), conveying its interests
           ~n said p~r~e~ t,~ ire City. ~TI-~is parcel is referred to herein as the Second Parcel.)(The
           rirst Farcei and the Second Parcel, together with any other right, title and interest in any
           ~remi~~,;. ~i.~~ctu:<<~s, iti~pr~ver,~_ents cr ot~~.er property cony~yed by the United Stat~.s of
           America tc• ~r.~e C';ty :7:, ire IOT cr the Q~~i~claim lleed, are collectiveiy~ -referred to herein
           as Airpc~~ ~'ropert~~).

            Airport ,~untivay. The Ai~o~'s current runway of 4,973 feer, occupies land in both the
        Firs+ Parcel :and ~e~:,r_~' parc.e ; and also includes adjoining land that the Douglas Aircraft
        Compan~~ cenveye~? tc~ the City by grant deed in 19 5.
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 79 of 89 Page ID #:278
   base 2:13-cv-~8~~f~,-,r~'~~,      a~: C~c~u~?~~~~~t ~2 ~~~e~ J~f3~li~            ~e 7 of 72 Page 1D x:951




      District Court Litigation

      On August 10, 948, pursuant to the Surplus property Act of 194= ;SPA), the U,S. Government
      and the City executed an "Instrument e~ Transfer"(IOT) by which -the U.S. Government
      surrendered its ~easeholas au~l which the U.S. Uo~~ernment contends imposed certain restrictions
      on the future use of she Airport property Including that:

              the land, buzidings, stnzctures, improvement and equipment in which this
              instrument transfers any interest shall be used for public airport purposes for the
              use anti ber~~fit of~ one public; o~ reasonable te;:ms and with unjust discrimination
              and without grant or exercise of any exclusi-re right . . . .

      The TOT further provides tf~at "the ~estrictzons , ..shall run with the land . . . ." and requires that:

              the emir . landing area . . . be maintained for the use and benefit of the public at all
              times ?-_ ~:~~r`. c,-.,~; se.-viceable conciiti~ns, provided, however, that such
              maintenance s~al~ ~e :e~uired as to structures, improvement, facilities and
              equipment ol~ly ;~urir~g the remainder of their estimated life ... .

      On April 8, 1949, the U.S. government effected a Quit Claim Deed; transferring its interests in
      all or s~bstantia~l~~~ all of t}ze Second Pa,:cel to the City.

      On October 3t, LO i ~, t ~~~ (.:itti~ sued the ~EiA under the Quiet Title .Act regarding the meaning
      and effect of the it) {', ~_'~~- ~f ~~'anicz ,tilonie~ v. United S'rates ofAmerica, et al., Case No. CV 13-
      08046 JFW (Vt3itx). The City's c?aim seeks, in part, a declaratory judgment providing that the
      City has unenc~:m~ere~u t:t!c to Lhe ~iro~rt Pxopert}~.

      On February- ~?, ~'G =+, tae i_i.5. District :cur dismissed the City's claim based on the statute of
      limitations. H~ ~~,-cr<It°r, ,~rl ~;I,3rcr~ J , 20? 5, the i~.S. Cot2rt of Appeals for the Ninth Circuit
      reversed t~~e Pi~~:-~.~ ~ C,;:rat's ~a sm~ss~~ anct re~.nar:ded tie case to the District Court. Trial is
      current'v set f~,r .~~.u:;:~~~ ~`~. ',? a 7.

      Circuit Court Litigation

      On June l7, 19`j4, t~~e {:it~~ accep~e~+ a ~1,6U4,10U,~0 federal grant for certain improvements at
      the Airport parsaanr ~o tie :~~rms ~i'a grant agreement that the Parties agree remained iri effect
      f'or twenty year:,. U-i ~+w~us~ L7, ~l;~.J~, the City and the FAA eXecirted a grarii•amendment that.
      provided ~240,~.i)i;.~ t7 ~n ~d~ral ti~t;c~s to the Cif. The Parties dispute whether the terms of the
      grant remain in of+~;,t t:~ - t~.-rertj~ ;ears from the date o~ the acceptance of the amendment or for
      twenty years from tie da+e of the acceptance of the initial agreement in which case they have
      expired.
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 80 of 89 Page ID #:279
  Case 2:~ 3-c~~-~~G~~-.~-,_~`~:~,     " ~ (~~~~;~;~~~~~t ~~ ~ i~~~ ~1I3~f17                 ~e 8 0~ 72 Page IC x:952




      In response to a ,,~~riplai~it piled purstrailt to 14 C.F.R. part 16, on August 15, 2016, the FAA
      issued a Final Agency Decision(SAD)hol~i7th teat by accepting the additional funds, the grant
      expiration dai~~ ~~ra~~ x~~-~rdeu until ,4ugusi 2~~, ?C3~. .Nar'l Bus. Aviation Assoc., v. City ofSanta
      ~Ylonica, F~,A i:oc~et ~o. i6-1~4-04. The Gity sought review of the FAD in the U.S. Court of
      Appeals for the ;~iint~i:~rruit. C~tv ofSanta tllotzica v. FA<4, Case No. 16-72327 (9th Cir.).

      Federal Admixaistr:~t:ve ~~-n+:nec~in~s

      The FAA issue~a a i~ot;ce of Investigation (IVOI) to determine, in part, whether the City is
      violating its federal ob~igat~ons iv prc~~,~ide access to the fixed based operators (FBOs). In re
      Compliance will? F`ed. C)bligcr2ic~ns by the Cit~,~ ofSung !Monica, FAA Docket No. 16-16-13. The
      NOI is based o;~ t;-~e ~~ity's handlirLg of the tenancy of the Airport's I'BOs, the possible ban on
      the sale of un?ea~ied fi~~..is, a.n~~i t1e C,itv's declared intent to provide certain aeronautical services
      at SMO on an e~ciusive basis !proprieta~,~ ;,xcltisivel. The City filed a response to the NOI
      asserting tflat it ~~as ~ii~lly com~~led titi~itn its ~,bii~?atioiss in regard to these matters.

      On December i:?, ~~;~ u, t~,_~: ~:~,a issuers an -interim Cease and Desist order ordering the City to
      cease and desist i+-~; ;1:-~ ~ ~-ing t ~~ F:t~O's u;~til the FAA issues a final agency decision under the
      NOI. Na final decision; has beep reached regarding the NOI.

      NOW,THEIt~'F'UFtE_ in consideration of the mutual covenants and other consideration
      described nerein; tne~ tn~ Nar~.ies ~~r~e it is in tnr, irteres4 of the public and civil aviation to
      AGREE as foiicws:

      I.    CONIP1,~Tr, ~F,~i_-~~.~:~~E;~i'~' t)~+' A~:L ~:i.AIi`viS

       Within 3U da,~s o~ tE~is ~~_t~ee~rer~~'s tixecution, the Parties shall jointly move in City ofSanta
      It~Ionica a linirc~l:~t:zi~s ~~;_~,=nerica. et al., Case ~~o. 13-CV-81)46-VFW(VBI~)(C.D. Cal.), for
      entry of this ~rreer: e~:z ,~ ~ ~ ~ orsen~ l~;ecree a:~~i ror a spay of the tree litigation pending the
      decision on one ~:c;:,s~ ,i. r` scree. <~ so ~~vithin ~0 cat's of this Agreement, the Parties shall jointly
      move to stay Cif;% r,;-~.S:-r,~°r i~r~r~ic~:t v. F~~'ern~'r ~~ir~tior~ ~~dministration; No. 16-72827,(9th Cir.),
      pending the envy z~f tr:: C~r~.s~~..1;~ec.ree. `Z%itil n 14 days of the entry of the Consent Decree, the
      City shall dismis< <%~,it!~ ~~r~;;t i~~ Cii,~ ~j.~c~nta ~l~orica v. Federal.~~viation Administration, No.
      16-72827, ~9t:~1 Cir.;. F~~:~-`hFr~--!or:; c~~e, Parties ~g~ee that entry of tl~e consent Decree shall
      resolve all pe~1 :.~ :~t~,~_~~~c;~ ~,.~ ~.s~,-,i r: I,-^ ~e Ccr~i~~~i~~=ct~ tivith F~d~;~al Obligations by the,,~Gity of
      Santa !t to~^ict~, ~'z~.:~.'~'~~. ? 5-~ ~-1:'. `T,c. '~e}~'`, ~~f Tran~:p., Fed ;~tliation Adrnin.), and that the
      FAA shay; ~1~er~.for~:~ di..,mi~:: ~h^'.'~TOI.

      In addition, the 1~,~'~_~-~, s~:;1 sr~rd a Ie~ter ir_ subst~nt~ally- the form of Exhibit A to this Agreement
      to private parties tn.<'. '~~t~.n t~.ied 1'a~. 16 :omplaints raising issues within the scope of this
      Agreement re~l::~.~-, ~•.<~']~.~ t.h~- ~,~r';;s t^~ithdr~~~~ ;,hose complaints. The Parties acknowledge that
      the FA.A does;; ~~~F ha~~:~ ~3t~~:~i~~riry +n rewire pri~~ate pa:-ries to witl~dra~~,~ their Part 16 complaints
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 81 of 89 Page ID #:280
  CasE 2:1.3-cv-C~?~:>~-~F'~~~.°-         '~. ~~:c~-~.t, ~^r~~~ 4: ;- i~ J113C~/yr ~     e 9 of 72 PagE !D rt:953




      and that the FAf~ m~_st ~o!~s~de: a_~y complairt~ n~~ «-ithdra~vn. Thas, the Parties further
      acknowledge trial nu wciic~n r3f a pr~~rate parry is ~ Part i6 proceeding can constitute a breach of
      this Ag_reemer~t.

      Unless modi e~ by rl;~:~ c~~<<z~; ~1a~ r~~ ]u~isuic~iota t~ver the Consent Decree, the Decree shall
      expire on Dece~1be_~ 31, 2,C~~8. The Parties agree that the expiration of the Decree shall have no
      effect on the terms or ron;-ltior o tJlis .Agreement, tivhich terms or conditions sha11 survive the
      expiration of try; Des,ree.

      Further, the Parties agree } a~ tris ~greerzent upon eniry of the Consent Decree shall resolve all
      claims by the P~_rt~e.~ t~~~ h:~~-:~ ~c~r rrc~_~aht, ~r could have been brought, in City ofSanta
      Monica v. rinitE~c~ ,`:''ayes c~;`~. i~,~e;~ica. ~t ~-~l . C;aS~~ `n. ? 3-CV-8046-JFW(VBKx)(C.D. Cal.), City
      ofSanta Monic~x v. ,   l eclerai <4viation Aclministraiiojz, No. 16-72827,(9th Cir.), or In re
      Compliance with Feu'e~~a~ 07ligaCions by the Ci~~ ofS'anta Monica, FAA NO. 16-16-13 (U.S.
      Dept of Trans.., ~'ed. Aviat ozl Acirr~in.}, i~zcluding all the Parties' actual or potential claims
      pertaining to t;, ~ pa:,t ;,~er« ao,, of t:~e =~.irr~-~'?~. *.he City pertaininJ to tenants, non-tenant
      aircraft and. PF3~ ~~;

      If one o~ +she Pa tins a. r~Le~ a breach e~ the i;rrn~ <~r conditions o~~ this Agreement,the exclusive
      venue for ieme~•~-i ~~ ~z~~~ a r~~ ~acn p ia'! '~e ire <~ot~i~ h~ving;urisdiction. over the Consent
      Decree.                                                                                      '

      In the event the cour~, i~~ ~'.~y~ et ~an~a tilo~zica v, li~zi~ed Slates of A,nerica, et al., Case No. 13-
      CV-80 5-JF-~' ~vi~~:;: ;L.~. C<i?.j dogs :lot enter the Consent Drecree as-written, the Parties
      shall confer unc~_, ~._ s~o~ ~~.s r~~asib?~, decf.de ~:~,~he~h~r to move the courk to enter a modified
      Consent Decree. If tine ~'-,<<i:3s r.~~~~e Flo*. ~•eze"rea an ~~~rPem~nt on the form of the revised Consent
      Decree within ~0 Nays, t ie F~a'r~ies shall jointly move to lift the stays of litigation in City ofSanta
      Monica ti•. United Srcates of:~rraerica, ei al., Case No. 13-CV-8046-JFW(VBI~)(C.D. Cal.) and
      City ofS~~rr:~: ~lu~,.;::~ . ,~~a-e~~u1 ~4 t,.~r~ 'd,nrn~~t,•at~~,~~~,:`~?o. lb-%7.827,(9th Cir.}. The FAA
                 ~~i.
      shall als~~ tk~a- ~.t._ ~.a~.~— , ~~c.:.. ~'~~_L,;, ~ -'~: ~~~ ~'~rzpliance ,-vith. Federal Obligations by the
      City of~4a.nta ~~>"~:,=~:r:r., L:.~:.~~.',~Q. ?. ~`-i ~-'3 (tr,~. Pep't of Trans.,Fec'L. Aviation Admire.). In
      such ev~n~ e<<.ci. P ar.~ <~ -~~~°c; t!-:r.t t1;is 1~. ;-~ecner~t st~~l ~ be of ro force and effect and may not be
      US2CIrti" e7`1P1'';'^~°~ ~lC <iTiy i'l;-ri;C~3   V4~i~`l~'~Gcy~%L'I.


      II. RUNW~.~'

               f3,       iCY~i~~":x y' i~~in~d:. ~i~ i';ii'~it5 i~~;'~G ii1cC  the Ai~or~=~S runway shall have an
      operationu~ ~~:.~ -_ ; ~c~~~~_ ~~~ ~,~~i~~. ie~i The ~~~ =~~~.) ~oo~ dis~arlce wall not include the runway
      safety u1e~:s tnf ~i~~~i 'r+. ~~ ~~~°~~~:~~~ci ar:u c ,a~~~~a.iiec :.it rota aun~ay ends. The runway safety
      area rr~ay icic~a~e u~~ c«g~;.i~e~tu sr~a~er~ais arrestor system (E1~1AS) at~the City's option. The
      Parties further• .,~re~ t~;~t she ~-`~i~o1-t s~~all acco~i;odate aircraft operations that can safely take off
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 82 of 89 Page ID #:281
  base 2:13-~cv-~;~~ ~~ ._ -~u~'~ti           ,~ ~u,~.~. .~~~ .. u~ . ~~ ._:a ~ il:s~l ? i            ,e ZO o~ 72 Page 1D ?x:954




       and land on a rrnway c„ ~nt~ atreed-on ;er.gth. :~' ior to the initiation of shortening the runway,
       the City shall ce~n~aly ~~~itr~ tl~e 30 day nntic~ ~~r~~~,isio~~ of i~ C.F.R.. Part 157.5(b)(2).

               B.      Cots ~o ~hor~~~n ti c ~Fa~wa}~. The oe5ts to shorter the runway, including but
       not limited to ti:e instaliat o~ of ~~'tAS, shall be borne by the City, If sought by the City, the
       FAA will provide Technical support to ine City t1L~ough the FAA's Office of Airports to assist in
       obtaining feder~? ;.c.±~.~~ tc ~~~>>pF_~rt 'riF :hortt.rir:4_, cf tye runway, as consistent with federal laws,
       regulations and i},:~ ~~~ =~~:'~;;.t~% ;~f func s.

               '~ .'. 'ny~~-nnr~gn~~i St~~die~. "i he i;~=~,~ snail be responsible for complying with its
       state and feder~i e~~, ii-o~me~lia~ rey~zire~lents rti~:~teci ro its plar~ing and implementation of
       modifications a SMO. "a~h~ City's res~~onsibilit-r shall irciude the cosh of conducting any
       necessary ~nvu ~:~nrn.~.ni~ si-:;dies or ~thf::r rect~i~e,~slents under the National Environmental Policy
       Act (N~Pr~.). ~~ ~_J.~,C, ~`. ~~3~'_ e- .~-eq.

       III. USE A?~!L KN,~~_,F~ ~.5~: ~~'PR~PE~T~

                                   '`~ ~              F;      ~ , oi',_._~~
                                                                       h rL:~~v~li~              -,
                                                                                ~~~ pursuant to section
         ons~stent wi t.i t~.~,
                              ~ ~ ~~<i_,,dr.'v~:~ conl.~~_~za~lur.                                      II, the FAA agrees
       that prix: to ~'.;, ,~; ~~ ;~e -`;irpc;rt, «:e `qty r;,       .a ~ iz~e Ile aroper~y n~• longer needed for the the
       Airport wi?h ~ ~}.c~: ~~~.•~~,ed ;;:- :-ec~;rf ~~:r_c rl::r~a~a~~, taki:7~ into consideration standard safety areas,
       includit~ *he ;!se ~~~ r,~'i'~` ; 1~,~: .e~-aeronautical uses that are safe and compatible with the
       operation of she ~ ~}~ort. ~u~:ii land shall b~ sub ect to 2n avigation easement for the period the
       airport ~~~ o,-~er~r~ ~; -~>~hic!1 s'_,4ii ~E tF~~.oc~'~~? oonremporaneously with any instrument zeleasing
       such property. ~'~ ~;;;~y o ~ ~~ ~orn: ;;f u~~igati:,r. easement is attached hereto as Exhibit B. This
       agreeu_enl d:;e_ _.~;~ : _.;~ ~ :'~L. ~ ~-~r ~~v~. r"~~;~ pa~~~c;t~i~r fi t~l_~e use.

       IV. CTTY'S "~:~°'`?I~~r~°,~'~;' F~f'~.T;Sg~~~' ?~I(;~~'I'

       A. Ft~4's ~c~r 3~~~~,~? ~~'-:,:rat ~f ~~ ~f~fty's !Ri~3ht

       The Citr may e~~zc se i=:~ ~~~o~,,~-~et: _~-ti ~~~- ciusi-✓e right to >>rovide aeronautical services at SMO,
       including but ~.ot ?;.r;t~.:~ `~ ~~h~ sale and :rto-pi:~ne deJive~.y of all types of aviation fuels, in
       accordance w~itE~ Q~~i~:,ra~ i~~-applica~~e r~.ti'.es govern;ng the exercise ~f proprietary exclusive
       rights.

       B. C1~'~9 ~'17p1;T~l~pi i~


       T~le C:l{V Srlc3ll ''C~'~%i.`~~   "`y ~~~. 7~C!? .,iry' r.Y it   i~/e P,EJ"011F1~,it1Ca~ SPC~1~.~5 at .SM~ ~1~ 1T1

       C011fOXT11cZI1.^.e `Nl~h the ^`t3n~`~~l (~ 0` ?:'F„t< <a;S;;Lr;1]'.~.0 2~ i '.; 031 rea.~oriable
                                                                                                     terms:'at reasonable rates,
       and (iii; ..i;~r~rig a'~ }~ ~ ~r~ ; E;; ; ;~zch . .-~ _ ~~ • co~:'i Cluj~: .ally b~ ~ir:,vided at comparable general
       aviatic>r_ ai pc~-+ cif r:~ ir:~c ~~~;c.,~ t .t;i;~i.~~.s'b~ .u.~~e~-Ys provided for in section V, The City
       further agrees tl.ar, ?;~ ti~~ ~;i~,-~ u+yes not fatly ~r~-ri~e a type of service at and point in time and a
       private ~'BO clew ;~ ~u t;,uv:e s-~c ~ a ;cn~ice, i :at operator shall have reasonable access to the
       airport ~r.:;o -z. c;~a',~ ~-~,. ~Y. .i~' ~,_~;-~~ an•~i it confo~~ance ~n~ith the standards of grant
       assurance ~,:' ~:..,  '   ~ ~; ~c            1 ~"." ~ .-.rrii 3. ..;} ~ ~71.
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 83 of 89 Page ID #:282
  Case 2:13-v~,r_~~gr~           ..=.                 ~~_,~, s ~ ~~„ ~_::_' ~ s ,~~~ °~~s13~;1~.?             ~e 11 of 72 Page ID +:~55




      C. Tirr~i~x~ ut tia~~ ~.~i3'. .~'._~~;~:rise ,~~ s~; ~ i~~~t

      Subject to the C~'~~';; r~,:rnT ~~~~.-rsua~~_i ~o S:~bs~c~.io~~ ~. L:~,J~~,~, the City will not implement any
      proprierary exci:.r;i~. e ~e«~c~rs, a~ de6~iec abo<<~e, u~~ti1 the work t~ shorten the runway, as
      provided in Section II a~,o~;~~_ is corr~plete.

      D. Leases for I'r~~~,~t~ ~s:~~-r1•~a~zr~~:~S ~~ -:ice ~~-~v~d~rs Prior to the City's Exercise of Its
      Right

      Leases off_c;reci i~: iii' t~,;l''1?~ [i;-`~VIC~1r~. <ie;t•!lY}~i~iti;;,~'; ;;?T;']C~S S}ld~i bE OI'1 TeclS011ilble teTT115 a.T1Ci lri
      substantiall;~ th,• ~a ~4 toy--~ a,s That aTtac~i,t•ca ~s F..;~h bit i~'.. For piu~poses of this Agreement, the
      phrase "reas~na~~~? t~rrr;s" ~,~ai_1 rx:~~an terms that are customary and usual at similarly situated
      and sized general avi::~iu~, ~~i~po -ts.

      The City shall otfe~ ~~? c~.~~-~e~;E~ tezi~:~ts n -o~~id~n~~. aerena~~tical services leases of no less than three
     (3) yea~•s ~~~itn rea~oti~oie te~rzi:s appro~rlate ~c~ ~'te aeronautical serti•ice usually and customarily
      provided s~~c~ ~ r~: •:~, ,; ~'.- ~~~ it7t~.-.°~. inci~z.+;A,:; gin'. not limited to tenant investment and


      The City shall ~.~sc crfer't.~~~es ±o ail pr- spec?i~✓,~ tenants providing aeronautical services for
      ~~hich there is s;~ac;e at. ;~ ~~1 3 sub~e~;t tc ~easo~nabie +:terms and consistent with the standards of
      gT'dSlt itSSUC'23P,OE. ~.~. ['~ O ':,~. 1 l~•.~..   _i`. !;_ `1. ~ iLSf'.it X~1'(iz%1~1111Q S11Gi'. 5E',PVlCP~S OII `d pTOpT1P.t2Iy
      exclus~.~e -~si:.

      Any a~s~ all fie, ~ , ~~ r.~_ c ~ ~ d~,_; ~ a ro~~ crtic,~i s ~~;~7~ 's z~~~ay_ at the Ci~v's election, be subject to
      termination u~o:~ ~:s. r:~o~~t ;~ v,~ritten n~ti~;~ o~ tl~e C'ite's e:~ercise of its proprietary exclusive
      right to ~~r~>vide the ~;<:~~~~~r:r ;,f services oth~.t-~~~~se being ~ro~ided by private FBOs, provided the
      City is ready, tiv lii ~~T, ar~•~ <<~~Ie ~:o `ally prr.~vide s _~c'.1 aeronautic~.l service in accordance with
      applica~le i^.~v.

      V.         AIRP~R'~' ~~'~'~~'~~'

      The Cii~ ma~~ ~ ~~.:~-; ~ ~: _~.~~ri~i~afi:~>>_~ ~o~ .,s~na:~c. :+ ~~.r.~f~~r~s cn~sistent «pith 14 C.Q.R. part 161
     (Part } 51}. R;,~%~~ z}✓ ~:_ . ~~~a~~ ~~r a~r~'_~~a~~ici3 sha1~ be cor_,duc~d>'Weer the procedural rules and
      subject tc~ +_~e ~~ ~s r~ _ _ ~~ :daxdt up^~'ica~?:~ t~~ X11 P:~:* lbl applica±ions submitted to the FAA,
      WI71Cri S~ c ~~ _ J+'1? 3`{.~ .~      ~ :~?,~ ~~~ rc,. i ~' _ [;.,';2~.~,- Oi ariy decsion made in connection with

      SUCl1 alp d~~ ;iiC;'".li]t; Si 3 ~: ~>r -t~~1G      ~;;L'C1 ~?~Cll::~~l'~1c:~}/ 117 ~~-~~ SST11e 17t3T111eT SS, 1T1CI lI1 t~10 Sa.Tlle fOTl1T11
      as, review ~~f aL•~~ ~i;,ci ~~~,~ti r~~~_~~ i~~::;~;~r,~i~etit~~~ t ~~I: ~! Part 161 application submitted to~the FAA.
      That is r.'.., ,. ., ~~~;,Ii n~~~: ,~,-] :cc; t`,:f ~ ,z~~ ~ai~~arc, o:~-s~i~~h       a:    a review. Notwit~is'tanding
      any oiht,r ~r~~~-. ~::gin ~ +,~;~. Ar;r..~; ~cnt. u~~i~~_,.:.' r . qtr ,,f F A A'~~~de.cisa.on.anc~~fecord thereof v~~ith
      regard t~ au;~~ ?< . 1. !-        _ , _i~~ , ~?;: -~+- _ '~~.- *re C;r;~ stall n within the exclusive
             ~ •.~ , .,G G:~ ~.~~             ,"         ~~          ~^
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 84 of 89 Page ID #:283
                                   R :_. ":.,,+-       "'~    ~.~~,~_         ;r ~   -"!    ~'. -y L'
  ~~Se G.~.z-t ~;-tJf?~l #£}                                                                            ?~LIJ`-,i1 _I..~   ~   E~ ~~ Oi ~L   PC~.g~ ~~ ;t.~JU




      VI.        DUf~r1T~(?iti

      The City ~?,rees to e:~.;=-~,~e r`_•.e :?:wort c:r,r_si::ien. ~.~.~ith i.s obligations set forth in this Agreement
      until Decem~er 3;, ~~±~~~ ~, ~~:~nx~ss are eariie~- date i5 agreed to by the Parties. Any subsequent
      decison by the i~A<1. ~c. ::+ease she f'~irp~:~rt at an earlier date shall be made consistent with the
      standard of 49 z.".S. ~'. ~ '?'.. _`~. The. oLii~aticr~ ~o operate the Airport until December 31, 2028
      shall be bindins~ or ~ny ~~_~i~~er;~ient nuc;il:~ser or i~i_port. Property. Within 90 days of a Consent
      Decree ~r.-1~~~x'; i ~~ ti~i.i , ~~i~~etne.i~ taking e'fec~, the Ci!y shall cause this Agreement to be
      recorded in the =.~z-or::r~- ;e;,:~rc' ~i~r tiir C~oaz~~,~ t- i:es _~.ngeies, Ca:iifornia.

      Withu,.:.~ 1~ ~. ._ _ h~~ _ ,~ ~i~m:~, of'~~i~ t^~ _ 'ee~.ne~'~, _.e FI~A agree. that the Airport Property
      shall be ;1e:~~e a ;. _~:~, ~~i'.:c~~~r~a~t~, ~_~.~1~ ~tior, , re~st~~ictions, co_,ditions, exceptions and.
      reserva:ior~s of rit-?~.:. i:~;~~~~stic urcl - t1~~, ICT ~r~: the Quitclaim Deed and the grant assurances
      impos;,d in i 9~1 _,~~_~:~ ,'~~:° e;` _~: rr~=: n~~;= ~,r +his :~~z ::rr~.~rrt and io provide such notice as required
      under '~'~ ? `? _ `;; `~ _ `;r~~r, tl";':=; _~''= =-e. ._s~, i~:v FAP, shah execute, acknowledge and
      deliver rrorr t~~ r           t ~_ _~ :t~st~~.,r~c~r~:~ ~ ~~.~~ar- ~~Iv ~~ccessar~~ reci~ested by the City appropriate
      to evid~?1Ce ~;;~~'_.C;,': _ , : i ;'~'TIC,!'' 1'it~S)~I"i;` i, i':Tl 31! SLiC~"1 COVeT!a11tS, TeSET~'1t10T1S, restrictions,
      condit_::,i~•. e <~ ~~ i~~~:~• ~ ~~'                   ~ ~-~~t ,}:_ .            _L, ~'?~:. p_.~tie~ shah_ re~~ord any instruments


      The Cit~~'s ep ;~atior ~-~f'' c. ~,i~ort ti.~nt l t>ec~~m~{~r ? 1, 2028 shall conform with (i) the standards
      set forth in ~-ra ~ ~. ;:; ~. ~ ~ _~~ i ~~. 2?. ?.3_ %', _''. r~?'d '<<): end ~iil all applicable state and federal
      opera~;cn~.i, rn, + :,~,;,~~ . ..~'-~`~~, ~ ~~~ :i :,'~. `~.:' ~Lr~aoses of this paragraph, the substantive
      standard-s ~.f ~r~~~. ~,: ~ , i~.,:~; :'°~, ~ ~,;= ?~ . 'S_ .,"~~ 3t~ ~h~1i apply tiantil December 31, 2028.

      If the City ere ; inr.: ~ ~~ -..re r.irit ~~~~eeme~'s ~r,~th the r~~Af~, then ii: ~llall also be bound by those
      terms as provi~~_~a f~;r i~ ~~-~~:- each ~rar~ a~reem~nt in addition to any applicable the standards
      express'.y set ~.>rt;~ i» ~,~i ~ . . ,ret,m~rt.

      If the C~t~, does _~_ ..        ~.-~r :~.~-~~~~ ,r;!•~~~rre~t~ ,~~fih tY~_e FA.A t13~t continue to require the City to
      operate the P.i-r~ ~:~ ~~' ~~ ~"~-.::-r: ber 3 ~. ~'.f,'~ ~, i'~~: ~,~rti~s aar~e ~~?.at the City may,in its sole
      discretion at an.~ 1 rr,c on ~~~ after . a~~uz~~~ l; ~,~~~ %~%. c;.aGe to operate i:he Airport as an airport and
      may cio~,~ *l;e- `~r~=.;~ t~; . a.' Ger~r_a ~~~c<z~ ~_.se. fc~r ~~~~~•, su'~ject o:~ty to the applicable 30 day notice
      requirem.~^ts c~ ,:~,:~*~ ~..~ <'.c~ ~ ~ C. ~ ~~~3? U~?.:; a~l~ l4 (~:.F.R. Part 15i.5(b)(2).

      VII.       tiNL~,~~Y~~~; ~~_~~;L.

      The FA:`~ is vca s:~~_:~~ .i. _._ : ~-~~ter ~~ ~,~~:x r~:. _~ ,.~~~iaa; voli.c~~~ tc~s~z~~port the development and
      use o~~ _~~?~~~c. ~ a: ,~-~i. ,: ~_r~. ~.ppr~ ~._1~~~-_ ~~; lr.~ i~~:..~~i~:;~ of piston aircraft where commercially
      3110 te~~'~~~t;.'-~_L~" ,r ?Sj%              ._,i. .':~t~ ~ `~[rC' ~:G '.; ~ 7 ~,"i~,:Y ; ".]V C~P17'(,~1;~I'~ltiOri pT'0~0Ct r~18 C1~~T11aV
      seek ~i~ ~m~,!e;t T ~~ ~ ..t:i~~t~, zc~ r}~~ :~s~ o* ~zr_~~a~~ec; far'. ~dat~iii i.~~ this Agreement shall allow
      the City- to restrici t ie s;~ie u'.~ le~dt;~i a~~ia~~on fua't for as long as'the ~'AA authorizes use of such
      fuels wit!.::. tt,~: `_: ~ :,.. ;~~:~,~~.
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 85 of 89 Page ID #:284
  Case 2:~:~-~~~.~ _                    ~,             ~ : s z -; ~,     ~~:~      # ~~_ ~_ 11~~~~iw f ~          ~ 13 of 72 Page 1 Q x:957




      VIII. MISC~:Lv_~N~_-;~~~~'~ ~~~(:~I~L~~~~►

                 A. ~~,~~e~~-c~~~~z~~r~~ The Parties rese?•ve t'r~e right io judicially' enfarce any terms or
      provisions of t}. ~ . _:~~..,~n-.

                 ~3, ~"~~~z:~~~r~ ~ T'~~c~~e~., Z he t~r~r.~~~. ot~ .pis ,-~~revmert sha11 be memorialized and
     embodied in a c~~il.~~~;..t _ ec~-~:~~ti t;; ~~~ ?iled i~l Ct~iy . 1~Sarita ~Ll~;nicU v. United States of~lmerica, et
     al., Case Rio. ~"~-(` v -_`~_.,'~~-Jr' vti` ('~'i~1~~ (C.U. 4='ai. j ir: the torr:i attached as Exhibit D. The
     court sha11 ha•,~ i~{,~i:.c~~.~ ~~:~, i~ ;ssu: ir.~?unctive -zJef or~:y as to the provisions of sections II, III,
     and Iti~. Furhe:,. L;~ ~ c:~~~.~µ ;i~,.,_il' h~~; j~~.rsti~to~,~ ~:~ en~~rce the provisions of sections II, III and
     IV as to ar~y succ~;;=;,~~s; r-:~t~s1eT•e..s. lip=rsee~. ~henry, ieirs, and as,~igns of the City's interests in,
     operation ~~, o? ~r+,~°~ -~Y ~, , '"~ ST~~ a;. T_ . .~~- ~~r _~r::P', r=~t .have ju~-isciiction to subject the Parties
      tO~Je2l;3li1~:~ ~l' :,~~I1C' t )7 .-. _~~. ' ii!'f~~'~'t ~~_1~r2'_it_ ! . •~:i it°, Q~'?~1Cc9~10315 1?: C~71Sf~~TT'001110T1t.


                       C. t~~~~ ~ a~;;r;~. I:ac.'~t ?a.rtt s±~~l~_ f~e1r its o`~-n casts, irc uding attorney fees.

                  G. ~ysdt; >.•_~e . _ _.v rei:,r~~s~i~tatves c~.' each Party Hereby certify that he or sne is duly
      authorized ~o e~ t~;- i. ~ ,li: ~~ ~~et~ne.; . ~ Aze ~~. r ;~;r ,sen~s that i~ Sias the full authoriTy to
      perform a? t ui the a: -- «~ . ~ ~i.~atic,t~s it l;as a~,: ~d t; performs ~~na ;r the terms of this
      Agreement. ~ h~, t~ ~,:.- ~. Vii:__:s, act n~ r:~c~ i`:the Lepa~tmeni o~ Justice and the FAA represents
      that the rA~~ h~.~: ~h_c ~~,_it aa~horit-~ to perforn a i o~ the acts anti obligations it and ~~ie United
      States cr Auer ~_ t:: ~_;. . _~:I r.~~ f,-~~f;:~~ uticy~r ~..e ~~rms of phis Agreement.

                       ~'..   + .(cif %':* 5213. i.,t)ial'r.Ff.'T'T~?<lf'" ]. ~.t '~ :t?11LC;111 7Aa ;P,C~ t~13t rriS /1~T'e.2I110T1t 111dV 17P~
      executed iii :,o r _~; ~ -, ~, ~~: ,.._ , ` ~ ~~:cJ~:: ia'1 b~. ~ .~c~_ne~ a:~ ~ri~;i:_,a~, end all of which together
      COriSf?r`t ~,: Jii~ < Diu iii
                                 , u..   _~ ;.;Lip c ~. j" aC,S~T:.~.~     i'::1,'u conies. and scanned electronic copies of

      signatu.Ps inch~c :~r; .;ti._.~r:~ ;;lects-onac cv~ es gent by email, s!~all constitute acceptable, binding
      signat~t~es for r a t;,~•        ~       '~~ _riec?

                  ~~ ~~ei~Y~~~ ~*' ~x':~~s ~.ffr~em~~t. T~-~~~ ~'~~rtes a~re~ torigorously and actively defend
      this Agreer;~en;. ~n~- ra;~ i~~!~~~ ::'^^yen ~~ecr:e_ ~ir~ a!i terms embodied therein as fair and
      reasorGbie. to ~itr~7r, ~, ; ;~~~~~ r~vt;~~eiy ~~erenci ~~ ~ :~r~e against ar~v challenge by any individual
      OT eIlt;iti. ~~"le' c~_"ti~..5 ~:, i;)~,,     ~`.~~~t' ~ ~.L.)~ :::3 i:ilC~~i?ri1i1~ i7.i~Ci~)' Ot' ?i~:~lii:CilV tI11S AgTe0TT10Il~, 3Ily

      resulting Consc ;~~ 'F c ~; ,~-~ :e:~~ t ~-rr. r;e+ t~:? ;h treseit~ for so 'on as phis Agreement or any
      resultir~ Conse~? !%~~: , <: z~~riui.~s n eft-pct.

                       ts,     ti~:.C_i~i~3''_'•~D':. I ~::S   s,~~"~t 1:1 ~?                     amended, or modified
                                                                                 '2; i'~ :U~~Ii,TL•.P_il~~.,

      only icy t'~e m~~~:.~~ <:Q,r~ ~- ~.~~~r~ of fi.;~ ~a~r ~_~, ~~r~, cr.~::e she ~on~ent Decrze is entered, only with
      the approval c~ she. ~- ~t rr ~'v , "~~,Y;;~~;~~~~~~~, ..,r~~., ~t-~erii-, or t~iodificaTxo~ of this Agreement shall
      b? b'.TCili1!~ 1ii11 ,~ , L _~t5 ail 5-. ~    rt_~; ,~ tl Vii;-;~~~~.. I^\ ~ ~.i ~tU'l~+ '~t:itili~I'LGEC 1G'~TeSeIItatlVeS Of 81CI1P3I~.
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 86 of 89 Page ID #:285
  Cass 2:1~-~._ ,l ~~~~ ~, _~~~~~'~.:                        :_          .. ._ ~~~ '. _           ~ 1 ~~.~.>=~,1~        e 14 of 72 Page ID ~:9~8




                    ~~, ~asd~e~;~~ ~s~~ s~.t ~',.~~_~ Yes, "s ~s ~ :~ t~:_ Lr.~~ ai d anv resulting consent decree shall
       be binding upo-~ ~1_~~. irt: e'~t~ :ale ~er~xii ~`trie ~ . ~s rid Their respective successors,
       transfe7~ees, 1i~,~.~~ec_~ _ _„ ~ :~_~~ .xitl ~ _:~4~ s ~',~~~r ~~: a~iy change c:i the sponsor of SNIO or
       to the i7entity ~~t tl;t .. -_ ~ e~i un~. ~~;;~x~;-.r_~, ~er..t:. ~a~:; related to ~h.e operation or sponsorship of
       SMO tl:e Ci?y „pia:: ~.>t:~<«in .::v~ ~~;,i~ren agreen~ez.t u su:; l ne~~ entity,' ro be bound by the terms of
       this Agreen~en': ~~~;; ,i~i,~ -;~~s~~l i<<~ conser~-`:~ecre~~.

                       [, ~'_~~~ ~c~t-.rst. ,ti` - ~i~_~ ~~ in ~'-,; ~~;~, ~ m~7t ~hatl constitute an admission concerning
       311y aI'E'~GLit);'         t_r         'a ''' i.~~,: ~S~ a. `~,~; ,'' ;7i ="~         _' ~)i ~tlYitc~ ,~IOF2ICL! V, lflZlt~CI StLIZ2S Of:lYYIEYdCCt,

       et al.. :~~_;z N~ _. ~"' ~ '~-'.~ _~V~ ,`~ 3s~; ';:'.? ~ 'k1.~~, (~i~!~~ of~Scznta ~'~lonica v. Federal Aviation
       Admini.ctratior_ ~~~~;~.'  ~~- ~;~2. ~ - 7, f:9;i Cir..~, ~~r ~~~ ~e C'omptiarace w ig; Federal Obligations by the
       City ofSan;z~ ~~-or~u:~c~ =~A_~ X17_ ?~~-i6-~ ~ ~;:~T.S_ Dep't of sransp., Fed. AviationAdmin.), and
       this Agreement teas :gin i~--,~.cr;:iert~:zi eC~~cc~ a~ ~o <iry ~:1`:~~er dispute between the Parties ar between
       either the City, r 11-~~~ , ~`~.~. -.' :and rrir~.-: ~ -+.r:,-. '~ s :~`.~;~:~E':I101i~ is ~?_ade in light of the unique
       circum~*<<,__ ~,, t .,:~: c ~.~z: ., ":: ur,. ° ~~:~,: __ ;,..~ s ~'~~c matters resolved hereby. Nothing
       herein ~~`~.~!1 ~~. _ ~„_                  ... , .c: r ~.~ vr~ ~; ~ r ~.iit» ~;r ~; aza irt~rp~etation of the validity or
                                                         ~iFl. _   -trL-.r~ 1 -
        t0T'II15;~r+-,t~~~%i~~~f'1~ ~J~ _ .          ~                                    .'i?' el~ti(;,


                    ~. ~.e ~;~4e. I -~~~o.~ ~.rF~ ent,-tip ni~tr~e (~ onse~lt Decree, the Parties and all their heirs,
        administrators, r..;.r~-~_ :~ -~~i ~ ~~~ , ~.t<<;;-}~evs ;~:G:c: -~c~r~, ~~.;~_d assi~~zs, lere~y release, waive, acquit,
        and forecrer disch»r>~e ~-~~~~" , _~~f°~r ;:,, ~ al! ;;~e;~ re ~ :;;+:i;,;, ot~icers, e~r~pioyees, and agents from,
        aY1C1 aTe "tC:~`;.`"   ~. '.'.   T    .''~         :;l(    ~ ~`: t:(l .:~ t'i 'p. Vii!''?'=rCl1~]Il~;, dilti' «1(~ al~ C131TT1S, C1USeS Of
        dCt10T1, ill?C~%OT'.-7=:C` ..          _!" ~ f --`c~T ,t ,~_.~'.cC; T~ ~'i;-~ UT,~'/I7ltc~ :~,/~OYIZCiI',?. ~1t2112G~stClt2SOf r`~T'YIEYICCd, 2~
        al., Case N~o. ? "',-C:~~ -~~J~t~-+_~ v~l (V ~3Kx i + ~'..D. dal.j, City ofS'~na~a ILlonica v. Federal Aviation
        Admir7~istra~ion ,~~. ._ ~-~-'1 ~~3 ~, ~~a.;~ :'~r.): 2~ ~~ I ~ r~_ Compliance tic~th Federal ~biigations by the
        City of ~~`ar~r, ,'~ f .;?~c~   -', _-. . ~ s.~, ~ .- i 5- i;{~;,- ~ '~~~ti,';~f:  rans~., ~ed. Aviation Admin.), as
        well as ary at~d ~.,' ~ ~ +z. :. ~ ~ ~....~s r~'~._ii, rz. ~~r_~. . _: . =:, ..st::; for relief whether or not made,
        agair<si ~.~? :?~,~ ,'.,~.. ... ...._ ',..:.~ ~ ~ .,_ -rj ~ .. _, `z+; .^ :_utters, i~: iih t~~e exception of proceedings
        to erfor~e ts-~is _ . _ _ ..            _ `l~:~          _rat '_~3~.~,r~~e.
                      ~. ~ti+; zhi:-~~ s~' ~i•r,y ~~.~;;~-~ts, ~~ .~ ~r~~e,rent i:~ n~~i ir~t~ended to create, and does not
        create, any . :r :.A „e._.~ .___ , ,t~l_: ~ _. ~_ ~,~:cr,_ r~r.y :inn-pu.ty ;. right to enforce or sue for
        an a11, gee b~?.~ E        ~, - .-~~ ~r~~~°. ~:~.r <<~n:ra~. , _ =- y other "ci~-d ~,~P~~ight or privilege for any
        person, ~-,~-;i:,, .. ,...      ,~,`.
                                          ,~ '.a:: ~c _ ~, .~e~.

                       [:.     ~;;:; ~_ .,.. ~;:~.{., -              -        ~    :~•_~r_        ~ ._. tie ei ecC~~i~~ upon the date the Court enters




                                                                                             f~
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 87 of 89 Page ID #:286
 !~'~se 2:~?-t ,: _;fir                 -             ~-,   ~, .;~. ~: ;~     .. _. ~i,``>~.' .{       L~ ~5 of 72 Page ID x:959




                         "r'      (~


               CoVktl --=-~h--
   Chief Co~:nsel               ',~
   Federal ~vi.~~i<m .d~z~~;~~ "'.,,,.c~~;




   For the I`ser,a~~t~~ ~.:~~ c~~.~t~:~~c°=>

   JOYCE ~~R_`~r~';~I.
   Acting Ass~star~t _:~~_:;.::e, t~~~-~~~~~

   EILEEN v~. DEC;~~~_ ~?
   United 5~a~~s ~'~ct<;r<<_y

    JUDRY "UBAR
    Assistan.. ':~~~ ::il~, ::~;,
                            i     ~:~:~;,,,~;-


    Senior `~'r~ai Cnr~~~ i
    U.S. De~ar.iie,:a.~. „i ~ .;s~ ~e
    Civil DisT.~3 .;~:, F•.~::~~a'. ~'- ~ .::~~s ~~.a.~c~
                                 -


    P.O. Bo~~ ~;~~


    Facsimile:, ~,~~~?)' - ~- ~ .-:
              /,,~r       //'.~~f
              L
                  s ~.% il /!rlr..     1

    GARY'S -~I ~('                          ~' t~~,r ~zy~i1=~2~l


    Trial r~l~ t ~~c ti~
                                        i




    P.O, Bo~~ t'?;
                                                                                               ,',
    Telephor~~: {'?J';'j ~,i~-4~f;kt=~                                                         -a
    Fax: (2~~~~', f;t~-~='^                                                                    -- -.
    Email: "T~~~;,,?J.~ plc'+.c;-,r1< _.:., .r<~v

    Dated: — -~--r---
              ~ ~~ ~ j~=;--
                        ~ ~'




                                                                        1(;
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 88 of 89 Page ID #:287
  Case 2:~,-         .,~~`~"                   ~_~ U ,=-,,. ~? ~i! ~~, 1f30117 ~~       _,e 16 of 72 Page ILA ~:96i1




      For t?~~ ~:ii~~ ~f ~°~€~§a ~~~t€c~~
      Atte         ,,, ~'          ~i ~`!~

                                                                  ~u~~~ ~L ~~,~~~ ~ ~T~~
      R ck Cole                                             Denise Anderson-Warren
      City Ivfanage:-                                       City Clerk


                                          -.    ~       _
     ~--                  — ---- --v-
     Josepn~ La~v,.~n:;;~
      ~Tlt~rirrk-~ii~ ~°.=iC3' ~1~~^/


      Date:           ~ ,-'~^' _ f ~_.

      Apprc~ed as tc~ f~~~.:::
         ¢,,
     ~.-~                       ,.

     Morrisoe~ ~'r. Forster L~,~
     125~~ High ~li~~'t ~rii~u ;fan Diego, CA 92130-2040
     P: +1 (~58~ ??0.?932
     W~l=f?11j2~r~2iT?'jfll`~ ;~~%

      Dateu

      Attor.~~,,
               ,s ~ . t=,;,, ;-'~ ;~` Sar3ia ~~tonica

     IT Is ~'~ ~~~~3?~~'~T.~.


                                               Signed _,                ,2017, at Los Angeles, California




                                               Izonorable John F. Walter
                                               T 7nited States Dist:ict Court
                                               For the Central District of California




                                                             11
Case 2:17-cv-07727-PSG-JEM Document 28 Filed 11/15/17 Page 89 of 89 Page ID #:288
  Case 2 ~;..~, ~,~1~; ,- a;=~,.,          ~~rum~nt 52 ~i=~~ t~1/3~f~~? ~~ ,e 17 ~f 72 Page ID ~:~61



    Acknowl~dgefr~~n~s:

    Distric~ a ~o~urr~ba
    City of ~.~'a~hi~g~~o

    Subscribed, sworn any dcIC1AV V^Yiedged befo e me by Reginald C. Govan, Chief Counsel
                                                                                          of the
    Fe rai aviation Administration, this ~~day of January, 2017.
                    f~
                  j            `i
                          ;, .~                                                                       ~h.
                                                                                                           ~~I~J. ,.
                                                                                                        ,~',..,•. .., .~J ~;~, .
                                                                                                        `: _ozV ~ ,f=SY',
    Notary ru~i:,.                                                                                                        ~~~~ ~~=-,
    My commission 2xpires                                         Jt9aYS.M~`AHEE                     ~:.'~~$: ~ ~ ~ T" o ~ ~~,
                          ~'Q~~     r                 FlQtXiii'i F~141J~ DI6T~fC7 OF COLUI~IBtA     ~-• ",,~ ~::~ cl,~'~ 2.
                                                         ~lyr Commleslon F.~1res Octobas 14~ 2020


                                                                                                          ~~~r
                                                                                                              ~~~Urr~r~ll~s ~fP,   ;/
                                                                                                         ~~\


    State ~~f ~~aii~i~;rni~~
    County ~f —___--


    On            _,_ `.-,~~`'~ar~~ rate                                         personally

    Appeared .__

                                      _ ____                  ____          ,who proved to me on the
    basis of satisfactory ~~riderce to be the perso ~s) Trlhose names)is/are subscribed to the
    within instrument- any aci~ncwled~ed to me that he/she/they executed the same in
    his/her%their aj~-:l~or:~z~?, ;,.-:r~:-.city(ies), and that byhis/her/their sigrature[s) on the
    instrument ~i-;e ;~~rso~~4 s), c~ rl;e entity upon behalf cf which the ~erson(s) acted, executed
    the inst~:;me,~t~.
    I certiFy :.{r,~?ec i-'r~iV~,I,TY OF PE~EuRY under ~hz Iaws of the State of California that the
    foregoing r~:~ragr^;,h is rr~.~~^ a,r. cnrrect.
    WITNES51_.~ liai3t7 ~:i~ :>'('i~.i~ ;~e~,

                                             l~e?~i
   Signa~~;




                                                       12.
